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         EXHIBIT A
                                        Case 5:22-cv-00390 Document 1-1 Filed 01/20/22 Page 2 of 127
                                                                                                                                                                                        SUM-1 00
                                                          SU M MONS                                                                                          FOR COURT USE ONLY
                                                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                                 (CITACION JUDICIAL)                                                                       E- ||_ED

NOTICE TO DEFENDANT:                                                                                                                       10/ 5/2021 4:37                     PM
(AVISO AL DEMANDADO):                                                                                                                     Cl rk Of Court
VOLVO FEAR GROUP; VOLVO CAR TECHNOLOGY FUNp-AB; VOLVO CAR CORPORATION,                                                                             ”perior Court Of CA,
corporation                                                                       (See Addltlonal Parties Attachment)                     Co       nty 0f Santa Clara
YOU ARE BEING SUED BY PLAINTIFF:                                                                                                          21       V38991 8
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                                        Re iewed       Quach_Marce”ana
                                                                                                                                                             By:      L_

AIDEN AUTOMOTIVE TECHNOLOGIES,                                          INC.,   a Delaware corporation                                     En e|0pe: 7477487
 NOTICE! You have been sued. The                     court   may decide         against you without your being heard unless you respond within 30 days.              Read       the information
 below.
    You have 30 CALENDAR DAYS                       after this    summons and        legal   papers are served on you    to ﬁle   a written response at this court and have a copy
 served on the          plaintiff.     A letter or phone call    will   not protect you. Your written response     must be   in   proper legal form if you want the court to hear your
 case. There   may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self—Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the counhouse nearest you. If you cannot pay the ﬁling fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court wi|| dismiss the case.
 ,‘A VISO! Lo han demandado. Si no responds dentro de 30 dies, Ia con‘e puede decidir en su contra sin escuchar su versién. Lea Ia informacio’n a

 continuacién.
     Tiene 30 D/AS DE CALENDARIO despue’s de que Ie entreguen esta citacio’n y papeles legales para presenter una respuesta por escrito en esta
 corte y hacer que se entregue una copia aI demandante. Una carta o una llamada telefénica no lo protegen. Su respuesta por escrito tiene que ester
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la con‘e y ma’s informacio’n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en Ia
 biblioteca de [eyes de su condado o en la corte que Ie quede ma’s cerca. Si no puede pagar la cuota de presentacio’n, pida al secretario de Ia code que
 le dé un formulario de exencién de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y Ia con‘e le podra’
 quitar su sueldo, dineroy bienes sin ma’s advertencia.
    Hay otros                   Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
                       requisitos legales.
 remisién a abogados. Si no puede pagar a un abogado, es posible que cumpla con Ios requisites para obtener servicios legales gratuitos de un
 programa de servicios legales sin ﬁnes de lucro. Puede encontrar estos grupos sin ﬁnes de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de Ias Cortes de California, (www.sucon‘e.ca.gov) o poniéndose en contacto con Ia corte o e/
 colegio de abogados locales. AVISO: Parley, Ia cone tiene derecho a reclamar Ias cuotas y Ios costos exentos por imponer un gravamen sobre
 cualquier recuperacién de $10,000 o' ma’s de valor recibida mediante un acuerdo o una concesién de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de Ia corte antes de que Ia corte pueda desechar e/ caso.
The name and address of the court is:                                                                                                 CASE NUMBER: (Namero del                      Caso):
(El nombre y direccio’n de la corte es): SANTA CLARA SUPERIOR                                          COURT                                21 CV38991 8
191 North First Street, San Jose, CA 951 13


The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la direccio’n y el namero
de teléfono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
 Marc Lazo, Esq. K&L Law Group, P.C. 2646 Dupont Drive, Suite 60340, Irvine, CA 92612 (949) 216—4000; Masood R. Khan, Esq. Khan Law Group, P.C., 9431 Haven Ave.,
                          —                           -                                                                                                  —


 Suite 100, Rancho Cucamonga, CA 91730 (626) 26274012
DATE.    '


                                                                                        Clerk, by                                               Deputy                                   ,




(Fecha)      10/15/2021 4:37                         PM
                                               CIerk of Court                           (Secretario)
                                                                                                         L. Quach-Marcellana                  (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS—010).)
(Para prueba de entrega de esta citatién use el formulario Proof of Service of Summons, (POS-010).)
                                                     NOTICE T0 THE PERSON SERVED: You                             are   sewed
                                                     1.

                                                     2.
                                                          E
                                                          E
                                                                        as an individual defendant.
                                                                        as the person sued under the ﬁctitious           name      of (specify):


                                                     3.   E             on behalf of   (specify):


                                                           E
                                                           E
                                                             under:               CCP 416.10
                                                                                  CCP 416.20
                                                                                                  (corporation)                          E
                                                                                                                                         E         CCP 416.60
                                                                                                                                                   CCP 416.70
                                                                                                                                                                    (minor)



                                                           E                      CCP 416.40
                                                                                                  (defunct corporation)
                                                                                                  (association or partnership)           E         CCP 416.90
                                                                                                                                                                    (conservatee)
                                                                                                                                                                    (authorized person)




Form Adopted     for   Mandatory Use
                                                     4.   EE                      other (specify):
                                                                        by personal delivery on (date)

                                                                                               sUMMoNs                                                       Code   of Civil
                                                                                                                                                                                             Pa_ge   1

                                                                                                                                                                               Procedure §§ 41 2.20, 465
                                                                                                                                                                                                         of1


Judicial Council of California                                                                                                                                                       www.courts.ca.gov
SUM-1oo      [Rev. July   1,   2009]
                                     Case 5:22-cv-00390 Document 1-1 Filed 01/20/22 Page 3 of 127

                                                                                                                                                                 SUM-200(A)
                                                                                                                         CASE NUMBER:
  SHORT TITLE:
_ Aiden Automotive Technologies,                           Inc., V.   Volvo Car Group,             et   211.,




                                                                       INSTRUCTIONS FOR USE
  -} This form           may be used as an attachment        to   any summons space does not permit the
                                                                                 if                                      listing   of   all   parties on the   summons.
  -}   If   attachment is used, insert the following statement
            this                                                            in   the   plaintiff   or defendant box on the          summons:        "Additional Parties
       Attachment form is attached."


   List additional parties                 (Check only one box. Use a separate page      for   each type        ofpan‘y.):


     D          Plaintiff                    Defendant     D      Cross-Complainant            E        Cross-Defendant

   VOLVO CAR TECHNOLOGY USA LLC; a California limited liability company; ZENSEACT;
   POLESTAR AUTOMOTIVE USA, INC., a Delaware corporation; HAKAN SAMUELSSON, an individual;
   ODGARD ANDERSSON, an individual; HENRIK GREEN, an individual; MARIA HEMBERG, an
   individual; MATS MOBERG, an individual; SANELA IBROVIC, an individual; PAR ARVIDSSON, an
   individual; BOBBYKIN MAKWANA, an individual; JOAKIM ALPSTEN, and individual; MARTEN
   LEVENSTAM,                         an individual;     PATRIK BENGTSSON,                  an individual;             DENNIS NOBELIUS,                        an
   individual            ,
                             an individual       DOES    1-100, inclusive,




                                                                                                                                                     Page           of

                                                                                                                                                                         Page   1   of1
 Form Adopted   for   Mandatory Use
   Judicial Council of California
                                                         ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January      1,   2007]                       Attachment to Summons
                                                                                                                                                                                                                               CM-010
A'I'I'ORNEY
 Marc Lazo,
                 OR PARTY WITHOUT 8ATTORNEY
                      Esq.    —   SBN 21599
                                                Case 5:22-cv-00390
                                                        (Name,             Document 1-1 Filed 01/20/22 Page 4 FOR
                                                               Bar number, and
                                                                          State                                of COURT
                                                                                                        address): 127 USE ONLY
 K&L Law Group,                   P.C.
 2646 Dupont Drive,                    Suite   60340
 Irvine, CA 92612
                TELEPHONE              No.:    (949) 2 16-4000                               FAX N0.    (Optional):

               E-MAIL ADDRESS:
                                                                                                                                                                 Electronically Filed
        ATTORN EY FOR             (Name):      Plaintiff
                                                                                                                                                                  y Superior Court of CA,
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
 STREET ADDRESS:
                                                                                                                                                                 County of Santa Clara,
                                       191 North First Street
MAILING ADDRESS:                       191 North First Street
                                                                                                                                                                 on 10/1 5/2021 4:37 PM
CITY     AND ZIP CODE:                 San     Jose,     CA 951 13                                                                                               Reviewed By: L. Quach-Marcell aha
         BRANCH NAME:                                                                                                                                            Case #21CV389918
CASE NAME: AIDEN AUTOMOTIVE TECHNOLOGIES,                                                          INC.    v.   VOLVO CAR GROUP,                  et aL,
                                                                                                                                                                 Envelope: 7477487

              CIVIL         CASE COVER SHEET                                                       Complex Case Designation                                       CASE NUMBER:

m              Unlimited                             E        Limited                           E
                                                                                              Filed with
                                                                                                           Counter                   E
                                                                                                                first appearance by defendant
                                                                                                                                              Joinder                           21 CV38991 8

               g:2::gted                                      ﬁgmglligted                                                                                         JUDGE:
                                                                                  is
                                                                                                    (Cal.       Rules of Court, rule 3.402)
                                                                                                                        DEPT.:
               exceeds $25,000)                               $25,000 or less)
                                                                Items 1—6 below must be completed (see instructions on page 2).

1.        Check one box below                            for the   case type that best describes                        this      case:
         Auto Tort
         E
         E           Auto (22)
                                                                                              Contract



                                                                                              E         Breach of contract/warranty (O6)
                                                                                                                                                               Provisionally


                                                                                                                                                               E
                                                                                                                                                               (Cal.
                                                                                                                                                                                   Complex        Civil Litigation
                                                                                                                                                                       Rules of Court, rules 3.400—3.403)
                     Uninsured motorist (46)
         Other PIIPDIWD (Personal lnjurylProperty
         DamageMrongful Death)                             Tort
                                                                                              E
                                                                                              E
                                                                                                        Rule 3.740 collections (09)
                                                                                                        Other collections (09)                                 E
                                                                                                                                                               E
                                                                                                                                                                        Antitrust/Trade regulation (03)

                                                                                                                                                                        Construction defect (10)



         E
         E           Asbestos (04)
                                                                                              E         Insurance coverage (18)
                                                                                                        Other contract (37)                                    E
                                                                                                                                                               E
                                                                                                                                                                        Mass     tort (40)

                                                                                                                                                                        Securities litigation (28)



         E
         E
                     Product           liability

                     Medical malpractice (45)

                     Other PI/PD/WD (23)
                                                    (24)


                                                                                              E
                                                                                              Real Property
                                                                                                        Eminent domain/lnverse                                 E        Environmental/Toxic            tort   (30)
                                                                                                                                                                        Insurance coverage claims arising from the
                                                                                                                                                                        above     listed provisionally        complex case

         Non-PIIPDNVD (Other) Tort

         E                                                                                    E
                                                                                              E
                                                                                                        condemnation (14)
                                                                                                        Wrongful eviction (33)
                                                                                                        Other
                                                                                                                                                                    types (41)
                                                                                                                                                               Enforcement of Judgment

                                                                                                                                                               E
         E
         E
                     Business
                     Civil rights (08)
                                        tort/unfair        business practice (07)


                                                                                              E
                                                                                              Unlawful Detainer
                                                                                                                  real property (26)



                                                                                                        Commercia|(31)
                                                                                                                                                                        Enforcement of judgment (20)
                                                                                                                                                               Miscellaneous

                                                                                                                                                               E                       Civil   Complaint


         E
         E
                     Defamation (13)
                     Fraud (16)                                                               E
                                                                                              E         Residential(32)

                                                                                                        Drugs(38)
                                                                                                                                                               E
                                                                                                                                                                        RICO     (27)

                                                                                                                                                                        Other complaint (not speciﬁed above) (42)


         E
         E
                     Intellectual property (19)

                     Professional negligence (25)

                                                                                              E
                                                                                              Judicial     Review
                                                                                                                                                               Miscellaneous

                                                                                                                                                               E
                                                                                                                                                                                       Civil Petition

                                                                                                                                                                        Partnership and corporate governance (21)


         Employment
                     Other non-PI/PD/WD                     tort (35)

                                                                                              E
                                                                                              E
                                                                                                        Assetforfeiture (05)

                                                                                                        Petition re: arbitration          award                E        Other    petition (not    speciﬁed above) (43)

         E
         E E E       Wrongful termination (36)
                     Other employment(15)                                                     E
                                                                                                        Writof mandate (02)

                                                                                                        Otherjudicial review (39)
                                                                                                                                                  (11)




N         This case                            is                  is   not    complex under                    rule   3.400 of the California Rules of Court.                    If   the case    is   complex, mark the
                                                                              management:
          E
          factors requiring exceptional judicial



          E
         a.

         b.
                            Large number of separately represented parties
                            Extensive motion practice raising                               difficult   or novel
                                                                                                                             d.

                                                                                                                             e.
                                                                                                                                   E
                                                                                                                                   E       Large number of witnesses
                                                                                                                                           Coordination with related actions pending                          in    one   or   more
                            issues that                     be time-consuming                to resolve                                    courts          other counties, states, or countries, or                        a federal

          E
                                                    will                                                                                             in                                                               in




3
         c.                 Substantial

          Remedies sought (check allthatapply):a.
                                                     amountof documentary evidence

                                                                                            m       monetary            b.
                                                                                                                             f.
                                                                                                                                   E       coun
                                                                                                                                           Substantial postjudgmentjudicial supervision
                                                                                                                                      nonmonetary; declaratory orinjunctive                        relief      c.    E         punitive
          Number                   causes of action                                    11
4
5.

6         If
            E ﬂ
          This case
               there are any
                            of

                                               is

                                              known
                                                                  (specify):

                                                                   is   not
                                                           related cases,
                                                                                   a class action
                                                                                  file   and serve a notice
                                                                                                            suit.

                                                                                                                         of related case.          (You     may use      form CM—015.)
Date:           October           15,    2021
                                                     MARC LAZO
                                                                                                                                          D
    -
                                               (TYPE     OR PRINT NAME)
                                                                                                                       NOTICE                  V                       V
                                                                                                                                                                            ‘
                                                                                                                                                                                PARTY OR ATI'O         EY FOR PARTY)


                 must ﬁle this cover sheet with the ﬁrst paper filed in the action or proceeding (except small claims cases or cases filed
         Plaintiff

         under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to ﬁle may result
         in    sanctions.
    -                       cover sheet
         File this                                  in   addition to      any cover sheet required by                         local court rule.
    °    If   this   case         is   complex under              rule   3.400 et seq. of the California Rules of Court, you must serve a copy of                                               this   cover sheet on            all

         other parties to the action or proceeding.
    -    Unless        this is          a collections case under rule 3.740 or a complex case, this cover sheet                                                will    be used     for statistical       purposes only.
                                                                                                                                                                                                                               Page    1   of 2

Form Adopted                Mandatory Use                                                                                                                                  Cal. Rules of Court, rules 2.30, 3.220,   3400—3403,
                      for
     Judicial Council of California
                                                                                                CIVIL       CASE COVER SHEET                                                       Cal. Standards of Judicial Administration, std. 3.10
                                                                                                                                                                                                                                           3‘740;


CM-01O [Rev.September                  1,   2021]                                                                                                                                                                     www.couﬂs.ca.gov
                                     Case 5:22-cv-00390 Document 1-1 Filed 01/20/22 Page 5 of 127                                                                CM-010
                                        INSTRUCTIONS 0N How To COMPLETE THE COVER SHEET
To   Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which

property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for—service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter—designation that the case is not complex, or, ifthe plaintiff has made no designation, a designation that

the case is complex.                                      CASE TYPES AND EXAMPLES
                                                 Contract
  Auto Tort                                                                                        Provisionally Complex Civil Litigation (Cal.
                                                            Breach of Contract/Warranty (06)
     Auto (22)—Persona| Injury/Property                                                                        Rules of Court Rules 3.400—3.403)
                                                               Breach of Rental/Lease
          Damage/Wrongful Death                                                                                     Antitrust/Trade Regulation (03)
                                                                      Contract (not unlawful detainer
       Uninsured Motorist (46) (ifthe                                                                               Construction Defect         (1   0)
                                                                          or wrongful eviction)
        case involves an uninsured                                                                                  Claims Involving Mass Tort (40)
                                                                Contract/Warranty Breach—Seller
          motorist claim subject to                                                                                 Securities Litigation (28)
                                                                       Plaintiff (not   fraud or negligence)
           arbitration,     check     this   item                                                                   Environmental/Toxic Tort (30)
                                                                Negligent Breach of Contract/
          instead of Auto)                                                                                          Insurance Coverage Claims
 Other PIIPDNVD (Personal Injuryl                                   Warranty                                             (arising       from provisionally complex
                                                                Other Breach of Contract/Warranty
 Property DamagelWrongful Death)                                                                                         case type        listed   above) (41)
 Tort
                                                            Collections (e.g.,   money owed, open              Enforcement of Judgment
        Asbestos (04)
                                                                book accounts)      (09)                          Enforcement of Judgment (20)
                                                                Collection Case—Seller Plaintiff
          Asbestos Property Damage                                                                                   Abstract of Judgment (Out of
                                                                Other Promissory Note/Collections
          Asbestos Personal Injury/                                                                                     County)
              Wrongful Death
                                                                      Case                                       Confession of Judgment (non-
                                                            Insurance Coverage (not provisionally
        Product Liability (not asbestos or                                                                           domestic relations)
            toxic/environmental) (24)
                                                                complex) (1 8)                                   Sister State    Judgment
                                                                Auto Subrogation
         Medical Malpractice (45)                                                                                Administrative    Agency Award
                                                                Other Coverage
             Medical Malpractice—                                                                                    (not unpaid taxes)
                                                            Other Contract (37)
                    Physicians        & Surgeons                                                                  Petition/Certification of Entry of
                                                                Contractual Fraud
        Other Professional Health Care                                                                               Judgment on Unpaid Taxes
                                                                Other Contract Dispute
                 Malpractice                                                                                      Other Enforcement of Judgment
                                                         Real Property
        Other PIIPDNVD (23)                                                                                            Case
                                                            Eminent Domain/lnverse
           Premises Liability             (e.g., slip                                                          Miscellaneous      Civil   Complaint
                    and                                         Condemnation (14)                                 RICO
                           fall)                                                                                         (27)
                                                            Wrongful Eviction (33)
             Intentional Bodily           Injury/PDNVD                                                            Other Complaint (not speciﬁed
                                                            Other Real Property (e.g., quiet title) (26)
                     (e.g., assault,       vandalism)                                                                 above) (42)
                                                               Writ of Possession of Real Property
             Intentional Infliction of                                                                                Declaratory Relief Only
                    Emotional Distress
                                                                Mortgage Foreclosure                                  Injunctive Relief Only (non-
                                                               Quiet Title
             Negligent       Infliction of                                                                                 harassment)
                                                               Other Real Property (not eminent
                        Emotional Distress                                                                            Mechanics Lien
                                                                domain, landlord/tenant, or
       Other PIIPDNVD                                                                                                 Other Commercial Complaint
                                                                foreclosure)
 Non-PIIPDNVD (Other) Tort                                                                                                 Case (non-tort/non-complex)
                                                         Unlawful Detainer
         Business Tort/Unfair Business                                                                                Other     Civil   Complaint
                                                            Commercial (31)
            Practice (O7)                                                                                                  (non-tort/non-complex)
                                                            Residential (32)
        Civil    Rights    (e.g., discrimination,                                                              Miscellaneous      Civil Petition
                                                            Drugs (38) (if the case involves illegal
                false arrest) (not civil                                                                          Partnership and Corporate
                                                            drugs, check this item; otherwise,
             harassment) (08)                                                                                         Governance         (21)
                                                            report as Commercial or Residential)
         Defamation (e.g., slander,            libel)                                                             Other Petition (not speciﬁed
                                                         Judicial   Review
                 (13)                                                                                                above) (43)
                                                            Asset Forfeiture (05)
         Fraud (16)                                                                                                   Civil Harassment
                                                            Petition Re: Arbitration      Award   (1 1)
                                                                                                                      Workplace Violence
                    Property (19)
         Intellectual
         Professional Negligence (25)
                                                            Writ of   Mandate    (02)                                 Elder/Dependent Adult
            Legal Malpractice
                                                                Writ—Administrative        Mandamus                       Abuse
           Other Professional Malpractice
                                                                Writ—Mandamus on           Limited Court
                                                                                                                      Election Contest
                                                                   Case Matter                                                          Name Change
               (not medical or legal)                                                                                 Petition for
                                                                Writ—Other Limited Court Case
        Other Non-Pl/PDNVD Tort (35)                                                                                  Petition for Relief       From Late
                                                                      Review
 Employment                                                                                                               Claim
                                                            Other Judicial Review (39)
        Wrongful Termination (36)                                                                                     Other Civil Petition
        Other Employment (15)
                                                                Review      of Health Officer   Order
                                                                Notice of Appeal—Labor
                                                                       Commissioner Appeals
CM-010           September                                                                                                                                       Page 2 of 2
         [Rev.               1,   2021]
                                                                    CIVIL   CASE COVER SHEET
                                          Case 5:22-cv-00390 Document 1-1 Filed 01/20/22 Page 6 of 127
     SHORT T'TLE:    GEMAYEL          v.   SHALVOY                                                                                                 CASE NUMBER




                                        CASE COVER SHEET ADDENDUM AND
                                                            CIVIL
                                          STATEMENT OF LOCATION
                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                    This form        is    required pursuant to Local Rule 2.3                    in all     new           civil     case     filings in the      Los Angeles Superior Court.




           Step     1: After completing the Civil Case                     Cover Sheet              (Judicial Council                       form CM-OlO),           find the exact case type in
                         Column A that corresponds                     to the case type indicated                               in   the    Civil   Case Cover Sheet.


            Step    2:   In   Column         B,   check the box for the type of action that best describes the nature of the case.


           Step     3:   In   Column         C, circle      the number which explains the reason for the court                                                filing   location    you have
                         chosen.

                                                     Applicable Reasons for Choosing Court Filing Location (Column C)


1.    Class actions must be         filed in    the Stanley   Mosk Courthouse,      Central       District.                7.   Location where petitioner resides.

2.    Permissive     filing in   central district.                                                                         8.   Location wherein defendant/respondentfunctions wholly.

3.    Location where cause of action arose.                                                                                9.   Location where one or more ofthe parties reside.

4.    Mandatory personal          injury filing in North District.                                                        10. Location of          Labor Commissioner Office.
                                                                                                                          11.   Mandatory          filing   location (Hub Cases    — unlawful       detainer, limited
5.    Location where performance required or defendant resides.
                                                                                                                          non-collection, limited collection, or personal injury).

6.    Location of property or permanently garaged vehicle.




                                            A                                                                                        B                                                                         C
                           Civil   Case Cover Sheet                                                                        Type of Action                                                   Applicable       Reasons    -

                                    Category No.                                                                          (Check only one)                                                          See Step 3 Above

                                      Auto (22)                  D     A7100 Motor Vehicle            -     Personal Injury/Property DamageNVrongful Death                                  1, 4,         11

      .9    to
      2     |-             Uninsured Motorist (46)               D     A7110 Personal         Injury/Property                   DamageNVrongful Death — Uninsured Motorist                  1, 4,         11



                                                                 D     A6070 Asbestos Property Damage                                                                                       1,       11
                                   Asbestos (04)
                                                                 D
      t> tO
                                                                       A7221 Asbestos- Personal InjuryNVrongful Death                                                                       1,       11

       q;
            |—
       §'
          5                   Product      Liability (24)        D     A7260 Product         Liability(notasbestos ortoxic/environmental)                                                   1, 4,         11

      E g
       E—
      'E' E               MedicalMalpractice(45)
                                                                 D     A7210 Medical         Malpractice              -
                                                                                                                          Physicians        & Surgeons                                      1s 4’         11


                                                                 D     A7240 Other         Professional Health Care Malpractice
                                                                                                                                                                                            1       4 11
      g 2’
                                                                                                                                                                                                ’     i




          o
       s :-
       E \   d9
                                                                 D     A7250 Premises         Liability(e.g., slip                   and   fall)
       a:                                                                                                                                                                                   1, 4,         11
      n"
          g                        Ot-her Personal
                                                                 D     A7230       nenlona
                                                                                    t
                                                                                      t'
                                                                                           Bo         d'l
                                                                                                                  '




                                                                                                          !y nJury/P rope rt y              D amageNV rong fu ID ea th    (e.g.,
       a E                         Injury Property
                                                                               |              |               |



                                                                                                                                                                                            1,4, 11
      5 g
      O
                                 Damage Wrongful                               assault,vandallsm, etc.)
                                     Death (23)                                                                                                                                             1’ 4'         11
                                                                 I:    A7270   Intentional Inﬂiction of Emotional Distress

                                                                                                                                                                                            1’ 4’         11
                                                                 III   A7220 Other Personal                 Injury/Property              DamageNVrongful Death




      LASC        CW 109 RW        12,18
                                                                CIVIL    CASE COVER SHEET ADDENDUM                                                                                       Local Rune 2.3

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                   GEMAYEL v. SHALVOY


                                           A                                                                      B                                                       C   Applicable
                          Civil   Case Cover Sheet                                                       Type of Action                                          Reasons - See Step 3
                                  Category No.                                                          (Check only one)                                               Above

                             Business Tort (O7)                D     A6029 Other Commercial/Business Tort                  (not fraud/breach of contract)        1, 2,    3

   >~    t
         IE                      Civil   Rights (08)           D     A6005   Civil   Rights/Discrimination                                                       1, 2,    3
   §-
   o5
   '-
             cu
   E8                            Defamation (13)               D     A6010 Defamation       (slander/libel)                                                      1, 2,    3

   E.    re
   E      g’                        Fraud (16)                 D     A6013 Fraud      (no contract)                                                              1, 2,    3
   E         e
   S     a                                                           A6017 Legal                                                                                          3
   g
   a:
         E   5-,     Professional Negligence (25)
                                                                                      Malpractice                                                                1, 2,


   “é                                                          D     A6050 Other      Professional Malpractice (not medical or legal)                            1, 2,    3
     g
   o m
   Z D
                                    Other (35)                 D     A6025 Other Non-Personal           Injury/Property      Damage tort                         1, 2,    3


    ‘E                   Wrongful Termination (36)             D     A6037 Wrongful Termination                                                                  1, 2,    3
        OJ
        E
        3‘                                                     D     A6024 Other Employment Complaint Case                                                       1, 2,    3
    a                     Other Employment          (1   5)
                                                               D     A6109 Labor CommissionerAppeals                                                             10
    ”SJ



                                                               D     A6004 Breach      of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                                 2 5
                                                                                                                                                                  ’


                                                                             eviction)
                     Breach of Contract/ Warranty                                                                                                                2,   5
                                                               D
                                                                                                                              _    _                  _




                                          (06)
                                                                     A6008 Contract/Warranty Breach             -Se||er Plaintiff (no fraud/negllgence)

                                  (“Ot insurance)                                                                                                                1’ 2’    5
                                                               III   A6019 NegligentBreach          of Contract/Warranty(no fraud)
                                                                                                                                                                 1’ 2’    5
                                                               D     A6028 Other Breach       of Contract/Warranty (not fraud or negligence)



    g                                                          D     A6002   Collections Case-Seller Plaintiff                                                   5, 6, 11
    b                            Collections (09)
                                                               D     A6012 Other Promissory         Note/Collections        Case                                 5, 11
    og                                                         D     A6034   Collections Case-Purchased Debt (Charged Off                   Consumer Debt        5, 6, 11
                                                                             Purchased on or        after   January   1,   2014)

                         Insurance Coverage (18)               D     A6015 Insurance Coverage           (not   complex)                                          1, 2, 5,     8


                                                               D     A6009   Contractual Fraud                                                                   1, 2, 3,     5

                            Other Contract (37)                D     A6031 Tortious      Interference                                                            1, 2, 3,     5

                                                               D     A6027 Other Contract         Dispute(not breach/insurance/fraud/negligence)                 1, 2, 3, 8,      9


                          Emment Domam/lnverse
                                                               III   A7300 Eminent Domain/Condemnation                                 Number   of parcels       2,   6
                            Condemnation          (14)
    E‘
     a                    Wrongful Eviction (33)               D     A6023 Wrongful      Eviction   Case                                                         2,   6
     o
    E
                                                               D     A6018 Mortgage Foreclosure                                                                  2,   6
    E
    9‘
                         Other Real Property (26)              D     A6032 Quiet Title                                                                           2,   6

                                                               D     A6060 Other Real Property         (not    eminent domain, landlord/tenant, foreclosure)     2,   6


                    unlanUI Detig‘ﬁr'commem'al
        h                                                      D     A6021   Unlawful Detainer—Commercial (not drugs or wrongful eviction)                       6, 11
        d)
        C
                     unlanUI Datagr-Resment'al
    g                                                          D     A6020 Unlawful      Detainer—Residential (notdrugs or wrongful eviction)                    6, 11
    D
    3                        Unlawful Detainer—
                                                               D
                                                                                              .



                                                                     A6020FUn|awful Detalner-Post-Foreclosure                                                    2, 6, 11
                           Post-Foreclosure (34)
    Eu
    5                Unlawful Detainer-Drugs (38)              D     A6022 Unlawful Detainer-Drugs                                                               2, 6, 11




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                                                   A                                                                                   B                                             C   Applicable
                          Civil   Case Cover Sheet                                                                              Type of Action                              Reasons - See Step 3
                                     Category No.                                                                              (Check only one)                                   Above

                           Asset Forfeiture (05)                                D   A6108 Asset          Forfeiture     Case                                                2, 3,    6



        g               Petition re Arbitration (1 1)                           D   A61 15   Petition to     Compel/Confirm/Vacate Arbitration                              2,   5
        0
    '5

    g                                                                           D   A6151 Writ - Administrative Mandamus                                                    2,   8

    g                      Writ of         Mandate                    (02)      D   A6152    Writ    -
                                                                                                         Mandamus on        Limited Court      Case Matter                  2


    3                                                                           D   A6153    Writ    -   Other Limited Court Case Review                                    2


                        Other Judicial Review (39)                              D   A6150 Other Writ         /Judicial    Review                                            2,   8


                   Antitrust/Trade Regulation (03)                              D   A6003    Antitrust/Trade Regulation                                                     1, 2,    8
        c
        o
     g                   Construction Defect (10)                               D   A6007 Construction Defect                                                               1, 2,    3

    E                      '                           '



                        CI a'ms      |         |                 M ass T° rt    D
    Eo.                                  ”vodka?                                    A6006 Claims          Involving     Mass    Tort                                        1, 2,    8



    oE                   Securities Litigation (28)                             D   A6035    Securities Litigation         Case                                             1, 2,    8
    2‘
    a                                              .


                                         .TOX'C Tort
     g                         E nVIronmental
                                                                                D   A6036 Toxic Tort/Environmental                                                          1, 2, 3,     8
    .5                                                                (30)
    "S
        e           Insurance Coverage Claims
                                                                                D
                                                                                                                                         .




    n_                                                                              A6014 Insurance Coverage/Subrogatlon (complex case                            only)     1, 2, 5,     8
                     from Complex Case (41)


                                                                                D   A6141    Sister State      Judgment                                                     2, 5, 11


  E.        ._,                                                                 D   A6160 Abstract of Judgment                                                              2,   6
            C
            “é,                      Enforcement                                D   A6107 Confession          of   Judgment (non-domestic                relations)         2,   9
   g    'g                      0f   JUdgment(20)                               D   A6140    Administrative        Agency Award         (not unpaidtaxes)                   2,   8
   g
  u—    ﬂ
  Lﬁ    “5                                                                      D   A61 14   Petition/Certiﬁcate for Entry             ofJudgment on Unpaid Tax             2,   8

                                                                                D   A61 12 Other Enforcement              of    Judgment Case                               2, 8,    9


                                         RICO                  (27)             D   A6033 Racketeering (RICO) Case                                                          1, 2,    8
   q,       .9
   3 E
                                                                                D
                                                                                                                    .


                                                                                    A6030 Declaratory          Relief Only                                                  1, 2,    8
   é §-
                                                                                D   A6040    Injunctive Relief          Only (not domestic/harassment)                      2,   8
  g     f.)
                            Other Complaints
                        (NOtSpeC'ﬁed Above) (42)
  § E                                                                           D   A6011 Other CommercialComplaintCase (non-tort/non-complex)                              1, 2,    8
  E U
    ._
                                                                                D   A6000 Other Civil Complaint                 (non-tort/non-complex)                               8
                                                                                                                                                                            1, 2,



                         Partnersmp corporat'on
                                Governance
                                                                                D   A61 13 Partnership and Corporate Governance Case                                        2,   8
                                                                  (21)


                                                                                D   A6121    Civil   HarassmentWith Damages                                                 2, 3,    9


   g g                                                                          D   A6123 Workplace Harassment With Damages                                                 2, 3,    9
   d) a
                                                                                D
                                                                                                                                                     .



                                                                                    A6124 Elder/DependentAdult Abuse Case Wlth Damages                                               9
  =g n0:
      ==-                                              _   _                                                                                                                2, 3,
                           Other Petitions (Not
   8 =                    Specified Above)(43)                                  D   A6190    Election Contest
                                                                                                                                                                            2
  .2    .2
  E o                                                                           D   A6110    Petition for     Change       of   Name/Change      of      Gender             2 7
                                                                                D   A6170    Petition for Relief from Late             Claim   Law                          2 3 8
                                                                                D   A6100 Other Civil         Petition
                                                                                                                                                                            2 9




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SHORT TITLE:    GEMAYEL V_ SHALVOY                                                                                        CASE NUMBER




Step   4:    Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
             type of action that you have selected. Enter the address which                                   is   the basis for the         filing location,   including zip code.
             (No address required for                 class action cases).


                                                                                           ADDRESS;
  REASON:                                                                                                                    121 9 Morningside Drive

   III1.2.3.D4.D5.D6.D7. D8.D 9.D10.D11.


  CITY:                                                   STATE:          ZIP CODE:


  Manhattan Beach                                         CA             90266

                                                                                                                                central
Step      5: Certification of                Assignment:       |   certify that this case    is   properly filed     in   the                                               District of

             the Superior Court of California, County of Los Angeles [Code                                  Civ. Proc.,      §392    et seq.,   and Local Rule     2.3(a)(1)(E)].




             October         7,   2021
 Dated:
                                                                                                                   (SIGNAT      A    ATTORNEYIMG PARTY)




 PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED                                                                        IN   ORDER TO PROPERLY
 COMMENCE YOUR NEW COURT CASE:
       1.      Original Complaint or Petition.

       2       If   filing   a Complaint, a completed              Summons form for issuance                 by the Clerk.

       3.      Civil    Case Cover Sheet,             Judicial Council form           CM-010.

       4       Civil    Case Cover Sheet Addendum and Statement                            of Location form,          LACIV         109,   LASC Approved        03-04 (Rev.
               02/1 6).

       .0“     Payment            in full   of the filing fee, unless there     is    court order for waiver, partial or scheduled payments.

       6.      A signed order appointing the Guardian ad                      Litem, Judicial Council form ClV-O1 0, ifthe plaintiff or petitioner                     is   a
               minor under 18 years of age                wi||     be required by Court           in   order to issue a      summons.

       7.                         documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
               Additional copies of
               must be served along with the summons and complaint, or other initiating pleading in the case.




                                                         CIVIL       CASE COVER SHEET ADDENDUM                                                             Local Rule 2.3
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                                                                                                                                                                                                E-FILED
                                                                                                                                                                                                10/1 5/2021 4:37      PM
                                                                                                                                                                                                Clerk of Court
                                                                                       MARC Y. LAZO, SBN: 215998                                                                                       -



                                                                                                                                                                                                Superlor Court of CA,
                                                                                       K&L LAW GROUP, P_C
                                                                                       2646 Dupont Drive, Suite 60340                                                                           county Of santa Clara
                                                                                       Irvine, California 92612                                                                                 21 CV38991 8
                                                                                       Phone No.2      (949) 216-4000                                                                           Reviewed By:     L.   Quach-Marcella
                                                                                       Fax No.:        (800) 596-0370

                                                                                       MASOOD R. KHAN, SBN: 23 1020
                                                    \OOOQQUI-RUJNr—k




                                                                                       KHAN LAW GROUP, LC
                                                                                       9431 Haven Avenue, Suite 100
                                                                                       Rancho Cucamonga, CA 91730
                                                                                       Phone No:   (626) 262-4012
                                                                                       Fax N0:     (626) 628-3275
                                                                                       Email:      mkhan@khanlegal.com
                                                                                       Attorneys for Plaintiff
                                                                                       AIDEN AUTOMOTIVE TECHNOLOGIES,                      INC.


                                                                                                            IN   THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                                                        FOR THE COUNTY OF SANTA CLARA
                                                                                        AIDEN AUTOMOTIVE                                   )                                CASE NO;            21 cv38991 8
      p                                                                                 TECHNOLOGIES, INC.,              a Delaware
                                                                                        corporatiom
                                                                                                                                                                            VERIFIED COMPLAINT FOR:
      Rou


K&L   G
                                                                                                                  Plamtlff»
      LAW
                                                                                                                                                                                 1.       BREACH 0F CONTRACT
                                                                                        V.
                                                                                                                                                                                 2.       INDUCING BREACH 0F CONTRACT
                                                                                                                                                                                          TORTIOUS BREACH 0F THE
IE          NNNNNNNNNHr—tp—‘r—tr—tp—Ar—tr—tr—tr—A
                                                                                        VOLVO CAR GROUP; VOLVO CAR
                                                                                        TECHNOLOGY FUND AB; VOLVO
                                                                                                                                                                                 3.
                                                                                                                                                                                          IMPLIED COVENANT 0F GOOD
                                                                                        CAR CORPORATION, a corporation;                                                                   FAITH AND FAIR DEALING
                                                                                        VOLVO CAR TECHNOLOGY USA                                                                 P UNFAIR BUSINESS PRACTICES
                                                                                        LLC;   a California limited liability                                                    5. FRAUDULENT
                                                                                        company; ZENSEACT; POLESTAR                                                                  MISREPRESENTATION
                                                                                        AUTOMOTIVE USA, INC., a Delaware
                                                    OOQONUI-PUJNHOKOOOQONUI-RUJNF—‘O




                                                                                                                                                                                 6. INTENTIONAL INTERFERENCE
                                                                                        corporation;       "HAKAN SAMUELSSON,         an
                                                                                                                                                                                     WITH CONTRACTUAL RELATIONS
                                                                                        individual;       ODGARD ANDERSSON, an
                                                                                        individual;        HENRIK GREEN, an
                                                                                                                                           vvvVVVVVVVVVVVVVVVVVVVVVVVVVVV




                                                                                                                                                                                 \l
                                                                                                                                                                                     NEGLIGENT INTERFERENCE WITH
                                                                                                                                                                                      .



                                                                                        individual;       MARIA HEMBERG, an                                                          PROSPECTIVE ECONOMIC
                                                                                        individual;       MATS MOBERG, an                                                            RELATIONS
                                                                                        individual;       SANELA IBROVIC, an                                                     8. VIOLATION 0F THE CARTWRIGHT
                                                                                        individual;       PAR ARVIDSSON, an                                                          ACT — BUSINESS & PROFESSIONS
                                                                                        individual;       BOBBYKIN MAKWANA, an                                                       CODE § 16700 et seq.
                                                                                        individual;       JOAKIM ALPSTEN, and
                                                                                                                                                                                 9. CONVERSION
                                                                                        individual;       MARTEN LEVENSTAM, an
                                                                                        individual;        PATRIK BENGTSSON, an                                                  10. MISAPPROPRIATION 0F
                                                                                        individual;       DENNIS NOBELIUS, an                                                        INTELLECTUAL PROPERTY
                                                                                        individual    ,
                                                                                                          an individual DOES 1 - 1 00,                                           11. PRELIMINARY AND PERMANENT
                                                                                        inclusive,                                                                                        INJUNCTION
                                                                                                                 Defendants.
                                                                                                                                                                                      DEMAND FOR JURY TRIAL

                                                                                                                                                                             1




                                                                                                                                      VERIFIED COMPLAINT
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                                                             Plaintiff,         AIDEN AUTOMOTIVE TECHNOLOGIES,                                       INC.,    a   Delaware    corporation

                                                    (“Plaintiff”),    hereby          sets forth its claims   based upon knowledge, relevant documents and information

                                                    and   belief,   and alleges as follows:

                                                                                                                      PARTIES
                                                              1.           At   all    relevant times mentioned herein, Plaintiff               is   a Delaware corporation with         its
                      KOOOQQUI-hUJNH




                                                    principal place of business in             San Ramon, California           in the   County 0f Santa        Clara.

                                                             2.            Defendant,      VOLVO CAR GROUP, is, upon information and belief, a Swedish company
                                                    doing business in the State 0f California.

                                                             3.            Defendant,       VOLVO CAR TECHNOLOGY FUND AB                               is   upon information and   belief,


                                                    a subsidiary of        VOLVO CAR GROUP, doing business in the State 0f California.
                                                             4.            Defendant,      VOLVO CAR CORPORATION, is, upon information and belief, a Swedish
                                                    corporation doing business in the State 0f California.

                                                             5.            Defendant,       VOLVO CAR TECHNOLOGY USA                            LLC,        a California limited liability

                                                    company is, upon information and belief,                  a Delaware limited liability           company With its physical address

                                                    located at 380 N. Pastoria Avenue, Sunnyvale, California and                           is   conducting business in the State of

                                                    California.


                                                             6.            Defendant,       ZENSEACT,         is,   upon information and belief, a subsidiary of VOLVO              CAR
                                                    GROUP,         doing business in the State of California.

NNNNNNNNNHHHHHHHHHH
                                                             7.            Defendant,       POLESTAR AUTOMOTIVE USA,                            INC. (“POLESTAR”), a Delaware
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                    corporation      is,   upon information and         belief,      an afﬁliate 0f VOLVO            CAR GROUP,         doing business in

                                                    the State 0f California.

                                                             8.            Plaintiff is     informed and believes that            at all relevant        times mentioned herein, the

                                                    following Defendants are individuals,               who are both employees ofVOLVO CAR GROUP and members

                                                    0f the Board 0f Directors 0f Defendant,               VOLVO CAR TECHNOLOGY FUND AB.                                   They include   as


                                                    follows:       MARIA HEMBERG,                 Head 0f Group Legal            &   Corporate Governance;              MATS MOBERG,
                                                    SVP    0f Research          & Development
                                                    //


                                                    //




                                                                                                                           2


                                                                                                              VERIFIED COMPLAINT
                                                        Case 5:22-cv-00390 Document 1-1 Filed 01/20/22 Page 12 of 127




                                                           9.     Plaintiff is   informed and believes that         at all relevant   times mentioned herein Defendant,

                                                    HAKAN SAMUELSSON                  is   Member of    the   Board 0f Directors and Chief Executive Ofﬁcer 0f

                                                    Defendant,   VOLVO CAR GROUP.
                                                           10.    Plaintiff is   informed and believes that         at all relevant   times mentioned herein, Defendant


                      KOOOQQUI-hUJNH
                                                    HENRIK GREEN is the          Chief Technology Ofﬁcer (CTO) 0f Defendant                  VOLVO CAR GROUP.
                                                           11.    Plaintiff is   informed and believes that         at all relevant   times mentioned herein, Defendant

                                                    SANELA IBROVIC         is       the    VP & Head     of Connected Experience 0f Defendant                VOLVO CAR
                                                    GROUP.
                                                           12.    Plaintiff is   informed and believes that         at all relevant   times mentioned herein, Defendant,

                                                    PAR ARVIDSSON         is     and was Head Corporate Development                   &   Governance 0f      VOLVO CAR
                                                    GROUP and Chairman 0f the Board 0f VOLVO CAR TECHNOLOGY FUND AB.
                                                           13.    Additionally, Plaintiff        is   informed and believes that          at all relevant   times mentioned

                                                    herein Defendants,   JOAKIM ALPSTEN                and   MARTEN LEVENSTAM,                are 0r   were members of the

                                                    Board 0f Directors of Defendant,         VOLVO CAR TECHNOLOGY FUND AB.
                                                           14.    Plaintiff is   informed and believes that         at all relevant   times mentioned herein Defendant,

                                                    (")DGARD     ANDERSSON            is   CEO   of Defendant,      ZENSEACT,         the   autonomous driving software

                                                    development subsidiary of             VOLVO CAR GROUP             as well as a current      member of      the   Board of

                                                    Directors of Defendant,     VOLVO CAR TECHNOLOGY FUND AB, and former Chief Digital Ofﬁcer
NNNNNNNNNHHHHHHHHHH                                 0f VOLVO     CAR GROUP.
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                           15.    Plaintiff is      informed and believes that      at all relevant   times mentioned herein Defendant

                                                    BOBBYKIN MAKWANA is VP & General Manager 0f Defendant, VOLVO CAR TECHNOLOGY
                                                    USA LLC.
                                                           16.    Plaintiff is      informed and believes that      at all relevant   times mentioned herein Defendant

                                                    PATRIK BENGTSSON is and was a Vice President of Software Development for Defendant VOLVO
                                                    CAR GROUP.
                                                           17.    Plaintiff is      informed and believes that      at all relevant   times mentioned herein Defendant

                                                    DENNIS NOBELIUS            is    and was the Chief Operating Ofﬁcer (COO) 0f Defendant                     POLESTAR
                                                    AUTOMOTIVE.

                                                                                                                3


                                                                                                      VERIFIED COMPLAINT
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                                                               18.    Each Defendant               is   collectively referred t0 as “Defendants” 0r                  “Volvo” 0r “Volvo Cars”

                                                     and    Plaintiff and   Defendants are collectively referred t0 as “Parties”.

                                                               19.    Plaintiff is        informed and believes and thereon allege that                         at all   times herein mentioned,

                                                     each of the named 0r ﬁctitiously designated defendants sued herein as Does                                          1   through 100, inclusive,

                                                     was the   agent, representative, employee, partner, associate,                           and joint venturer of every other defendant
                      KOOOQQUI-hUJNH




                                                     herein, as well as a co-conspirator,                 and      in   doing the things alleged herein, was acting Within the scope

                                                     0f such agency, employment and/or conspiracy and took the actions taken With the permission,

                                                     agreement, authority, ratiﬁcation and/or consent 0fthe defendants. Therefore, each of such ﬁctitiously

                                                     named defendants         is    responsible in            some manner           t0   pay the obligations described herein and                 that

                                                     Plaintiff’s losses as herein alleged                were proximately caused by defendants’                      acts. Plaintiff will      amend

                                                     this   Complaint   to allege their true             names and         capacities     when   ascertained.

                                                                                                        JURISDICTION AND VENUE
                                                              20.     This matter            is    Within the unlimited jurisdiction 0f this Court as the amount in

                                                    controversy, exclusive 0f interest and costs, exceeds $25,000.00.

                                                              21.     Venue         is   proper in this Court in that the acts that form the basis 0f this Complaint

                                                    occurred in Santa Clara County, and                       many of the      parties hereto reside, transact business, and/or                  have

                                                    their principal places     of business in             this county.


                                                                                                                    INTRODUCTION
NNNNNNNNNHHHHHHHHHH                                           22.     Volvo Cars           is     a household           name known Widely           for   its   family-friendly automobiles,
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                    safety record    and pristine reputation.                 It   champions an      ethical   and principled workplace focused 0n ﬁve

                                                    values:    Customer Success,            Trust, Passion,             Change and Performance. According                       t0   Volvo’s website,

                                                    all   of the values are geared towards                    how Volvo       interacts “with our customers,                  and with society as a

                                                    whole” and drives “decisions                at all levels       0f the organization.”

                                                              23.     This polished veneer, however, belies the reality of                            how Volvo               actually treats certain

                                                    employees, and      how    it   engages in          its   business practices.

                                                              24.    This case       is   about Volvo’s surreptitious and underhanded treatment 0f a small startup

                                                    company founded by               three      Volvo employees who                  relied    0n Volvo’s promises                  t0 deliver certain


                                                    equipment, support and other deliverables in exchange for the startup developing                                          its   unique automobile


                                                                                                                                4


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                                                    data enablement platform.           Indeed, Volvo’s actions are typical 0f the greedy corporate conglomerate

                                                    that will stop at nothing t0 acquire technology              it   sees as valuable.

                                                             25.      The   Plaintiff,      AIDEN AUTOMOTIVE TECHNOLOGIES,                              INC. (“AIDEN”), seeks

                                                    damages     for a litany   of Defendants’ actions, including fraud, unfair business practices and interference


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                                                    With prospective economic advantage,                 among   other wrongful acts.

                                                                                                    FACTUAL ALLEGATIONS
                                                             26.      The      Plaintiff,   AIDEN AUTOMOTIVE TECHNOLOGIES                                    INC.,   is    a Delaware

                                                    corporation that    was formed by         its   three founders, Niclas Gyllenram, Jonas             Fenn and Syed Mubeen

                                                    Saifullah   (“AIDEN FOUNDERS”),                 at the   behest and encouragement of Volvo Cars’ management.

                                                             27.      A11 three     AIDEN FOUNDERS                    were originally    full-time    employees 0f the          VOLVO
                                                    CAR TECHNOLOGY USA LLC                          a subsidiary of          Volvo Cars, which   is   also   known        as Defendant,

                                                    VOLVO CAR GROUP, located in Silicon Valley, California; only one 0fthe founders is still employed
                                                    full-time   by Volvo. Their roles within Volvo were                 related to developing    and ﬁnding solutions            t0 allow


                                                    for   Volvo automobiles       t0   expand   their digital data utilization        and footprint through partnerships With

                                                    other technology companies in Silicon Valley and elsewhere.

                                                             28.     In the course 0f their work, the            AIDEN FOUNDERS, came t0                realize that a      gap existed

                                                    in the automobile industry in regard to the capturing                     of automobile data being generated by cars and

                                                    data being fed back to cars in real time. Realizing that this gap could be ﬁlled, and the solution could

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                                                    potentially    spawn a     multi-billion dollar industry, the               AIDEN FOUNDERS           proposed t0 the Volvo
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                                                    Defendants’ corporate management a revolutionary and novel data enablement platform utilizing the

                                                    Android operating system.

                                                             29.     Pertinent     VOLVO CAR GROUP                     management and       certain    members 0f         the   Board of

                                                    Defendant      VOLVO CAR TECHNOLOGY FUND                                       AB,    namely      Defendants          BOBBYKIN
                                                    MAKWANA, SANELA                    IBROVIC, (")DGARD ANDERSSON, PATRIK BENGTSSON, JOAKIM

                                                    ALPSTEN, PAR ARVIDSSON, MARIA HEMBERG,                                          MARTEN LEVENSTAM,                      and    MATS
                                                    MOBERG, were impressed with this data enablement platform proposed by the AIDEN FOUNDERS.
                                                    The Volvo management and board,                 in   October 0f 2020, voted unanimously that              this data     enablement

                                                    platform would be better suited as a separate spin-out entity of Volvo and would be better positioned


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                                                    as a startup entity        owned     in part   by Volvo. Some 0f the            internal steps       toward approval 0f this spin-out

                                                    entity,   Which received unanimous board 0f director approval                         in   November 2020, were memorialized                in


                                                    an email dated March           11,   2021 with the subject            line   0f “The Facts Surrounding Project AIDEN.” See

                                                    Exhibit        1.


                                                               30.       Volvo and the      three eventual founders of AIDEN negotiated the terms of this                            new   entity
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                                                    in the    form 0f a “Spin-Out Term Sheet”               that    was signed 0n or around November                  11,   2020, set forth in

                                                    Exhibit        2.   The new spinout was          t0   be called   “AIDEN AUTOMOTIVE TECHNOLOGIES,                                    INC.”.

                                                    Among the key terms            0f the term sheet was that Volvo was to                     own   18 percent of AIDEN. In addition,

                                                    Volvo was           t0 assign the intellectual property rights to              AIDEN, and AIDEN was                t0   develop the data

                                                    enablement platform (“Data Enablement Platform”) using AIDEN’S                                          own     resources and raise a

                                                    minimum 0f $500,000             in outside investment.


                                                               3   1.      The Spin-Out Term Sheet           also speciﬁed that the            AIDEN FOUNDERS were t0 maintain
                                                    their current        employment positions with Volvo, and                     that if   AIDEN was        able to raise the       minimum

                                                    $500,000 in outside          capital,   Volvo would enter into a formal acquisition agreement and provide AIDEN

                                                    with equipment, ofﬁce space,               R&D        project   management support               -   and most   critically   -   the testing

                                                    environment t0 be able to deploy and                  test the data     enablement platform in Volvo vehicles.

                                                               32.         AIDEN’S     obligations under the term sheet              were      to develop a    minimally Viable product,

                                                    and a    sales pipeline Within 18         months      after   formal acquisition agreements were signed between Volvo

NNNNNNNNNHHHHHHHHHH                                 and AIDEN. The             sales pipeline      would only be possible           if   Volvo provided the       testing    environment by
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                                                    providing vehicles to          AIDEN      through which         AIDEN         could demonstrate the functionality of the Data

                                                    Enablement Platform            to potential clients.


                                                               33.         Upon    raising of the $500,000 of outside capital                        by    AIDEN by December               2020,

                                                    Defendants and AIDEN entered into a formal                      set   0f acquisition documents (“Acquisition Agreements”)

                                                    whereby Volvo would formally own the 18 percent 0f AIDEN’S shares and would assign the Data

                                                    Enablement Platform             intellectual property t0          AIDEN         as well as deliver equipment, ofﬁce space,


                                                    technology,          all   research and development needed, project                         management support and a                 testing


                                                    environment for            AIDEN      in order t0 ultimately            deploy a sales pipeline for             AIDEN’S technology



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                                                    products.     The Acquisition Agreements were signed on or around March                             8,    2021 and effective by    their


                                                    terms on this same date.

                                                             34.          The relevant Acquisition Agreements signed by Volvo and                         AIDEN consist 0f 1)         a Seed

                                                    Preferred Stock Purchase Agreement; 2) a Voting Agreement; and 3) IP Assignment Agreements.


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                                                             35.          From       the outset of Volvo executing the Acquisition Agreements,                        Volvo did not intend

                                                    to   honor   its   obligations. Instead,         it   became   clear that       Volvo induced the   AIDEN FOUNDERS t0 enter
                                                    into the Acquisition            Agreements      to    have them raise their       own capital to   develop a successful minimally

                                                    Viable product.            Once    AIDEN       developed the Data Enablement Platform, Volvo intentionally began

                                                    withholding        its    obligations t0 provide the necessary equipment, technology, ofﬁce space, and testing

                                                    environment with Which                AIDEN could develop            its    sales pipeline. Rather,   Volvo’s intent     all   along was

                                                    to misappropriate           AIDEN’S developed product and intellectual property                     for   its   own commercialization

                                                    and pecuniary beneﬁt.

                                                             36.          The       ﬁrst signs 0f Volvo’s       bad     faith   and fraudulent   intent occurred        when AIDEN was

                                                    informed by an employee 0f Defendant                           VOLVO CAR GROUP                     one day       after the Acquisition


                                                    Agreements were signed on 0r about March                       8,   2021 that      VOLVO would not be executing the Services
                                                    Agreement, despite the Services Agreement being a condition of the Acquisition because Defendant

                                                    HENRIK GREEN                   of the Defendant        VOLVO CAR GROUP had decided so.                      Mr. Niclas Gyllenram of

                                                    AIDEN,       then repeatedly tried to contact Defendant                     HENRIK GREEN through emails and phone calls,
NNNNNNNNNHHHHHHHHHH                                 and    even        left    a     message       With     Defendant      ODGARD ANDERSSON                          (GREEN’S Domestic
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                                                    Partner/Romantic               Interest), in   an effort t0 ﬁnd out what concerns              GREEN            harbored and to ﬁnd a

                                                    resolution, but          Gyllenram received n0 response.

                                                             37.          Then, t0 make matters worse, on April 19, 2021, the                    AIDEN FOUNDERS were told by
                                                    Defendants,        SANELA IBROVIC                 of VOLVO          CAR GROUP, BOBBYKIN MAKWANA                            of VOLVO

                                                    CAR TECHNOLOGY USA LLC and two other Volvo executives 0n a recorded Video conference call
                                                    that Defendant,           VOLVO CAR GROUP’S Chief Technology Ofﬁcer, Defendant HENRIK GREEN, had
                                                    decided the         AIDEN FOUNDERS                     could not continue employment with Volvo, despite Volvo’s

                                                    previous agreement t0 allow otherwise, and that Volvo’s incubation 0f AIDEN was n0 longer possible.




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                                                               38.    To       date, since the Acquisition   Agreements were signed by the                          Parties,   and despite

                                                    repeated assurances, Volvo has yet to fulﬁll the Service Agreement and has not delivered the necessary

                                                    equipment technology, proj ect management and the testing environment necessary for Plaintiff AIDEN

                                                    t0 fully   develop   its   products and the sales pipeline due t0 Volvo’s actions.

                                                               39.    Volvo’s fraudulent behavior does not stop                   there. In    an       effort to    hamstring Plaintiff
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                                                    AIDEN’S      ability t0 create a sales pipeline     0f potential      clients,      VOLVO CAR GROUP’S CTO Henrik
                                                    Green, instructed Volvo’s afﬁliates and subsidiaries t0 halt                  all   collaboration with        AIDEN in providing
                                                    the testing environment necessary for           AIDEN     to test       its    product and develop a sales pipeline as

                                                    contemplated in the Acquisition Agreements and Services Agreement for Which                                  AIDEN was expressly
                                                    made    a third—party beneﬁciary by paragraph 15 in the Services Agreements.

                                                               40.    Speciﬁcally, Defendant       POLESTAR,          a   Volvo subsidiary and                afﬁliate,   which was on

                                                    track t0 utilize and deploy        AIDEN’S technology 0n         a test basis, suddenly informed                   AIDEN     that they


                                                    would not be     interested in    working further With AIDEN. Inexplicably, demo sessions and discussions

                                                    of integration of AIDEN’S technology were cancelled without explanation and subsequent inquiries

                                                    were met with radio         silence.


                                                               41.    AIDEN        later learned that   VOLVO CAR GROUP’S CTO                              Henrik Green had given

                                                    explicit instructions to       POLESTAR — and       other afﬁliates Within            Volvo     -   t0 not   work with      AIDEN   in


                                                    any capacity.

NNNNNNNNNHHHHHHHHHH                                            42.    The underlying intent of Volvo’s bad faith and fraud was revealed when AIDEN learned
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                                                    that   Volvo had     started developing its    own    versions of a similar data enablement and data sharing

                                                    platforms in direct competition with AIDEN’S.                This was done by Volvo despite there being a

                                                    contractual clause prohibiting          Volvo from such development                    as a condition of the Acquisition

                                                    Agreements. Speciﬁcally, section 7.2 of the Share Purchase Agreement                            states:




                                                                      7.2      Non-Competition Agreement. For a period 0ftw0 yearsfrom the date 0f
                                                                      the Closing, Purchaser    and its Aﬁliates (as deﬁned below) Shall not operate
                                                                      a Competitive Business; provided, that nothing                       in this Section           7.2 Shall
                                                                      prohibit Purchaser, 0r any ofits Affiliates 0r successors               and assigns, from (a)
                                                                      acquiring 0r owning, directly 0r indirectly,                voting securities ofany publicly
                                                                      traded Person, (b) conducting any business that Purchaser conducts as 0fthe
                                                                      date hereofso long as it does not utilize the Transferred IP, 0r (c) utilizing

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                                                                            technology from any Competitive Business for purposes 0f its vehicle
                                                                            production operations. For purposes 0f this Section 7.2, (z) “Competitive
                                                                                            ”
                                                                            Business means any other Person engaged, directly 0r indirectly, in whole
                                                                            0r in part, in the commercialization ofa data enablement and/or data sharing
                                                                            system that communicates data t0 and from vehicles using the Android
                                                                            operating system, and (i1) “Affiliates” means Volvo Car AB and any Person
                                                                            controlled by Volvo           Car AB.

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                                                    See Exhibit        3.


                                                               43.          Thus,    it   became   clear that   Volvo engaged in acts to                intentionally      and fraudulently induce

                                                    AIDEN to enter into an agreement With Volvo in bad faith in an effort to shutter AIDEN’S project while
                                                    Volvo misappropriated the Data Enablement Platform                                for   its   own     beneﬁt. This misappropriation was

                                                    intentional      and coordinated            to present the      Data Enablement Platform as Volvo’s own. This became

                                                    evident in Volvo’s two press releases 0f June 30, 2021 (Exhibit 7) declaring that that their                                        new “cloud-

                                                    based features” allow developers access t0 “in-car features such as vehicle sensor data” and “user data”

                                                    -   an almost perfect description 0f AIDEN’S Data Enablement Platform. Mr.                                             HENRIK GREEN,            the

                                                    CTO     for      Volvo      is   currently a domestic partner and/or romantically involved with                                       ODGARD
                                                    ANDERSSON, Who                   sits   0n the Board 0f Directors 0f VCTF and                       also the acting     CEO 0f ZENSEACT,
                                                    thus enabling           them     t0    keep close tabs 0n AIDEN’S development and progress. In the words of

                                                    ODGARD ANDERSSON herself in one of the June 3O press releases,                                             “With helpfrom          real—life   data
                                                                                                                                                                       ”
                                                    we can Speed up our development processes and g0 from years                                            t0 days.        The Data Enablement

                                                    Platform has a potential to revolutionize the auto industry and                               is   proj ected to   have a future worth     in the


                                                               of dollars — a fact clearly not                          VOLVO.
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                                                    billions                                                lost   on

                                                               44.          Volvo’s intentional acts          t0 prevent         Volvo   afﬁliates       and subsidiaries from working with

                                                    AIDEN       were        clearly designed t0 sabotage                and prevent      AIDEN           from developing        its   product in the

                                                    intended and agreed-to testing environment. Volvo’s acts were intended to hamstring                                          AIDEN’S      efforts


                                                    to   develop a sales pipeline for              its   products within the 18-month                  window   as required     by     AIDEN under
                                                    the Acquisition Agreements. Without having a testing environment and access t0 the appropriate                                                 team

                                                    members       at   Volvo,    AIDEN          cannot develop          its   sales pipeline, a fact       of which Volvo       is    well aware and

                                                    has used to limit Plaintiff’s progress.

                                                               45.          Volvo’s actions have harmed                   AIDEN       and are particularly egregious because                 AIDEN
                                                    was formed         at the   behest and encouragement 0f Volvo. Not only did the founders of AIDEN set up the

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                                                    Delaware corporation            at their   own    expense, but also, pursuant t0 the Spin-Out           Term Sheet executed by

                                                    Volvo,   AIDEN has raised close to $2 million in capital through outside investors, has hired developers,
                                                    and expended signiﬁcant resources                   t0   develop the intended product,        all in   reliance   0n Volvo’s   false


                                                    promises.


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                                                             46.          Like the     rest    0f the public, the         AIDEN FOUNDERS               believed that Volvo was a

                                                    principled      company with values they could               trust   and believe   in.   Unfortunately, trusting Volvo’s false

                                                    image proved       to      be detrimental    to   AIDEN. As         further set below, Defendants’ conduct has given rise

                                                    t0 a   myriad 0f claims and damages                t0 Plaintiff.


                                                                                                       FIRST CAUSE OF ACTION
                                                                                                        BREACH OF CONTRACT
                                                                  (Against Defendants           VOLVO CAR TECHNOLOGY FUND AB, VOLVO CAR
                                                                                     CORPORATION                 and Does      1   through   10, inclusive)

                                                             47.          Plaintiff refers to each            of the foregoing paragraphs in their             entirety,   and hereby

                                                    incorporates     them by reference          as    though fully     set forth herein.


                                                             48.          On November          11,    2020, Plaintiff and Defendants executed a “Spin—Out                Term   Sheet,”

                                                    (Exhibit 2) Which was signed by                  VOLVO CAR TECHNOLOGY FUND AB, and by AIDEN.
                                                             49.          In the ensuing months, the Parties engaged in contractual negotiations, and                      on or about

                                                    March    8,   2021,   AIDEN entered into the following additional Agreements With Defendants, Which were
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                                                    was    also signed      and witnessed by the         AIDEN FOUNDERS.               These agreements include:

                                                                          a.        the Seed Preferred Stock Purchase               Agreement (Exhibit       3);


                                                                          b.        the Voting       Agreement (Exhibit        4);   and

                                                                          c.        the Intellectual Property          Assignment Agreement (Exhibit           5).


                                                              50.         The agreements        set forth as     Exhibits 3 through 5 are collectively referred t0 as the

                                                    “Acquisition Agreements.”

                                                              51.         Additionally, the Services           Agreement was entered           into   between Defendants     VOLVO
                                                    CAR TECHNOLOGY FUND AB                              and   VOLVO CAR TECHNOLOGY USA LLC                            speciﬁcally and

                                                    expressly for the beneﬁt 0f AIDEN, as referenced in paragraph 15. (Exhibit 6.)


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                                                             52.      The terms of these Acquisition Agreements, the Spin-Out Term                   Sheet, and the Services

                                                    Agreement      are fully incorporated herein      by   reference.

                                                             53.      AIDEN fully performed its obligations under the Acquisition Agreements having raised
                                                    more than sufﬁcient     investor funding and having developed the Data Enablement Platform.

                                                             54.      Defendants breached their duties and obligations under the Acquisition Agreements and
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                                                    the Services   Agreement (Which was expressly contemplated to inure t0 the beneﬁt of AIDEN), by,                           inter


                                                    alia:


                                                                      a.      withholding      its   obligations to provide the necessary equipment, ofﬁce space,

                                                    technology services, research and development support, and a testing environment, Which were

                                                    necessary for Plaintiff to develop         its   sales pipeline,    which were breaches 0f        all    of the Acquisition

                                                    Agreements and the Services Agreement;

                                                                      b.      intentionally depriving Plaintiff 0f the ability t0 deploy                     and   test the    data

                                                    enablement platform in Volvo vehicles, Which was a breach 0f all 0f the Acquisition Agreements and

                                                    the Services Agreement;

                                                                      c.      attempting to terminate the         AIDEN FOUNDERS             on or about April         19,   2021,

                                                    which was a breach 0f all of the Acquisition Agreements and the Services Agreement;

                                                                      d.      instructing Defendants to halt all contractually agreed           upon collaboration           efforts


                                                    With Plaintiff to provide the necessary resources for              AIDEN t0 be    able to test   its   product and develop

NNNNNNNNNHHHHHHHHHH                                 a sales pipeline as contemplated in the Acquisition Agreements, Which were also breaches of all of the
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                                                    Acquisition Agreements and the Services Agreement;

                                                                      e.      usurping   AIDEN’S        intellectual property      and developing      its   own   versions of a

                                                    similar data enablement and data sharing platform in direct competition With Plaintiff” s,                     Which was a

                                                    breach of the Acquisition Agreements and the Services Agreement; and

                                                                      f.      maliciously causing Plaintiff to expend time, resources and                      money    t0    make

                                                    capital raises, hire labor,     and expend signiﬁcant resources           to   develop the intended product Without

                                                    compensating     Plaintiff,   under the   false pretenses that      Defendants would keep their end of the bargain,

                                                    which was a breach 0f all of the Acquisition Agreements and the Services Agreement.




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                                                            55.      Plaintiff    was harmed       in     an amount to be proven        at trial,   including but not limited to

                                                    being unlawfully deprived 0f the             fruits   of their money, labor, resources, and the inﬁnitely valuable

                                                    Intellectual Property they      had worked so hard            t0 create    and develop,    in addition t0 all the   beneﬁts and

                                                    bargained-for consideration t0 Which they were contractually entitled.

                                                            56.      Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the
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                                                    contractual breaches and ultimate unilateral termination 0f the business relationship                           would not have

                                                    occurred but for the unlawful inducement described herein.

                                                            57.     As    a direct, legal and proximate result 0f the Defendants’ breach 0f the Acquisition

                                                    Agreements, Plaintiff has suffered, and will continue to suffer substantial general and special damages,

                                                    including but not limited        to, loss    of reputation and business relationships and loss of proﬁts in an

                                                    amount according      t0   proof at the time 0f trial.


                                                                                                 SECOND CAUSE OF ACTION
                                                                                         INDUCING BREACH OF CONTRACT
                                                    (Against Defendants         VOLVO CAR GROUP, HENRIK GREEN, POLESTAR AUTOMOTIVE
                                                          USA, INC.,      BOBBYKIN MAKWANA, SANELA IBROVIC, and Does                                        1—10, inclusive)

                                                            58.          Plaintiff refers to      each of the foregoing paragraphs in their                 entirety,    and hereby

                                                    incorporates   them by reference        as   though fully     set forth herein.


                                                            59.      Pursuant to the Acquisition Agreements and Services Agreement, Plaintiff AIDEN was
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                      OOQONM-bUJNHOKOOOQONmAmNt—O   to   collaborate With Defendant          POLESTAR,             a Volvo subsidiary and afﬁliate, and other Volvo

                                                    subsidiaries   and   afﬁliates, t0    deploy and       test   AIDEN’S       technology and develop       its   product t0 aid in

                                                    ultimately creating a sales pipeline for the Parties’ mutual beneﬁt.

                                                            60.      However, 0n 0r about April                   19,   2021    in a recorded conversation          among AIDEN

                                                    FOUNDERS        and Defendants,        BOBBYKIN MAKWANA and SANELA IBROVIC                                     claimed that after

                                                    a conversation with Defendant           HENRIK GREEN,               it   was decided   that “the incubation [0f      AIDEN]    is


                                                    n0 longer possible” and       that   Volvo would n0 longer honor the Acquisition Agreements 0r the Services

                                                    Agreement. They also told the          AIDEN FOUNDERS                    that they could   n0 longer work on      AIDEN while
                                                    being employed by Volvo.



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                                                            61.          Thereafter,       0n or about June             4,    2021, defendant       POLESTAR           and other Volvo

                                                    subsidiaries    and afﬁliates      -   apropos 0f nothing       -
                                                                                                                        suddenly informed Mr. Gyllenram that they would not

                                                    be interested in working further with AIDEN.                              Inexplicably,   demo        sessions and discussions 0f

                                                    integration 0f      AIDEN’S       technology were cancelled Without explanation, a subsequent                         demo   session

                                                    scheduled for September           2,   2021 was also cancelled. Mr. Hjelm of POLESTAR informed Gyllenram
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                                                    by phone that Dennis Nobelius,             the   COO ofPOLESTAR, was instructed by HENRIK GREEN t0 cease
                                                    dealing With        AIDEN.       Essentially, the contracting Defendants decided t0 unilaterally terminate the

                                                    Acquisition Agreements and the Services Agreement, and cease their business relationship With

                                                    Plaintiff.


                                                            62.          Plaintiff   AIDEN     later learned that        Defendant       VOLVO CAR GROUP’S,               Henrik Green,

                                                    had given      explicit instructions to      POLESTAR — and ultimately the                     other Defendants and afﬁliates 0f

                                                    Volvo   -    t0 stop   working with       Plaintiff in      any capacity.       POLESTAR was           entirely complicit With this


                                                    instruction,    and furthered inducement 0f the contractual breaches by ceasing                              t0    d0 business With

                                                    Plaintiff.


                                                            63.          Defendants were obviously aware 0f the Acquisition Agreements and                                    AIDEN’S

                                                    designated role t0 collaborate with                POLESTAR              and the other Defendant subsidiaries and afﬁliates

                                                    Within Volvo, and that such was integral t0 the development 0f Plaintiff’s product and the ultimate

                                                    success 0f the joint venture With Volvo.

NNNNNNNNNHHHHHHHHHH                                         64.          In   making these     explicit instructions,             Defendants intended to cause         POLESTAR     and
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                                                    other Defendant subsidiaries and afﬁliates within                         Volvo    t0 cause    VOLVO CAR TECHNOLOGY
                                                    FUND AB          and      VOLVO CAR CORPORATION                            to   breach the Acquisition Agreements between

                                                    AIDEN         and    Defendants,        VOLVO CAR TECHNOLOGY FUND AB                                         and    VOLVO CAR
                                                    CORPORATION, by essentially walking away from the entire business relationship.
                                                            65.          Plaintiff   was harmed        in     an amount t0 be proven          at trial,   including but not limited t0

                                                    being unlawfully deprived of the                 fruits   0f their money, labor, resources, and the inﬁnitely valuable

                                                    Intellectual Property they         had worked so hard          to create        and develop,   in addition t0 all the   beneﬁts and

                                                    bargained-for consideration t0 which they were contractually entitled.




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                                                              66.       Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the

                                                    contractual breaches and ultimate unilateral termination 0f the business relationship                         would not have

                                                    occurred but for the unlawful inducement described herein.

                                                              67.       As   a direct, legal and proximate result 0f the Defendants’ breach 0f its contractual duties

                                                    and obligations due and owing           to Plaintiff, Plaintiff has suffered,          and Will continue   to suffer substantial
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                                                    general and special damages, including but not limited                    t0, loss   of reputation and business relationships

                                                    and    loss   of proﬁts in an amount according t0 proof at the time of trial.

                                                                                                  THIRD CAUSE OF ACTION
                                                                             TORTIOUS BREACH OF THE IMPLIED COVENANT OF
                                                                                            GOOD FAITH AND FAIR DEALING
                                                                  (Against Defendants        VOLVO CAR TECHNOLOGY FUND AB, VOLVO CAR
                                                                                     CORPORATION,            and Does     1   through      10, inclusive)

                                                              68.       Plaintiff refers to each        of the foregoing paragraphs in their                 entirety,   and hereby

                                                    incorporates      them by reference      as   though fully   set forth herein.


                                                              69.       Implied in every contract, including the Agreement(s)                  is   the covenant 0f good faith and

                                                    fair   dealing   by which       the contracting parties are bound. California law recognizes in every contract an

                                                    implied covenant of good faith and             fair dealing.   The implied covenant imposes on a contracting party

                                                    not only a duty to refrain from acting in a manner that frustrates performance 0f the contract, “but also

NNNNNNNNNHHHHHHHHHH                                 the duty t0 d0 everything that the contract presupposes that he will d0 t0 accomplish                        its   purpose.” See
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                    Pasadena Live       v.   City   ofPasadena 114 Cal.App.4th 1089, 1093 (2004).

                                                              70.       Defendant       VOLVO CAR TECHNOLOGY FUND AB                                   entered into each 0f the

                                                    Acquisition Agreements with            AIDEN, and Defendant VOLVO CAR CORPORATION entered into the

                                                    Non-Disclosure Agreement with              AIDEN.

                                                              7 1.      Plaintiffhas performed all 0f its obligations required t0 be performed in accordance With

                                                    the terms 0f the Acquisition Agreements.

                                                              72.       By    failing   and refusing    t0   comply With the terms of               the Acquisition Agreements,

                                                    including the Non-Disclosure Agreement, as agreed, Defendants                              VOLVO CAR TECHNOLOGY
                                                    FUND AB and VOLVO CAR CORPORATION unfairly interfered with Plaintiff” s right t0 receive the

                                                                                                                     14


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                                                    beneﬁts 0f these agreements. In particular,                       VOLVO CAR TECHNOLOGY FUND AB                           and   VOLVO
                                                    CAR CORPORATION                         for their    own monetary               gains,   induced   AIDEN     t0   develop and create

                                                    intellectual property at            AIDEN’S own               cost for Defendants’ ultimate beneﬁt, including                  AIDEN’S

                                                    development of the Data Enablement Platform, which Defendants secretly intended t0 usurp for                                       their


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                                                    own beneﬁt and              pecuniary gain.           Furthermore, Defendants promised that they would foster the

                                                    development of AIDEN’S technology by providing ofﬁce space, Volvo vehicles With which t0                                        test   and

                                                    deploy      AIDEN’S         intellectual property       and the Data Enablement Platform. Ultimately, however, these

                                                    inducements by Defendants for                  AIDEN          t0 enter the Acquisition          Agreements never occurred, Which

                                                    Plaintiff later learned         was     part 0f a malicious         and fraudulent scheme          t0 convert Plaintiff s Intellectual


                                                    Property and products to these Defendants’                        own use.      Shortly after   AIDEN entered into the Acquisition
                                                    Agreements,       it   became      clear that Defendants never                  had any intention of upholding       their obligations


                                                    under the Acquisition Agreements                       as     they developed their         own     business relationships      using the

                                                    intellectual property misappropriated                   from      AIDEN      for Defendants’       own monetary     gain, at   AIDEN’S

                                                    expense.

                                                                73.        As   a direct, legal and proximate result of Defendants’ conduct, Plaintiff has suffered,

                                                    and Will continue           to suffer substantial general            and special damages, including but not limited              t0, loss


                                                    of reputation and business relationships and loss 0f proﬁts in an amount according to proof at the time

                                                    of trial.

NNNNNNNNNHHHHHHHHHH                                             74.        Plaintiff   was harmed         in     an amount to be proven          at trial,   including but not limited t0
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                    being unlawfully deprived 0f the                    fruits   of   their   money,     labor, resources,    and the inﬁnitely valuable

                                                    Intellectual Property they              had worked s0 hard          t0 create      and develop,    in addition to all the beneﬁts      and

                                                    bargained-for consideration to Which they were contractually entitled.


                                                                75.        Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the

                                                    contractual breaches and ultimate unilateral termination of the business relationship                                 would not have

                                                    occurred but for the unlawful inducement described herein.

                                                                76.        AIDEN       is    informed and believes that the aforementioned conduct of Defendants

                                                    VOLVO CAR TECHNOLOGY FUND AB                                       and    VOLVO CAR CORPORATION,                   and each 0f them,

                                                    was   carried out as part of a deliberate and systematic                        scheme ofwrongful misappropriation, conversion
                                                                                                                               15


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                                                    and misuse 0f AIDEN’S               intellectual property, products,              and Data Enablement Platform. Such conduct

                                                    was     oppressive, fraudulent, and malicious, and subjected                         AIDEN     to cruel     and unjust hardship    in a


                                                    willful   and conscious disregard 0f their rights, warranting exemplary and punitive damages pursuant to

                                                    Civil   Code Section 3294,           for the reasons set forth herein             and for   at least the   following reasons:


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                                                                        a.         It   was done With        the purpose and intent of subj ecting             AIDEN to the foreseeable
                                                    risks   0f losing investment funds,             its   own monetary          investment and resources expended in developing

                                                    AIDEN      and hiring people and being prevented from consummating the business so                                  that   AIDEN   and

                                                    its   investors could each enjoy the fruits of their personal gains through the establishment 0f business

                                                    relationships      and   sales,   Which Defendants usurped              for their    own    gains, as set forth above;

                                                                        b.         It   was done With         the purposeful and intentional design 0f putting Defendants’

                                                    own personal       interests      ahead 0f the    Plaintiff” s rights       and   interests, at the   expense 0f AIDEN’S rights t0

                                                    pursue    its   own business and realize          the fruits 0f its endeavors through the Acquisition               Agreements and

                                                    investor funding, sales and business relationships; and

                                                                        C.         It   was done With         the purpose and intent 0f converting, misappropriating and/or

                                                    misdirecting      AIDEN’S         intellectual property         and products, including the Data Enablement Platform, in

                                                    furtherance of a willful and conscious disregard 0f AIDEN and the Acquisition Agreements.

                                                                                                    FOURTH CAUSE OF ACTION
                                                                                               UNFAIR BUSINESS PRACTICES
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                                                                                         (BUSINESS           & PROFESSIONS CODE §17200)
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                                                                                        (Against All Defendants and Does 1 — 50, inclusive)

                                                              77.       Plaintiff refers to each              of the foregoing paragraphs in their                 entirety,   and hereby

                                                    incorporates      them by reference        as   though fully        set forth herein.


                                                              78.       California’s        Unfair         Competition          Law     (the    “UCL”)      deﬁnes     “unfair   business

                                                    competition” t0 include any “unlawful, unfair 0r fraudulent” act 0r practice, as well as any “unfair,

                                                    deceptive, untrue 0r misleading” advertising. Cal. Bus. Prof.                         Code    § 17200.

                                                              79.       The     UCL       imposes         strict   liability.    Plaintiff     need not prove      that the    Defendants

                                                    intentionally or negligently           engaged        in unlawful, unfair, 0r fraudulent business practices           — but only that

                                                    such practices occurred.


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                                                            80.         A business act 0r practice is “unfair” under the UCL if                  it   offends an established public

                                                    policy 0r   is   immoral, unethical, oppressive, unscrupulous, 0r substantially injurious to consumers, and

                                                    that unfairness is        determined by weighing the reasons, justiﬁcations and motives of the practice against

                                                    the gravity of the        harm   t0 the alleged Victims.


                                                            81.         The Defendants’           actions constitute “unfair” business practices because, as alleged
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                                                    herein, Defendants          engaged   in misleading         and deceptive conduct as follows:

                                                                         a.        withholding      its   obligations t0 provide the necessary equipment, technology

                                                    services, research          and development support, ofﬁce space and testing environment which were

                                                    necessary for Plaintiff t0 develop            its   sales pipeline;


                                                                        b.         intentionally depriving Plaintiff of the ability t0 deploy                        and   test the    data

                                                    enablement platform in Volvo vehicles;

                                                                        c.         attempting t0 terminate the           AIDEN FOUNDERS               0n 0r about April      19,   202 1;

                                                                        d.         instructing Defendants t0 halt all contractually agreed               upon collaboration         efforts


                                                    with Plaintiff to provide the necessary resources for                      AIDEN t0 be   able to test    its   product and develop

                                                    a sales pipeline as contemplated in the Acquisition Agreements;

                                                                        e.         usurping      AIDEN’S         intellectual property   and Data Enablement Platform                       in


                                                    developing Defendants’            own versions of a         similar data enablement      and data sharing platform             in direct


                                                    competition With          AIDEN in Violation 0f the Non-Disclosure Agreement;                      and

NNNNNNNNNHHHHHHHHHH                                                     f.         causing Plaintiff t0 expend time, resources and                money      t0    make    capital raises,
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                                                    hire labor,      and expend signiﬁcant resources               to   develop the intended product without Plaintiff being

                                                    compensated 0r Defendants keeping                   their   end of the bargain.

                                                            82.         AIDEN was harmed in an amount to be proven at trial, including but not limited to being
                                                    unlawfully deprived ofthe           fruits   of their money, labor, resources, and the inﬁnitely valuable Intellectual

                                                    Property they had worked so hard t0 create and develop, in addition t0                        all   the beneﬁts and bargained-

                                                    for consideration t0        Which they were contractually             entitled.


                                                            83.         Defendants’ conduct was a substantial factor in causing                        AIDEN’S harm because             the

                                                    contractual breaches and ultimate unilateral termination of the business relationship                              would not have

                                                    occurred but for the unlawful inducement described herein.


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                                                                84.       Based upon Defendants’ fraudulent business                     practices,   AIDEN   is   entitled to statutory


                                                    damages, plus actual damages, court costs and attorneys’                       fees.


                                                                85.       The harm    t0   AIDEN    outweighs the             utility   0f the Defendants’ practices. There were

                                                    reasonably available alternatives t0 further the Defendants’ legitimate business interests other than the

                                                    misleading, deceptive and fraudulent conduct against Plaintiff described herein.
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                                                                86.       Pursuant t0 the   UCL, AIDEN        is   entitled t0 preliminary            and permanent injunctive      relief


                                                    and an order        that   Defendants t0 cease   this unfair competition, as                well as disgorgement and restitution

                                                    to Plaintiff of all Defendants’ gains associated            with their unfair competition.

                                                                87.       As   a direct, legal and proximate result of Defendants’ conduct, Plaintiff has suffered,

                                                    and Will continue          to suffer substantial general       and special damages, including but not limited                 t0, loss


                                                    0f reputation and business relationships and loss of proﬁts in an amount according t0 proof at the time

                                                    0f trial.


                                                                                                  FIFTH CAUSE OF ACTION
                                                                                           FRAUDULENT MISREPRESENTATION
                                                         (Against All Defendants [Except            ZENSEACT          and        POLESTAR AUTOMOTIVE USA, INC.]
                                                                                                   and Does 11 — 21,             inclusive)

                                                                88.       Plaintiff refers to each     of the foregoing paragraphs in their                    entirety,    and hereby

                                                    incorporates        them by reference    as   though   fully set forth herein.
NNNNNNNNNHHHHHHHHHH




                      OOQONM-bUJNHOKOOOQONmAmNt—O               89.       Defendants made the following material false representations to                          Plaintiff,   which   are


                                                    broadly acknowledged in an email from a concerned employee 0f the Defendants                                        VOLVO CAR
                                                    GROUP & VOLVO CAR TECHNOLOGY FUND                                         dated     March   11,   2021 to the Defendant      MARIA
                                                    HEMBERG.             These   false misrepresentations are as follow:


                                                                          a.       In October 2020,        BOBBYKIN MAKWANA                            of Defendant     VOLVO CAR
                                                    TECHNOLOGY USA LLC informed Mr. Niclas Gyllenram that AIDEN FOUNDERS would continue
                                                    t0   have   their   “day jobs” with Volvo, While they developed AIDEN, which decision Plaintiff is informed

                                                    and believes        MATS MOBERG of VOLVO CAR GROUP and VOLVO CAR TECHNOLOGY FUND
                                                    AB    had approved. These representations were knowingly                          false   When made,   as these Defendants at all

                                                    times intended to terminate         AIDEN’S     founders once they had taken what they needed from                      AIDEN.      In

                                                                                                                      1   8


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                                                    fact,   MAKWANA and IBROVIC informed the AIDEN FOUNDERS 0n or about April                                                    19,   2021 that

                                                    they could no longer work for Volvo Cars, while they worked for                               AIDEN.

                                                                         b.           In     November          2020,     Pratik     Budhdev         0f    Defendant           VOLVO CAR
                                                    TECHNOLOGY FUND AB informed AIDEN FOUNDERS in various meetings that the AIDEN spin-
                                                    out     was formally unanimously approved and                         that    Volvo would unequivocally assign the Data
                      KOOOQQUI-hUJNH




                                                    Enablement Platform               intellectual property to         AIDEN      in order t0 foster      development 0f their product

                                                    for the   Android operating system, Which could only be used in Volvo vehicles because Volvo controlled

                                                    this    market supply.

                                                                         C.           In 0r about      December 2020, BudhdeV                also informed the        AIDEN FOUNDERS
                                                    that    Defendants        VOLVO CAR GROUP, VOLVO CAR TECHNOLOGY FUND                                                 AB,    VOLVO CAR
                                                    CORPORATION, VOLVO CARS TECHNOLOGY USA, would                                                  deliver t0    AIDEN,         the equipment,

                                                    ofﬁce space, technology and research and development project assistance for                                      AIDEN to        develop and

                                                    deploy Plaintiff’s Data Enablement Platform using Volvo vehicles t0 develop                                      sales,   once   AIDEN had
                                                    raised $500,000 in external investor funds.

                                                                         d.           These representations were                false   because these Defendants surreptitiously

                                                    intended at    all   times t0 convert           AIDEN’S     Intellectual Property for their           own   pecuniary beneﬁt, which

                                                    was demonstrated by                    the    following:    (1)    on or about April 20, 2021 when                         VOLVO CAR
                                                    TECHNOLOGY FUND’S                        legal counsel     informed    AIDEN         that the Services      Agreement would not be

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                                                    honored; (2) on 0r about June 30, 2021 Volvo Cars issued a press release that                               it   had developed software
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                                                    for the   Android operating system platform                   for   Volvo vehicles uncannily           like that    of AIDEN’s;       (3)   in


                                                    August 2021,         AIDEN was               informed of multiple commercializing projects using data sharing 0n the

                                                    Android platform           that   AIDEN had         essentially developed;           (4) In   August 2021,        AIDEN was        informed

                                                    by multiple Volvo employees                    that they   were ordered not         t0   work with AIDEN;           (5) In   August 2021,

                                                    IBROVIC and          MAKWANA send an email t0 about                          100 employees       at   Volvo cautioning them not             t0


                                                    share information with             AIDEN;         (6)   In August 2021,        IBROVIC         falsely informs her         employees that

                                                    there    were n0 contracts between                AIDEN     and Volvo and n0 Non-Disclosure Agreement entered; and

                                                    (7)     in or about       August 2021,           IBROVIC      falsely informs            AIDEN FOUNDER               Gyllenram      that she




                                                                                                                           19


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                                                    “doesn’t have one second t0 spend 0n                  AIDEN”,           despite the Services        Agreement expressly         stating that


                                                    R&D support would be provided to AIDEN by Volvo.
                                                             These representations were             false, as       Defendants’ intent the whole time was t0 secretly sabotage

                                                    AIDEN’S        efforts in order t0         usurp   AIDEN’S          intellectual property t0 secretly           develop       its   own   data


                      KOOOQQUI-hUJNH
                                                    enablement platform and             its   own business      relationships for Defendants              own pecuniary beneﬁts.

                                                             90.       And,   at the     time Defendants            made     these misrepresentations, they         knew       they were false,

                                                    and Defendants concealed             this   information With the intent that Plaintiff rely 0n the misrepresentations.

                                                             91.       At   the time 0f the Defendants’ concealments and misrepresentations, Plaintiff                                        was

                                                    ignorant of the true facts, including Defendants’ secret intention t0 develop                                  its   own     data enabling

                                                    platform using Plaintiff’s intellectual property.                         Plaintiff could not, in the exercise              0f reasonable

                                                    diligence,   have discovered these            acts   of fraud due t0 the Defendants’ concealments and in fact did not

                                                    realize the fraud until six           months    after the Acquisition             Agreements were signed, When Defendants

                                                    began   t0 obstruct Plaintiff’s attempts t0               deploy and       test its   Data Enabling Platform         in    Volvo    vehicles,

                                                    as   had been agreed. Based 0n Defendants’ representations and                             Plaintiff” s principals’   employment with

                                                    Volvo, which caused them              t0 repose trust in the truth             and accuracy 0f Plaintiff’s representations, and

                                                    that   Defendants would deal with Plaintiff in good                               faith,    Plaintiff reasonably relied             on these

                                                    representations. If Plaintiff had            known of the          actual intent of the Defendants, Plaintiff would not have

                                                    executed any 0f the Acquisition Agreements 0r expended                                      money and       resources to perform           its


NNNNNNNNNHHHHHHHHHH                                 obligations under these agreements,                all    of which were entered into           at   Defendants’ bequest.
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                                                             92.       Plaintiff   was harmed            in   an amount to be proven              at trial,   including but not limited to

                                                    being unlawfully deprived 0f the               fruits      of   their   money,     labor, resources,       and the inﬁnitely valuable

                                                    Intellectual Property they          had worked so hard             to create    and develop, in addition to          all   the beneﬁts and

                                                    bargained-for consideration to Which they were contractually entitled.

                                                             93.       Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the

                                                    contractual breaches and ultimate unilateral termination of the business relationship                                      would not have

                                                    occurred but for the unlawﬁll inducement described herein.

                                                             94.       AIDEN       is   also informed          and believes        that the    aforementioned conduct of Defendants,

                                                    and each of them, was carried out                        as part    of a deliberate and systematic scheme of wrongful


                                                                                                                              20

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                                                    misappropriation, conversion and misuse 0f                     AIDEN’S         intellectual property, products,        and Data

                                                    Enablement Platform. Such conduct was oppressive, fraudulent, and malicious, and subjected                               AIDEN
                                                    to cruel   and unjust hardship         in a willful   and conscious disregard 0f their           rights,   warranting exemplary

                                                    and punitive damages pursuant              to Civil   Code Section 3294,         for the reasons set forth herein      and for   at


                                                    least the following reasons:
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                                                                         a.        It   was done With     the purpose and intent 0f subj ecting         AIDEN t0 the foreseeable
                                                    risks   0f losing investment funds,         its   own monetary         investment and resources expended in developing

                                                    AIDEN       and hiring people and being prevented from consummating the business so                            that   AIDEN   and

                                                    its   investors could each enjoy the fruits 0f their personal gains through the establishment of business

                                                    relationships      and   sales,   Which Defendants usurped         for their    own   gains, as set forth above;

                                                                        b.         It   was done With     the purposeful and intentional design 0f putting Defendants’

                                                    own personal       interests      ahead 0f the   Plaintiff” s rights   and   interests, at the   expense 0f AIDEN’S rights t0

                                                    pursue    its   own business and realize         the fruits of its endeavors through the Acquisition            Agreements and

                                                    investor funding, sales and business relationships; and

                                                                         c.        It   was done With     the purpose and intent 0f converting, misappropriating and/or

                                                    misdirecting      AIDEN’S         intellectual property    and products, including the Data Enablement Platform,                 in


                                                    furtherance of a willful and conscious disregard of AIDEN and the Acquisition Agreements.

                                                                                                     SIXTH CAUSE OF ACTION
NNNNNNNNNHHHHHHHHHH                                                 INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
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                                                          (Against   VOLVO CAR GROUP; VOLVO CAR TECHNOLOGY USA LLC; ZENSEACT;
                                                               POLESTAR AUTOMOTIVE USA, 1NC.; HAKAN SAMUELSSON; ODGARD
                                                          ANDERSSON; HENRIK GREEN; MARIA HEMBERG; MATS MOBERG; SANELA
                                                           IBROVIC; PAR ARVIDSSON; BOBBYKIN MAKWANA, and Does 22 — 32, inclusive)
                                                               95.      Plaintiff repeats      and realleges each and every allegation above as                   if set forth in full


                                                    herein.   Wherever the incorporated           allegations conﬂict with the allegations of this cause 0f action, they

                                                    are alleged in the alternative.

                                                               96.      Defendants intentionally interfered with the Acquisition Agreements entered into

                                                    between     AIDEN         and Defendants         VOLVO CAR TECHNOLOGY FUND AB                                and   VOLVO CAR

                                                                                                                      21


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                                                    CORPORATION.
                                                             97.        Defendants     VOLVO CAR GROUP; VOLVO CAR TECHNOLOGY USA                                      LLC;

                                                    ZENSEACT; POLESTAR;                HAKAN SAMUELSSON; ODGARD ANDERSSON; HENRIK GREEN;
                                                    MARIA HEMBERG; MATS MOBERG; SANELA IBROVIC; PAR ARVIDSSON; BOBBYKIN

                      KOOOQQUI-hUJNH
                                                    MAKWANA, knew of the Acquisition Agreements and the Services Agreement.
                                                             98.        Defendants intentionally obstructed             AIDEN    from receiving the beneﬁts 0f the

                                                    Acquisition Agreements and the Services Agreement for Which                  AIDEN was expressly named as a third
                                                    party beneﬁciary,         When Defendant, HENRIK GREEN,                   fraudulently informed other Defendants,

                                                    including but not limited to        POLESTAR,        t0 cease   working with   AIDEN       and cease providing Volvo

                                                    vehicles for    AIDEN        to test   and deploy    its   Data Enablement Platform.           These aforementioned

                                                    Defendants, for their       own monetary       gains, induced   AIDEN to    develop and create intellectual property

                                                    at   AIDEN’S own         cost for Defendants’ ultimate beneﬁt, including        AIDEN’S development 0f the Data

                                                    Enablement Platform, which these Defendants collectively and secretly intended t0 usurp                   for their   own

                                                    beneﬁt and pecuniary gain.             Furthermore, these Defendants promised that they would foster the

                                                    development 0f AIDEN’S technology by providing ofﬁce space, Volvo vehicles with which                        t0 test   and

                                                    deploy   AIDEN’S         intellectual property   and the Data Enablement Platform these Defendants prevented

                                                    and obstructed from occurring as follows:

                                                                        a.       On   or about April 20, 2021          When   VOLVO    CARS’S     legal counsel informed

NNNNNNNNNHHHHHHHHHH                                 AIDEN that the       Services Agreement        would not be honored because      HENRIK GREEN had decided so;
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                                                                        b.       On   0r about June 30, 2021           Volvo Cars issued a press      release that   it    had

                                                    developed software for the Android operating system platform for Volvo vehicles uncannily like that

                                                    of AIDEN’s;

                                                                        c.       On   or about June 4, 2021, defendant        POLESTAR and other Volvo         subsidiaries

                                                    and afﬁliates   -   apropos 0f nothing     -
                                                                                                   suddenly informed      AIDEN    that they   would not be   interested in

                                                    working further with AIDEN. Inexplicably, demo sessions and discussions 0f integration 0f AIDEN’S

                                                    technology were cancelled without explanation, a subsequent                 demo   session scheduled for September

                                                    2,   2021 was also cancelled. Mr. Hjelm of POLESTAR informed Gyllenram by phone that                          DENNIS



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                                                    NOBELIUS,             the   COO     0f    POLESTAR, was          instructed   by   HENRIK GREEN             t0 cease dealing    With

                                                    AIDEN;

                                                                           d.          In    August 2021,      AIDEN was       informed 0f multiple commercializing projects

                                                    using data sharing on the Android platform that                   AIDEN had essentially developed;

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                                                                           e.          In    August 2021,      AIDEN was      informed by multiple Volvo employees that they

                                                    were ordered not            to   work With AIDEN;

                                                                           f.          In    August 2021,       IBROVIC and       MAKWANA          send an email t0 about 100

                                                    employees        at   Volvo cautioning them not             to share information With   AIDEN;

                                                                           g.          In    August 2021,      IBROVIC    falsely informs her     employees        that there   were n0

                                                    contracts    between         AIDEN and Volvo          and n0 Non—Disclosure Agreement entered; and                 (7) in 0r about

                                                    August 2021, IBROVIC                     falsely informs    AIDEN FOUNDER           Gyllenram      that she “doesn’t        have one

                                                    second t0 spend 0n AIDEN”, despite the Services Agreement expressly stating that R&D support would

                                                    be provided t0         AIDEN by Volvo.
                                                               99.         Based 0n the aforementioned conduct, these Defendants intended                              to   disrupt the

                                                    performance of the Acquisition Agreements.

                                                               100.        Plaintiff    was harmed       in    an amount to be proven     at trial,   including but not limited to

                                                    being unlawfully deprived of the                  fruits   of their money, labor, resources, and the inﬁnitely valuable

                                                    Intellectual Property they               had worked so hard      to create   and develop,   in addition t0 all the      beneﬁts and

NNNNNNNNNHHHHHHHHHH                                 bargained-for consideration to Which they were contractually entitled.
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                               101.        Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the

                                                    contractual breaches and ultimate unilateral termination 0f the business relationship                             would not have

                                                    occurred but for the unlawful inducement described herein.

                                                               102.        AIDEN        is   informed and believes that the aforementioned conduct of Defendants and

                                                    each 0f them, was carried out as part 0f a deliberate and systematic scheme 0f wrongful

                                                    misappropriation, conversion and misuse of                        AIDEN’S       intellectual property, products,          and Data

                                                    Enablement Platform.                Such conduct was oppressive, fraudulent, and malicious, and subj ected AIDEN

                                                    t0 cruel   and unjust hardship              in a willful   and conscious disregard of their       rights,   warranting exemplary




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                                                    and punitive damages pursuant              t0 Civil   Code Section 3294,         for the reasons set forth herein    and for   at


                                                    least the following reasons:


                                                                         a.        It   was done with     the purpose and intent of subj ecting         AIDEN t0 the foreseeable
                                                    risks   of losing investment funds,         its   own monetary         investment and resources expended in developing


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                                                    AIDEN      and hiring people and being prevented from consummating the business so                           that   AIDEN    and

                                                    its   investors could each enjoy the fruits 0f their personal gains through the establishment 0f business

                                                    relationships      and   sales,   which Defendants usurped         for their     own   gains, as set forth above;

                                                                         b.        It   was done with     the purposeful and intentional design 0f putting Defendants’

                                                    own personal       interests      ahead 0f the   Plaintiff” s rights   and   interests, at the   expense 0f AIDEN’S rights t0

                                                    pursue    its   own business and realize         the fruits of its endeavors through the Acquisition         Agreements and

                                                    investor funding, sales and business relationships; and

                                                                         c.        It   was done With     the purpose and intent 0f converting, misappropriating and/or

                                                    misdirecting      AIDEN’S         intellectual property    and products, including the Data Enablement Platform,               in


                                                    furtherance 0f a willful and conscious disregard 0f AIDEN and the Acquisition Agreements.

                                                                                                SEVENTH CAUSE OF ACTION
                                                            NEGLIGENT INTERFERENCE WITH PROSPECTIVE ECONOMIC RELATIONS
                                                          (Against Defendants            VOLVO CAR GROUP; VOLVO CAR TECHNOLOGY USA LLC;
                                                     ZENSEACT; POLESTAR AUTOMOTIVE USA, INC.; HAKAN SAMUELSSON; (")DGARD
NNNNNNNNNHHHHHHHHHH
                                                          ANDERSSON; HENRIK GREEN; MARIA HEMBERG; MATS MOBERG; SANELA
                      OOQONM-bUJNHOKOOOQONmAmNt—O




                                                           IBROVIC; PAR ARVIDSSON; BOBBYKIN MAKWANA, and Does 22 — 32, inclusive)
                                                              103.      Plaintiff repeats      and realleges each and every allegation above as                if set forth in full


                                                    herein.   Wherever the incorporated           allegations conﬂict With the allegations of this cause of action, they

                                                    are alleged in the alternative.

                                                              104.      Defendants        VOLVO CAR GROUP; VOLVO CAR TECHNOLOGY USA                                            LLC;

                                                    ZENSEACT; POLESTAR;                     HAKAN SAMUELSSON;                        ODGARD ANDERSSON;                   HENRIK
                                                    GREEN;           MARIA HEMBERG; MATS MOBERG; SANELA IBROVIC; PAR ARVIDSSON;
                                                    BOBBYKIN MAKWANA,                        negligently      interfered      with     AIDEN’S economic         relationship    with

                                                    Defendants       VOLVO CAR TECHNOLOGY FUND AB                                and   VOLVO CAR CORPORATION,                  as set


                                                                                                                      24

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                                                    forth in the Acquisition     Agreements above.

                                                            105.       Defendants knew or should have known that the economic relationship between

                                                    Plaintiff,    on the one hand, and Defendant           VOLVO CAR TECHNOLOGY FUND                             AB, 0n      the other

                                                    hand, would be disrupted if Defendants failed to act With reasonable care With respect t0 the obligations


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                                                    set forth in the Acquisition      Agreements by negligently          interfering with the Acquisition         when Defendant

                                                    HENRIK GREEN,           fraudulently informed other Defendants, including but not limited t0                       POLESTAR,
                                                    to cease     working With   AIDEN        and cease providing Volvo vehicles for              AIDEN       t0 test   and deploy   its


                                                    Data Enablement Platform. These aforementioned Defendants, for                       their   own monetary gains,          failed to


                                                    exercise reasonable care in inducing           AIDEN     t0   develop and create intellectual property              at   AIDEN’S

                                                    own   cost for Defendants’ ultimate beneﬁt, including                AIDEN’S development 0f the Data Enablement

                                                    Platform, which these Defendants obtained a monetary beneﬁt. Furthermore, these Defendants                                   owed

                                                    AIDEN        a duty to foster the development 0f         AIDEN’S technology by             providing ofﬁce space, Volvo

                                                    vehicles with      which   to test     and deploy AIDEN’S            intellectual property       and the Data Enablement

                                                    Platform these Defendants prevented and obstructed from occurring.

                                                            106.       The economic        relationship   between   Plaintiff,   0n the one hand, and Defendants             VOLVO
                                                    CAR TECHNOLOGY FUND AB                         and    VOLVO CAR CORPORATION                        was disrupted such         that


                                                    AIDEN did not receive any of the contracted beneﬁts                  of the Acquisition Agreements, and             AIDEN was
                                                    substantially    harmed by Defendants’         actions in an    amount    t0   be proven     at trial.


NNNNNNNNNHHHHHHHHHH                                                                            EIGHTH CAUSE OF ACTION
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                                                                                      VIOLATION OF THE CARTWRIGHT ACT
                                                                                  (Against All Defendants and Does 1 — 50, inclusive)

                                                            107.       Plaintiff re-alleges     and incorporates by reference each and every paragraph above, as

                                                    though fully     set forth in full.


                                                            108.       The Cartwright Act (Business           &     Professions     Code §16700,         et seq.) is the      primary

                                                    California state antitrust law prohibiting anti-competitive activity.                   It    provides, in part, that every

                                                    contract, combination in the          form of trust 0r otherwise, 0r conspiracy,        in restraint     0f trade 0r commerce

                                                    among   the several States, or with foreign nations,           is   declared to be   illegal.


                                                            109.       Plaintiff is   informed and believes that Defendants                 VOLVO CAR GROUP AND

                                                                                                                    25


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                                                    POLESTAR have the only vehicles in the automotive industry running a full Android operating system.
                                                    Thus, Defendants control the production and supply 0f such vehicles in the global automotive market.

                                                    The agreed-upon purpose behind                    the creation 0f AIDEN         was   for   AIDEN to    quickly develop, produce

                                                    and ready for immediate introduction                  in the marketplace       AIDEN’S Data Enablement Platform because

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                                                    AIDEN had          an 18-month lead ahead of anyone else in the automotive industry for                        its   Android-based

                                                    product. Defendants led             AIDEN to reasonably believe that Defendants would provide the agreed-upon
                                                    equipment, technology services, research and development support,                                      ofﬁce space and testing

                                                    environment in good              faith   and   in fulﬁllment    of its contractual and ethical duties, particularly given the

                                                    unanimous Board of Director approval                    for   AIDEN’S       creation and spin-out in    November 2020, and the

                                                    subsequently negotiated Acquisition Agreements and Services Agreement.

                                                             110.        However, because Defendants control the production and supply 0f all vehicles running

                                                    0n a full Android operating system, Defendants were able t0 manipulate AIDEN into creating                                   its   unique

                                                    and innovative Data Enablement Platform speciﬁcally                           for Defendants’ beneﬁt, thereby creating their


                                                    own monopoly         0f this technology and Intellectual Property When they misappropriated                          it   for their   own

                                                    use and usurped Plaintiff’s bargained-for opportunities, in restraint 0f AIDEN’S ability t0 conduct any

                                                    trade, business 0r interstate             commerce.

                                                             111.        Plaintiff is        informed and believes and thereon alleges that Defendants, by and through

                                                    their ofﬁcers, directors,            employees, agents, or other representatives and their co-conspirators have

NNNNNNNNNHHHHHHHHHH                                 stolen their Intellectual Property                and technology, particularly        Plaintiff” s   Data Enabling Platform, and
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                                                    unlawfully obstructed Plaintiff’s use 0f Defendants’ equipment, ofﬁce space and ability t0 test                                         its


                                                    products in order to solicit third parties and enter into business relationships with these third parties

                                                    using Plaintiff” s technology and products. In doing so, Defendants unlawfully obstructed and restrained

                                                    Plaintiff” s ability to      engage in         fair trade   and perform under the Acquisition Agreements and otherwise

                                                    realize the fruits        0f their blood, sweat and          tears.   Defendants’ conduct violates Business           & Professions
                                                    Code §16700,        ez‘   seq.

                                                             1   12.     Because Defendants unfairly and illegally prevented AIDEN from receiving the beneﬁts

                                                    of the Acquisition Agreements, there has been and will be a substantial effect on AIDEN’S                                     ability to


                                                    conduct interstate commerce in that Defendants Will continue t0 collectively obstruct                                     AIDEN       from


                                                                                                                           26

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                                                    being able t0 develop   its       Intellectual Property    and product technology, through Defendants’ continued

                                                    efforts t0 prevent   AIDEN         from   testing   equipment and developing      its   products, and otherwise ceasing

                                                    their business relationship in furtherance            0f their restraint 0f AIDEN’S pursuit 0f livelihood.

                                                            113.     Plaintiff    was harmed, and Defendants threaten                t0 further    harm   the public interest,

                                                    including Plaintiff’s interest, and Defendants continue to be an unreasonable restraint of trade that                     is
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                                                    unlawful under the Cartwright Act.

                                                            114.     Plaintiff is entitled t0 recover        its   costs and reasonable attorneys’ fees incurred herein, as

                                                    the Cartwright   Act contains a        unilateral fee-shifting provision that allows         an award 0f attorney fees to

                                                    a prevailing plaintiff but not to a prevailing defendant. (§              16750(a).) Plaintiff is further entitled t0 an

                                                    injunction barring Defendants from further interruption 0f Plaintiff’s business interests and preventing

                                                    and restraining Defendants from engaging               in the Violations alleged herein as well as similar conduct in


                                                    the future.

                                                            115.     Plaintiff   was harmed        in    an amount to be proven      at trial,   including but not limited to

                                                    being unlawfully deprived 0f the            fruits   0f their money, labor, resources, and the inﬁnitely valuable

                                                    Intellectual Property they        had worked s0 hard       to create   and develop,   in addition t0 all the    beneﬁts and

                                                    bargained-for consideration to Which they were contractually entitled.

                                                            116.     Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the

                                                    contractual breaches and ultimate unilateral termination of the business relationship                    would not have

NNNNNNNNNHHHHHHHHHH                                 occurred but for the unlawful inducement described herein.
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                                                            117.     AIDEN       is   informed and believes that the aforementioned conduct 0f Defendants, and

                                                    each 0f them, was carried out as part 0f a deliberate and systematic scheme of wrongful

                                                    misappropriation, conversion and misuse of                     AIDEN’S    intellectual property, products,        and Data

                                                    Enablement Platform in an unfair and illegal restraint 0f their ability to conduct business and commerce.

                                                    Such conduct was oppressive, fraudulent, and malicious, and                  subj ected the   AIDEN to   cruel   and unjust

                                                    hardship in a willful and conscious disregard of their rights, warranting exemplary and punitive

                                                    damages pursuant     t0 Civil        Code Section 3294,         for the reasons set forth herein      and for   at least the


                                                    following reasons:




                                                                                                                      27

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                                                                            a.       It   was done With         the purpose and intent 0f subj ecting        AIDEN t0 the foreseeable
                                                    risks   0f losing investment funds,             its   own monetary        investment and resources expended in developing

                                                    AIDEN       and hiring people and being prevented from consummating the business so                                  that   AIDEN   and

                                                    its   investors could each enjoy the fruits 0f their personal gains through the establishment 0f business


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                                                    relationships         and   sales,   Which Defendants usurped          for their     own   gains, as set forth above;

                                                                           b.        It   was done with         the purposeful and intentional design 0f putting Defendants’

                                                    own personal interests ahead 0f the Plaintiff” s rights and interests,                      at the   expense 0f the AIDEN’S rights

                                                    t0    pursue   its   own business,       conduct interstate commerce and realize the                 fruits   of its endeavors through

                                                    the Acquisition         Agreements and investor funding,               sales      and the development of business relationships;

                                                    and

                                                                            c.       It   was done with         the purpose and intent 0f restraining and obstructing             AIDEN’S

                                                    pursuit 0f      its   business and interstate          commerce by Defendants’              converting, misappropriating and/or

                                                    misdirecting          AIDEN’S        intellectual property      and products, including the Data Enablement Platform,                in


                                                    furtherance of a willful and conscious disregard 0f                               AIDEN    and the Acquisition Agreements             in

                                                    Defendants’ pursuit 0f their              own business        relationships.

                                                                                                     NINTH CAUSE OF ACTION
                                                                                                                   CONVERSION
                                                                                          (Against All Defendants and Does 1-50, inclusive)

NNNNNNNNNHHHHHHHHHH                                            118.        Plaintiff realleges      and incorporates by reference              all   of the allegations contained in the
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                                                    preceding paragraphs 0f the Complaint as though fully set forth herein.

                                                               119.        Plaintiff is       and   at    all    times herein mentioned was,               the    rightful   owner of    all


                                                    misappropriated intellectual property rights and assets as described herein, including the Data Enabling

                                                    Platform, which Defendants unlawfully misappropriated and secretly converted t0 create their                                   own data

                                                    enabling platform after inducing                AIDEN to        develop     its   own products and then        stealing the intellectual


                                                    property developed by                 AIDEN     for their unlawful use through their                  own      platform,    which these

                                                    Defendants used to develop their                own business        relationships for their        own pecuniary beneﬁt.

                                                               120.        Defendants intentionally, knowingly and substantially interfered with Plaintiff’s rights

                                                    to their   own intellectual property and products by engaging in the misappropriation and tortious conduct

                                                                                                                           28

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                                                    described herein and in creating Defendants’                     own    business relationships from Plaintiff’s intellectual

                                                    property and Data Enabling Platform.

                                                               121.     Plaintiff       was harmed      in   an amount to be proven           at trial,   including but not limited t0

                                                    being unlawfully deprived 0f the               fruits     of   their   money,   labor, resources,       and the inﬁnitely valuable

                                                    Intellectual Property they             had worked so hard        to create   and develop,     in addition t0 all the       beneﬁts and
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                                                    bargained-for consideration t0 Which they were contractually entitled.

                                                               122.     Defendants’ conduct was a substantial factor in causing Plaintiff’s harm because the

                                                    contractual breaches and ultimate unilateral termination of the business relationship                                would not have

                                                    occurred but for the unlawful inducement described herein.

                                                               123.     AIDEN         is   informed and believes that the aforementioned conduct of Defendants and

                                                    each 0f them, was carried out as part 0f a deliberate and systematic scheme of wrongful

                                                    misappropriation, conversion and misuse 0f                         AIDEN’S        intellectual property, products,           and Data

                                                    Enablement Platform.              Such conduct was oppressive, fraudulent, and malicious, and subj ected AIDEN

                                                    t0 cruel   and unjust hardship           in a willful    and conscious disregard 0f their             rights,   warranting exemplary

                                                    and punitive damages pursuant               t0 Civil     Code Section 3294,         for the reasons set forth herein         and for   at


                                                    least the following reasons:


                                                                         a.        It   was done With        the purpose and intent of subj ecting           AIDEN t0 the foreseeable
                                                    risks   of losing investment funds,           its   own monetary         investment and resources expended in developing

NNNNNNNNNHHHHHHHHHH                                 AIDEN      and hiring people and being prevented from consummating the business so                                  that   AIDEN   and
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                                                    its   investors could each enjoy the fruits 0f their personal gains through the establishment of business

                                                    relationships      and   sales,   Which Defendants usurped              for their   own   gains, as set forth above;

                                                                        b.         It   was done with        the purposeful and intentional design 0f putting Defendants’

                                                    own personal       interests      ahead 0f the   Plaintiff” s rights     and    interests, at the   expense 0f AIDEN’S rights t0

                                                    pursue    its   own business and realize         the fruits of its endeavors through the Acquisition                 Agreements and

                                                    investor funding, sales and business relationships; and

                                                                        c.         It   was done With        the purpose and intent 0f converting, misappropriating and/or

                                                    misdirecting      AIDEN’S         intellectual property        and products, including the Data Enablement Platform,                   in


                                                    furtherance of a willful and conscious disregard of AIDEN and the Acquisition Agreements.


                                                                                                                            29

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                                                                                                    TENTH CAUSE OF ACTION
                                                                                  MISAPPROPRIATION OF INTELLECTUAL PROPERTY
                                                                                        (Against All Defendants and Does 1-50, inclusive)

                                                                124.         Plaintiff realleges   and incorporates by reference         all   of the allegations contained in the

                                                    preceding paragraphs 0f the Complaint as though fully set forth herein.
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                                                                125.         AIDEN, by     Virtue 0f having     been assigned the        Intellectual Property set forth in the


                                                    Patent Assignment Agreement (Exhibit                  5),   was     the rightful   owner 0f the “Automotive Data Sharing

                                                    Platform.”

                                                                126.         By   Virtue of the conduct set forth above, Defendants have willfully                    and Without

                                                    authorization converted and usurped               AIDEN’S         Intellectual Property set forth in the Patent   Assignment

                                                    Agreement          for   commercial purposes and for        its   own monetary beneﬁt to AIDEN’S          detriment.

                                                                127.         Defendants’ unauthorized conversion and usurping 0f                  AIDEN’S    Intellectual Property


                                                    constitutes    commercial misappropriation in Violation of Sections 3426 and 3344 0f the California Civil

                                                    Code.

                                                                128.         As   a direct, legal and proximate result of Defendants’ conduct, Plaintiff has suffered,

                                                    and Will continue             to suffer substantial general   and special damages, including but not limited            t0, loss


                                                    of reputation and business relationships and loss 0f proﬁts in an amount according to proof at the time

                                                    of trial.

NNNNNNNNNHHHHHHHHHH                                             129.         Defendants have further been unjustly enriched by their misappropriation 0f AIDEN’S
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                                                    Intellectual Property. Accordingly,             AIDEN is also entitled to restitution of all income, proﬁts, and other
                                                    beneﬁts resulting from Defendants’ conduct, in an amount t0 be determined according t0 proof at                           trial.




                                                                130.         AIDEN is informed and believes that the aforementioned conduct 0f Defendants and each
                                                    of them, was carried out as part 0f a deliberate and systematic scheme 0f wrongful misappropriation,

                                                    conversion and misuse 0f               AIDEN’S     intellectual property, products,           and Data Enablement Platform.

                                                    Such conduct was oppressive, fraudulent, and malicious, and subjected                             AIDEN    t0 cruel   and unjust

                                                    hardship in a willful and conscious disregard 0f their rights, warranting exemplary and punitive damages

                                                    pursuant t0 Civil Code Section 3294, for the reasons set forth herein and for at least the following

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                                                                                                         VERIFIED COMPLAINT
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                                                                      a.          It    was done With the purpose and              intent   0f subjecting    AIDEN t0      the foreseeable

                                                    risks   of losing investment funds,            its    own monetary          investment and resources expended in developing

                                                    AIDEN and hiring people               and being prevented from consummating the business so                     that   AIDEN and its
                                                    investors could each enjoy the fruits 0f their personal gains through the establishment 0f business


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                                                    relationships    and   sales,   Which Defendants usurped                for their   own   gains, as set forth above;

                                                                      b.          It    was done with the purposeful and intentional design ofputting Defendants’ own

                                                    personal interests ahead 0f the Plaintiff” s rights and interests, at the expense                      ofAIDEN’s rights t0 pursue

                                                    its   own business and realize the           fruits   0f its endeavors through the Acquisition Agreements and investor

                                                    funding, sales and business relationships; and

                                                                      c.          It    was done With          the purpose and intent 0f converting, misappropriating and/or

                                                    misdirecting     AIDEN’S        intellectual property          and products, including the Data Enablement Platform,                in


                                                    furtherance 0f a willful and conscious disregard 0f AIDEN and the Acquisition Agreements.

                                                                                                 ELEVENTH CAUSE OF ACTION
                                                                                  PRELIMINARY AND PERMANENT INJUNCTION
                                                                                        (Against All Defendants and Does 1-50, inclusive)

                                                              131.    Plaintiff realleges          and incorporates by reference              all   of the allegations contained in the

                                                    preceding paragraphs of the Complaint as though fully set forth herein.

                                                              132.    The wrongful conduct of Defendants                           in   misappropriating Plaintiff s Intellectual

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                                                    Property, including the Data Enablement Platform, and creating their                                    own   platform using that
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                                                    technology for their      own commercial               purposes, will continue to cause great and irreparable injury to

                                                    AIDEN,      not only because           it   has damaged        AIDEN        to the tune   0f several million dollars — and has

                                                    deprived AIDEN’S current and future investors 0f their bargained-for opportunities Which has cost them

                                                    several million dollars         -   but because       it   destroys   AIDEN’S very purpose and           reason for existence.    As

                                                    such, irreparable      harm     Will necessarily occur if such conduct               0n the part of Defendants      is   permitted t0

                                                    continue.

                                                              133.    Accordingly, Plaintiff petitions this Court t0 issue temporary, preliminary, and

                                                    permanent injunctive       relief against       Defendants forever enjoining such conduct.

                                                    //




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                                                                                                                          PRAYER FOR RELIEF
                                                                                     WHEREFORE, Plaintiff prays for judgment against Defendants,                       as follows:

                                                                                     1.       For the   First,   Second, Third, Fourth, Fifth, Sixth, Eighth, Ninth and Tenth Causes 0f

                                                                           Action:        general damages, special damages, compensatory damages, and consequential damages,

                                        \OOOQONUl-RUJNr—k




                                                                           according to proof at      trial;


                                                                                     2.       For the Third, Fourth,      Fifth, Sixth, Eighth,       Ninth and Tenth Causes 0f Action, and each

                                                                           of them: punitive damages, according t0 proof at               trial;   For the Eighth Cause of Action:

                                                                                              (a)       The Court adjudge and decree               that Defendants’   conduct constitutes an    illegal


                                                                                                        restraint   of trade and commerce in Violation of the Cartwright Act;

                                                                                              (b)       The Court adjudge and decree               that Defendants’   agreement and conspiracy      t0


                                                                                                        interfere with Plaintiff’s business constitutes          an   illegal restraint   0f trade and

                                                                                                        commerce      in Violation   0f the Cartwright Act;

                                                                                              (c)       that   Defendants be permanently enjoined and restrained from establishing any

                                                                                                        similar agreement unreasonably restricting Plaintiff             from establishing business

                                                                                                        relationships as contemplated in the Acquisition Agreements; and,


                                                                                              (d)       Plaintiff be   awarded statutory damages and attorney’s           fees.
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                                                                                     3.       For the Eleventh Cause of Action: For an immediate preliminary and permanent

                                                                           injunction forever enjoining the use 0f Plaintiff” s Intellectual Property, including the Data Enablement

                                                                           Platform, for any purpose.
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                                                                                                                    AS TO ALL CAUSES OF ACTION
                                                                                     4.       For costs of suit herein;

                                                                                     5.       For such other and further      relief as the     Court deems necessary.

                                                                           Dated:     October   15,   2021                           K&L LAW GROUP, P.C.



                                                                                                                                     Attorneys for Plaintiff AI        N AUTOMOTIVE
                                                                                                                                     TECHNOLOGIES,           INC.




                                                                                                                                           32

                                                                                                                             VERIFIED COMPLAINT
                                                               STATE OF CALIFORNIA
                                                               COUNTY OF SANTA CLARA
                                                                      I,    SYED SAIFULLAH,
                                                                                                                            W
                                                                       Case 5:22-cv-00390 Document 1-1 Filed 01/20/22 Page 42 of 127




                                                                                                             have read the foregoing              VERIFIED COMPLAINT              and lmowits
                                                                contents.
                                  \OOONQUIAUJND—I




                                                                           D         Iam a party to this action. The matters stated in the foregoing document are tlue of my
                                                                                     own knowledge except as to those matters which are stated on information and belief,
                                                                                     and as to those matters         I   believe them to be true.


                                                                           E         Iam E an Oﬁ'lcer D a partner of AIDEN AUTOMOTIVE TECHNOLOGIES,
                                                                                     INC, a Delaware corporation, a party to this action, and am authorized to make this
                                                                                     veriﬁcation for and on          its   behalf,   and    I   make this veriﬁcation   for that reason.


                                                                                      D           Iam informed      and believe, and on that ground allege that the matters stated in
                                                                                                  the foregoing document are tme.


                                                                                      D           The matters    stated in the foregoing document are true of my own knowledge
                                                                                                      except as to those matters which are stated on information and belief, and as to
                                                                                                      those matters Ibelieve them to be true.


                                                                           U          Iam one          of the attorneys for                                       a party to this action. Such
                                                                                         party   isabsent from the county of aforesaid where such attorneys have their ofﬁces,
                                                                                         and I   make this ven'ﬁcation for and on behalf of that paIty for that reason. I am
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                                                                                         informed and believe, and on that ground allege that the matters stated in the foregoing
                                                                                         document are true.

                                                                                                15 2021,
                                                                           Executed on October __,                         at                             California.
                                  OOQQUI-bWNHOWOOQQUI-AWN—‘O




                                                                           I   declare under penalty of perjury under the laws of the State of California that the foregoing                     is

                                                               true   and      correct.




                                                               SYED SAIFULLAH                                                               “Q“            =\é’*€r—u’ﬂ.

                                                               Type or Print Name                                                          Signature




                                                                                                                                       33


                                                                                                                           VERIFIED    COMPLAmT
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      EXHIBIT 1
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                                                Thursday, March 11, 2021 at 01:12:59 Central European Standard Time



    Subject:            The   Facts Surrounding Project Aiden

    Date:               Thursday, 11 March 2021 at 01:11:50 Central European Standard Time

    From:               Millien,   Raymond
    To:                 Hemberg, Maria
    BCC:                Andersson,   Emma    (PX), Lai,   Sharon   (A),   Budhdev,   Pratik, Arvidsson,   P‘cir


    Attachments: Exh A.pdf, Exh B.pdf


Maria,


|   think categorizing the Project Aiden transaction as something “fishy” going on in Silicon Valley
mixes apples and oranges. This has nothing to do with HG’s “clean up” of the SV office. To the
contrary, at all times, all the relevant stakeholders in VCTF, Tax, PX, and R&D were fully aware
of the transaction and its details, and were fully supportive of it as a “pilot” exercise. The conduct
of the VCTF has been fully transparent, ethical, and above board.


To be more            clear, the   facts are as follows:

          1.     On   or about 18     Aug 2020,      the   first                  is held with Odgﬁrd
                                                                   meeting about Project Aiden
                Andersson, Patrik Bengtsson, Sanela         lbrovic, Bobbykin Makwana and the three
                Aiden Co-Founders: Syed Mubeen Saifullah, Niclas Gyllenram, and Jonas Fenn. It
                was suggested that Niclas follow up with Martin Kristensson to solicit feedback on the
                idea of a spin-out and if this makes sense.

          2.    On 24 Sep. 2020, the VCTF Board decided in a meeting that if R&D approved any spin-
                outs that VCTF could potentially invest and instructed Ray to find a way to make it work
                under the existing VCTF and VCC legal structures and corporate policies.

          3.    On or about Sep 25, 2020, a follow-up meeting took place with Patrik Bengtsson,__Martin
                Kristensson, Jonas Ronnkvist, Sanela lbrovic, Bobbykin Makwana, Odgﬁrd
                Andersson, Alena Lshkova, and Aiden Co-Founders. It was concluded that VCTF
                should investigate a spin-out so other OEMs would adopt the tech and if/how VCTech in
                Sunnyvale can conduct an internal PoC of the idea.

          4.    On 1 Oct. 2020, Ray had a meeting with Monika Almen (Global Tax Director) and Johan

                Jedeur-Palmgren (PX Géteborg, Global Comp & Benefits) and got approval to move
                forward with the Aiden transaction as proposed                when R&D approved.

          5.    On    2 Oct. 2020, Ray had a meeting with Allyse Scelfo (PX, Total Rewards, Volvo Cars
                USA) and    got approval to move forward with the transaction if R&D approved.

          6.    On 2 Oct. 2020, Ray followed up his meeting with Allyse, summarized their conversation
                and shared the written opinion from outside California Employment Counsel (Reed Smith
                LLP) raising no ”red flags” about the proposed transaction.

          7.    On    5 Oct. 2020, Allyse confirmed          in    an email that she saw no issues with the proposed
                transaction.


          8.    On 7 Oct. 2020, Ray asked the VCTF to formally approve the proposed transaction where
                the three Aiden foupders would keep their “day jobs.” This was done via an email to:
                Joakim Alpsten Odgérd Andersson, Pér Arvidsson, Maria Hemberg, Mérten
                Levenstam, and Mats Moberg. See Exhibit A.

          9.      On 8 Oct. 2020, Pér Arvidsson and Bobbykin had a discussion where Bobbykin
                expressed concerns about the timing of a spin-out. From his perspective, it would have
                made more sense to spend some additional time (e.g., 1-3 months) to create a proof of
                concept before spinning this out.

          10.   On    or about 21 Oct 2020, Patrik           Bengtsson         (VP,   SW)   sent an email to Mats   Moberg

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             informing him that both his and BobbyRin MakWana rebommend spinning project Aideﬁ
             out of Volvo as there were no resources available with the right capabilities and
             experience to perform a PoC study Mats Moberg replied and agreed.

       11.   On   or about 22 Oct. 2020,                    Bobbykin informed Niclas      of the decision from    Mats Moberg
             to spin out Aiden.


       12.    On 28             Par Arvidsson informed the VCTF Board that after discussions with
                            Oct. 2020,
             R&D       it   was concluded
                                    that there were no resources available with the right capabilities
             and experience to perform a PoC study, and Mats, Patrik Bengtsson and Bobbykin
             agreed the spin-out as Ray proposed was the best way forward.

       13.    On 29 Oct. 2020, Pér Arvidsson as the chair of the VCTF Board                                      tallied   all   the
             (unanimous) votes and gave Ray permission to move forward via email.

       14.     On      Nov. 4, 2020, after the email vote, Daniel Karlson (Legal Counsel for VCTF)
             prepared      official board minutes to conﬁrm the email vote to approve the transaction.


       15.   On       12 Nov 2020,          VCTF and         Aiden signed the Term Sheet. (Niclas then made Bobbykin
             aware of this during his regular 1:1 meeting. And, since then, Niclas has continuously
             kept Bobbykin updated of Aiden’s progress in their regular 1:1 meetings which are
             scheduled bi-weekly.

       16.    From 4 Nov. 2020 to 22 Dec. 2020, each board member (Joakim Alpsten Gdgérd
             Andersson, Par Arvidsson, Maria Hemberg, Mérten Levenstam, and Mats Moberg)
             signed the official meeting minutes as shown in Exhibit B approving the transaction.

       17.   On 8 Jan 2021, Niclas and Bobbykin have a 1:1. Niclas explained that Aiden has raised
             the required funds and will initiate work. Niclas updates Bobbykin on the work that three
             Aiden Co—Founders have been doing. During this meeting Bobbykin expressed concern
             that he would have to back-fill positions for the founders. Niclas proposed a 5-month lead
             time before any Aiden Co-Founder would departs Volvo Cars. Bobbykin agreed.

Given the above, VCC at all times concluded the Aiden idea was not something we were not
willing tofund and pursue. By agreeing to the spin-out we also waived any conflict-of—interests
claims against the founders. Thus, not honoring our agreement with Aiden at this point obviously
raises significant legal risks for VCTech, VCTF and VCC.


|personally think the ”noise” surrounding this transaction is the result of certain parties never
expecting the VCTF to figure out how to do this transaction and never expecting that the three
founders would be successful in raising US$750k based on a single patent application filed by
the    VCC     IP Dept.


l   am happy to             discuss this      live   with   anyone who     feels otherwise.

Kind regards      /   Med    vénlig hélsning /   iﬁﬁ‘ﬁmﬁ

ﬁymond         Millien
Chief IP Officer       & MD      of Volvo   Cars Tech Fund
VOLVO CAR GROUP
+46.72.888.8687




From: Maria Hemberg <maria.hemberg@volvocars.com>
Date: Wednesday, 10 March 2021 at 20:35
To:    Raymond          Millien     <raymond.millien@volvocars.com>
Subject: Fwd:               NG

|   really   need your support to get the               fact right here.



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      EXHIBIT 2
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                                                                                                                    VOLVO
                                                                                                                                      Raymond   Millien
                                                                                                                                    Managing Director
                                                                                                                                    +46.72.888.8687
                                                                                                                        raymond.mi||ien@vo|vocars.com




                                                            SPIN-OUT TERM SHEET

             This Term Sheet is intended               for discussion   purposes only and causes no obligation of any party                         to
             enter into any transaction.


                                                                   BACKGROUND

                    A.     The Founders  (defined below), as employees of Volvo Cars Technology USA LLC (“VC Tech”),
                           have invented an automotive data sharing platform known as “Project AIDEN” as described in
                           Exhibit A.


                    B.     It   was agreed by    the   management of VC Tech and that of its corporate parent Volvo Cars
                           Corp. (“VCC”), that Project      AIDEN was not within the current technology roadmap of the
                           company and        that there are   no existing resources available with the             right capabilities          and
                           experience to perform a proof of concept study on the relevant technology.


                    C.     VC  Tech and VCC have agreed to allow the employees to spin out Project AIDEN into a new
                           star‘tupcompany, with Volvo Cars Technology Fund AB — its corporate venture capital arm —
                           holding a minority share of such startup company and entering into agreements in relation
                           thereto, all on the principle terms and conditions as summarized herein.




              Entity:                             A    newa-formed, USA—based company (“NewCo”).

              Parties:                            o     Volvo Car Technology Fund          AB   (“VCTF”)

                                                  o     Current Volvo Cars    US R&D Center employees Syed Mubeen                       Saifullah,
                                                        Niclas Gyllenram, and Jonas         Fenn   (collectively,   “Founders”)

              Transaction:                        The   outline of this transaction   is   attached as Exhibit      B

              NewCo                               Research, develop,      and commercialize the Automotive Intelligent Data
                                                                          test,
              Purpose/OperationSI                 Enablement SaaS (“Project AIDEN”) intellectual property developed by
                                                  Founders during their employment.




             VOLVO CAR TECHNOLOGY FUND AB
             SE-405 31 Géteborg
             Sweden
             volvocars.com

             Registered Office Géteborg   I
                                            Sweden
             Registration No.     556887-5760
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                 Agreements:                           o        Formation and investor documents                      for   NewCo.
                                                       o        Service Agreement between             VCTF and NewCo for providing                        incubations
                                                                services for one year, to include:
                                                                o    Office    Space and Desk Area
                                                                o   After—hours big and mini              rig   access
                                                                o   After—hours car access
                                                                o    IT-related services


                 Founder’s                                 1.    Raise no less than US$500,000                   in   capital     from additional third-party
                 ObligatiONSi1                                   investors identified      and closed by Founders (“Investors”) (with VCTF
                                                                approval) within         120 days of execution of this Term Sheet (the “Initial
                                                                 Capitalization”)
                                                        2.       Completion and delivery to VCTF of an acceptable business plan
                                                        3.       Promote and found NewCo
                                                        4.       Only “after—hours” work at NewCo
                                                        5.       Grant of Tag-along/drag-along rights                       to   VCTF

                 VCTF       Obligations                 1.      Produce       first   draft of definitive         agreements             for   NewCo’s lawyers          to
                 Post      Initial
                                                                review
                 cap'tal'zat'on:
                                                       2.       Assign    US     Prov. Patent entitled “Automotive Data Sharing Platform,”
                                                                Atty.   Docket No. P2896USOO,                   filed   on 14 Aug. 2020           (the “Provisional
                                                                Patent Application”) to ”seed”              NewCo
                                                        3.      Assign   AIDEN and SIGNALHUB   trademarks, logos and domain names
                                                       4.       Procure the release from the IP provisions of Founder’s employment
                                                                agreements
                                                       5.       Procure the continued           at-will   employment              of Foundersz
                                                       6.       Performance of Service Agreement

                 NewCo        Obligations:              1.      Granting of Board observer rights to VCTF3.                         If   NewCo    is   unable to meet
                                                                any  of theFounders Obligations or NewCo Obligations (other than Initial
                                                                Capitalization) then VCTF shall be entitled to a voting Board seat.
                                                       2.       Grant of covenant—not-to-sue to VCTF and affiliates (does NOT include
                                                                Geely) to     all its   patent assets
                                                        3.      MVP4 within       12 months of signing the definitive agreements



             1
                     Failure to meet any of these obligations (other than the Initial Capitalization) shall allow VCTF to demand, inter
                 more frequent reporting requirements and pre-approval of NewCo’s extraordinary expenses (e.g., greater than
             alia,

             US$10K).

             2
                      Note that this Term Sheet shall not be construed as an employment contract (or amendment thereto) and
             does not give Founders any right to continued employment by Volvo Car Group nor any additional employee benefits.
             Rather, Founders wi|| be expected to continue the performance of their “day jobs” to the satisfaction of their current,
             respective managers.

             3
                            Subject to input and approval from           VCC Tax        Dept.


             4
                            MVP      =   NewCo   should ship a working prototype of a product that can be deployed in a testing environment to
             an early—adopter customer             to get feedback/early results and constantly iterate the product from thereon.




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                                               4.     Demonstration of sales and/or partnership pipeline within 18 months of
                                                      signing the definitive agreements to the satisfaction of                     VCTF
                                               5.     Submission of monthly and quarterly financial reports for the first 24
                                                      months of signing the definitive agreements with basic P&L and cash
                                                      flow items


              Equity:                          o      18% as      preferred equity to          VCTF    paid for    in   US$1 10,000 worth        of IP
                                                      and   in-kind services via Sen/ice           Agreement
                                               o      82%   to Founders/Investors with             Initial   Capitalization


              Dilution:                        In   the event the      NewCo        enters into any arrangement with Investors                   —    after

                                              the     Initial   Capitalization       — where monies            or other equity or non-equity
                                               consideration are payable to the Investors                     in   consideration of such capital,
                                              such payments or other dilution will come equally from the parties; provided,
                                              however, in no case shall VCTF’s interest equal less than 5% of the NewCo
                                              for the first       US$10M    of outside capital raised by NewCo. VCTF shall have
                                              full   ﬂexibility to exit    complete or part of the investment at any time after the
                                               Initial   Capitalization.


              Non-compete                     VCTF and            its affiliates   within the    Volvo Car Group (but not including                      its

                                               portfolio    companies)       shall not     compete     with   NewCo       in   the field(s) described
                                               in    the Provisional Patent Application for 2 years from effective date of
                                               closing.


              Non-solicitation                 NewCo        shall not solicit        any employees or contractors                 of   VCTF and          its

                                               affiliates for     a period of two years from the effective date of closing


              Representations]                 Ordinary and customary representations and warranties to be granted by
              Warranties:                      NewCo and the Founders

              Disputes:                       Any and       all   disputes shall be resolved by expedited binding arbitration                            in

                                              the English language            in   San Francisco,       CA before a single         neutral arbitrator
                                               chosen by        AAA and      using California law


              Costs:                           Each party shall bear               its   own   costs   in   forming the        NewCo and         related
                                               agreements

              Closing:                         Promptly following the execution of a Term Sheet, the parties                           will   undertake
                                              to     complete      their respective  due diligence and to prepare, negotiate and
                                              execute definitive          transaction documents to implement its terms within 90
                                              days of execution.

                                                               each party shall continue normal business operations, and
                                               Until the closing,

                                              obtain applicable board and shareholder/member approval to undertake the
                                              transaction   contemplated     herewith,   and   amend any corporate
                                              documentation necessary to reflect the terms of this Term Sheet.




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              Confidentiality:                   During the period between the date hereof and the closing, neither party
                                                 shall furnish,    or authorize any agent or representative to furnish,                       any
                                                 information concerning this       Term Sheet      to    any person or       entity without the
                                                 prior written   consent of the other party


              Publicity:                         There   shall   be no   publicity with respect to       any aspects of this transaction,
                                                 including contemplation or the closing of              such transaction, without written
                                                 approval of     VCTF     (which approval shall         be deemed granted for potential
                                                 Investors)




             Except        for the   paragraph above pertaining to       confidentiality, the   terms set    forth in this   Term Sheet are
             intended only to describe our mutual present intentions as reflected                  in   our conversations regarding the
             proposed transaction and are not intended            any binding obligations on the part of each of the
                                                                    to create
             parties, or to be construed as an agreement to enter into any binding agreements or consummate the
             proposed transaction. No such obligations shall arise unless and until each party shall have conducted
             business and legal diligence to its satisfaction and there shall have been prepared, executed and
             delivered definitive agreements setting forth such terms and such additional understanding as the
             parties may develop in the course of their negotiations leading up to such agreements.




                                                         [SIGNA TURE PAGE FOLLOWS]




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             VOLVO CAR TECHNOLOGY FUND AB:                        FOUNDERS:


                            By:      (W
                                      l
                                          DocuSigned


                                              ﬂwilssow
                                                       by:




                                                                  By:
                                                                           ”La.“
                                                                               Signature
                                                                                            #MM       «M
                                    Pér Arvidsson                              Syed Mubeen         Saifullah
                                    Chairman of the Board
                                                                                 11   November 2020
                                    november 12, 2020
                                                                               Date
                                    Date




                                                                  By:           ﬂ/MW
                                    Signature                                  Signature


                                    Raymond             Millien                Niclas Gyllenram
                                    Managing Director
                                                                   1 1   November 2020
                                  November 12, 2020
                                                                               Date
                                    Date



                                                                  By:
                                                                                 gna/ﬂre

                                                                               Jonas Fenn

                                                                               Nov    11,   2020
                                                                               Date




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                                                                             EXECUTION VERSION




                                     SEED PREFERRED STOCK PURCHASE AGREEMENT
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                                                                                                           EXECUTION VERSION

                                      SEED PREFERRED STOCK PURCHASE AGREEMENT

                           THIS       SEED           PREFERRED           STOCK           PURCHASE            AGREEMENT               (this
             “‘Agreement”)           is    made     day of March, 2021 by and among Aiden Automotive
                                                    as 0f the 8th
             Technologies, Inc., a Delaware corporation (the “C0mpany”), Volvo Car Technology Fund AB,
             reg. no. 556877-5760, a Sweden private limited liability company (“Purchaser”) and the
             persons listed as “Founders” on the signature pages t0 this Agreement (each a “Founder” and
             together the “F0unders”).


                           The   parties   hereby agree as follows:

                           1.       Purchase and Sale 0f Seed Preferred Stock.

                                    1.1       Sale and Issuance of Seed Preferred Stock.


                                              (a)       The Company      shall   adopt and ﬁle With the Secretary of State 0f the
             State of Delaware on 0r before the Closing                     (as    deﬁned below) the Amended and Restated
             Certiﬁcate 0f Incorporation 0f the Company                     in   the form 0f Exhibit B hereto (the “Restated
             Certificate”).


                                              (b)       Subject t0 the terms and conditions 0f this Agreement, Purchaser
             agrees t0 purchase, and the               Company      agrees t0   sell   and issue   t0 Purchaser, at the Closing, that
             number 0f           shares of the      Company’s Seed Convertible Preferred             Stock, par value $0.00001 per
             share (the “Preferred Stock”) set forth opposite Purchaser’s                          name 0n   Exhibit     A   hereto, for a
             deemed purchase                                               Which shall be paid-in-kind and
                                          price 0f $0.11 per share 0f Preferred Stock
             shall consist 0f the Transferred IP and the Services Agreement (the “Purchase Price”). The
             shares 0f Preferred Stock issued t0 Purchaser pursuant t0 this Agreement shall be referred to
             herein as the “Shares.”


                                    1.2                 The purchase and sale of the Shares shall take place
                                              Closing; Delivegy.
             remotely Via the exchange of documents and signatures 0n the date hereof (which time and place
             are designated as the “‘Closing”). At the Closing, the Company shall deliver t0 Purchaser a Carta
             electronic certiﬁcate representing the Shares.


                           1.3     Use 0f Proceeds. In accordance With the directions 0f the Company’s
             Board 0f Directors (the “B0ard”), as it shall be constituted in accordance With the Voting
             Agreement, the Company Will use the proceeds from the sale of the Shares t0 expand the
             Company’s team, accelerate product development, fund the Company’s working capital
             requirements and for other general corporate purposes.

                                    1.4       Deﬁned Terms Used               Agreement. In addition to the terms deﬁned
                                                                         in this
             above, the following terms used in this                 Agreement shall be construed t0 have the meanings set
             forth or referenced below.


                                              (a)       “Afﬁliate” means,       When used With       respect t0 any speciﬁed Person,
             any other Person who,                directly 0r indirectly, controls,        is   controlled by, 0r   is   under   common
             control with the Person speciﬁed,               Where “control” means the possession, directly 0r indirectly,
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             by agreement 0r otherwise, of at least 50% 0f the voting stock, partnership interest or other
             ownership interest, 0r the power (a) t0 appoint 0r remove a majority 0f the board of directors 0r
             other governing body of such Person, 0r (b) to cause the direction of the management of such
             Person.


                                            (b)       “Code” means    the Internal    Revenue Code 0f 1986,        as   amended.

                                            (c)       “Company Covered Person” means,             with respect t0 the        Company
             as an “issuer” for purposes 0f Rule              506 promulgated under the Securities Act, any Person              listed
             in the ﬁrst      paragraph of Rule 506(d)(1).


                                            (d)       “IP Assignment” means the              intellectual   property assignment
             between Purchaser and the Company, dated as 0f the date of the Closing, assigning                                 t0 the
             Company the Transferred IP, in a form satisfactory t0 the Company and Purchaser.

                                            (e)       “Investor Rights Agreement” means the agreement                    among     the
             Company, Purchaser and               the Founders, dated as 0f the date 0f the Closing, in a         form   satisfactory
             to the       Company and Purchaser.

                                            (f)       “Key Employee” means any Founder,             as well as any employee 0r
             consultant       Who   either alone or in concert with others develops, invents,           programs 0r designs any
             Company          Intellectual Property.


                                            (g)       “Knowledge”         including    the    phrase     “t0     the     Company’s
             Knowledge”          shall   mean the    actual   knowledge   after reasonable investigation       0f the Founders.


                                            (h)       “Material Adverse Effect” means a material adverse effect on the
             business, assets (including intangible assets), liabilities, ﬁnancial condition, property or results of
             operations 0f the       Company.

                                            (i)
                                                      “Person” means any individual, corporation, partnership,                  trust,

             limited liability company, association 0r other entity.


                                             “Right 0f First Refusal and Co-Sale Agreement” means the
                                            (j)
             agreement among the Company, Purchaser and certain other stockholders of the Company, dated
             as 0f the date of the Closing, in a form satisfactory t0 the Company and Purchaser.


                                            (k)       “Securities Act”     means   the Securities   Act 0f 1933,        as   amended,
             and the rules and regulations promulgated thereunder.

                                            (1)       “Services Agreement” means the services agreement between
             Volvo Car Technology                 USA   and the Company,      in a    form   satisfactory t0 the       Company and
             Purchaser.


                                            (m)       “Transaction Agreements” means             this   Agreement, the Investor
             Rights Agreement, the Right 0f First Refusal and Co-Sale Agreement, the Voting Agreement, the
             Restated Certiﬁcate, the Services Agreement, the 1P Assignment and the other documents and
             certiﬁcates executed in connection therewith.
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                                            (n)    “Transferred IP” means (i) the United States Provisional Patent
             Application entitled          “Automotive Data Sharing Platform, “Atty. Docket N0. P2896USOO and any
             improvements thereon, and              (ii)   the   AIDEN and SIGNALHUB unregistered trademarks.

                                           “Voting Agreement” means the agreement among the Company,
                                            (o)
             Purchaser and certain other stockholders of the Company, dated as 0f the date of the Closing, in
             a form satisfactory t0 the Company and Purchaser.


                           2.      Representations and Warranties of the                      Company. The Company                represents and
             warrants to Purchaser          that,   except as set forth 0n the Disclosure Schedule attached as Exhibit                           C
             t0 this       Agreement, Which exceptions               shall      be deemed        to   be part of the representations and
             warranties         made   hereunder, the following representations are true and complete as 0f the date 0f
             each Closing, except as otherwise indicated.

                                   2.1      Organization,         Good           Power and Qualiﬁcation. The
                                                                           Standing, Corporate
             Company is a corporation duly organized, validly existing and in good standing under the laws
             0f the State of Delaware and has all requisite corporate power and authority t0 carry 0n its
             business as presently conducted and as proposed to be conducted. The Company is duly qualiﬁed
             to transact business and is in good standing in each jurisdiction in which the failure t0 so qualify
             would have a Material Adverse Effect.

                                   2.2      Capitalization.


                                            (a)         The authorized          capital   of the   Company        consists,    immediately prior
             t0 the Closing, of:


                                                        (i)        100,000,000 shares 0f              common       stock, par value $0.00001
             per share,         (“Common     Stock”), 4,100,000 shares of Which are issued and outstanding. A11 0f the
             outstanding          shares   0f     Common          Stock have been              duly     authorized,      are    fully   paid    and
             nonassessable and were issued in compliance with                          all   applicable federal and state securities laws.
             The Company holds no               Common         Stock in   its   treasury.


                                                        (ii)       10,000,000 shares of preferred stock, par value $000001
             per share, none 0f Which are issued and outstanding. The rights, privileges and preferences 0f the
             Preferred Stock are as stated in the Restated Certiﬁcate and as provided                               by   the Delaware General
             Corporation Law. The            Company holds n0             Preferred Stock in          its   treasury.


                                            (b)         Section      2.21b)       0f    the     Disclosure        Schedule       sets   forth   the
             capitalization 0f the          Company immediately                  following the Closing, including the number 0f
             shares of the following:             (i)   issued and outstanding               Common         Stock and Preferred Stock and
             (ii)   shares 0f     Common        Stock reserved for future award grants” Except for (A) the conversion
             privileges of the Shares t0 be issued under this Agreement, (B) the rights provided 1n S—ection 3
             0f the Investor Rights Agreement and (C) the securities and rights described 1n Section 2. 2(0) 0f
                                              no outstanding options, warrants, rights (including conversion
             the Disclosure Schedule, there are
             0r preemptive rights and rights of ﬁrst refusal 0r similar rights) 0r agreements, orally 0r in
             writing, to purchase 0r acquire               from the Company any shares of capital stock 0f the Company, or
             any    securities convertible into 0r             exchangeable for shares 0f capital stock 0f the Company.
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                                           (c)       None 0f the Company’s        stock purchase agreements 0r stock option
             documents contains a provision for acceleration of vesting (0r lapse 0f a repurchase right) 0r
             other changes in the vesting provisions 0r other terms 0f such agreement 0r understanding upon
             the occurrence 0f any event 0r combination of events, including without limitation in the case
             Where the Stock Plan is not assumed in an acquisition. The Company has n0 obligation
             (contingent or otherwise) to purchase 0r redeem any 0f its capital stock.


                                           (d)       M. The Company           believes in good faith that any “nonqualiﬁed
             deferred compensation plan” (as such term              is   deﬁned under Section 409A(d)(1) of the Code and
             the guidance thereunder) under   which the Company makes, is obligated t0 make 0r promises t0
             make, payments (each, a “409A Plan”) complies in all material respects, in both form and
             operation, with the requirements of Section 409A of the Code and the guidance thereunder. To
             the Company’s Knowledge, no payment t0 be made under any 409A Plan is, or Will be, subject
             t0 the penalties of Section 409A(a)(1) of the Code.


                                           (e)       The Company has obtained valid waivers 0f any                 rights    by other
             parties t0 purchase        any of the   Shares covered by this Agreement.


                                  2.3       Subsidiaries.   The Company does not           currently   own   0r control, directly 0r
                      any
             indirectly,           interest in   any other corporation, partnership, trust, joint venture, limited liability
             company, association, 0r other business              entity.   The Company        is   not a participant in any joint
             venture, partnership or similar arrangement.


                                  2.4      Authorization. A11 corporate action required t0 be taken              by   the   Board and
             stockholders in order to authorize the           Company                                   Agreements, and to
                                                                            t0 enter into the Transaction
             issue the Shares at the Closing           and the   Common       Stock issuable upon conversion 0f the Shares,
             has been taken 0r will be taken prior t0 the Closing. A11 action 0n the part of the ofﬁcers of the
             Company           necessary for the execution and delivery 0f the Transaction Agreements, the
             performance 0f          all   obligations of the     Company under            the Transaction Agreements           t0     be
             performed as of the Closing, and the issuance and delivery of the Shares has been                         taken or will
             be taken prior t0 the Closing. The Transaction Agreements, When executed and delivered by the
             Company, shall constitute valid and legally binding obligations of the Company, enforceable
             against the Company in accordance with their respective terms except (i) as limited by applicable
             bankruptcy, insolvency, reorganization, moratorium, fraudulent conveyance, 0r other laws of
             general application relating t0 0r affecting the enforcement of creditors’ rights generally,                       (ii)   as
             limited by laws relating to the availability of speciﬁc performance, injunctive relief, or other
             equitable remedies, 0r (iii) to the extent the indemnification provisions contained in the Investor
             Rights Agreement           may be   limited   by applicable    federal or state securities laws.


                                  2.5      Valid Issuance 0f Shares


                                           (a)       The Shares, When       issued, sold   and delivered in accordance With the
             terms and for the consideration set forth in this Agreement, Will be validly issued, ﬁllly paid and
             nonassessable and free of restrictions 0n transfer other than restrictions 0n transfer under the
             Right of First Refusal and Co-Sale Agreement, applicable state and federal securities laws and
             liens or        encumbrances created by or imposed by Purchaser. Assuming the accuracy 0f the
             representations 0f Purchaser in Section 3 of this  Agreement and subject to the ﬁlings described
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             in Section 2.6gb1gii1         below, the Shares will be issued in compliance With            all   applicable federal
             and     state securities laws.         The   Common    Stock issuable upon conversion 0f the Shares has been
             duly reserved for issuance, and upon issuance in accordance with the terms of the Restated
             Certiﬁcate, will be validly issued, fully paid and nonassessable and free 0f restrictions                 0n   transfer
             other than restrictions on transfer under the Transaction Agreements, applicable federal and state
             securities laws         and  encumbrances created by or imposed by Purchaser. Based in part
                                           liens 0r
             upon the representations of Purchaser in Section 3 of this Agreement, and subject t0
             Section 2.51m below, the Common Stock issuable upon conversion 0f the Shares will be issued
             in compliance with all applicable federal and state securities laws.


                                              (b)      No
                                                 “bad actor” disqualifying event described in Rule 506(d)(1)(i)-
             (viii) of the Securities Act (a “Disqualification Event”) is applicable t0 the Company 0r, t0 the
             Company’s knowledge, any Company Covered Person, except for a Disqualiﬁcation Event as t0
             Which Rule 506(d)(2)(ii—iv) 0r (d)(3), is applicable:

                                   Governmental Consents and Filings. Assuming the accuracy of the
                                    2.6
             representations made by Purchaser in Section 3 of this Agreement, n0 consent, approval, order 0r
             authorization of, 0r registration, qualiﬁcation, designation, declaration or ﬁling with, any federal,
                         governmental authority is required on the part of the Company in connection with
             state 0r local
             the consummation 0f the transactions contemplated by this Agreement, except for (i) the ﬁling 0f
             the Restated Certiﬁcate,           which
                                                have been ﬁled as 0f the Closing, and (ii) ﬁlings pursuant to
                                                          Will
             Regulation D of the Securities Act, and applicable state securities laws, Which have been made
             0r Will be made.


                                    2.7       Litigation.    Except as described   in Section 2.7   0f the Disclosure Schedule,
             (i)    there    is   no claim,    action, suit, proceeding, arbitration, complaint, charge 0r investigation
             pending 0r t0 the Company’s Knowledge, currently threatened in writing (x) against the
             Company, any Founder, 0r any ofﬁcer 0r director 0f the Company arising out 0f their
             employment 0r board relationship with the Company 0r Afﬁliates of Purchaser; (y) that
             questions the validity 0f the Transaction Agreements or the right 0f the                    Company     t0 enter into
                       consummate the
             them, 0r t0                              transactions contemplated   by    the Transaction Agreements; 0r (z) t0
             the Company’s Knowledge,                 that   would reasonably be expected      to have, either individually 0r in
             the aggregate, a Material              Adverse Effect, and   (ii)            Company nor, t0 the Company’s
                                                                                 neither the
             Knowledge, any Founder 0r ofﬁcer 0r director 0f the                   Company is a party or is named as subject
             t0 the provisions 0f any order, writ, injunction, judgment or decree of any court 0r government
             agency or instrumentality (in the case 0f Founders, ofﬁcers 0r directors, such as would affect the
             Company). There is n0 action, suit, proceeding 0r investigation by the Company pending 0r
             which the Company intends t0 initiate. The foregoing includes, without limitation, actions, suits,
             proceedings 0r investigations pending or threatened in writing (0r any basis therefor known to
             the Company) involving the prior employment 0f any of the Company’s employees, their
             services provided in connection with the Company’s business, any information or techniques
             allegedly proprietary t0 any of their former employers or their obligations under any agreements
             With prior employers.

                                    2.8       Intellectual Propertv.
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                                            (a)     After       giving    effect    t0     the     transactions   contemplated by the
             Transaction Agreements, the             Company owns           0r possess a sufﬁcient legal right t0 use, free and
             clear of all liens, encumbrances, charges 0r claims by any other Person (including prior
             employers 0f the Founders, employees, 0r consultants), all patents, trademarks, domain names,
             service marks, trade names, copyrights, licenses and rights, and all trade secrets protectable by
             applicable law,           including know-how, inventions, designs, processes, works 0f authorship,
             computer programs, hardware, software and technical data and information (“Intellectual
             Property”) used and sufﬁcient for use in the conduct 0f its business as presently conducted
             (collectively herein “Company Intellectual Property”), without, t0 the Company’s knowledge,
             infringing upon or otherwise acting adversely t0 the right 0f any other Person (including prior
             employers 0f Founders, employees, 0r consultants) under 0r With respect t0 the foregoing,
             including without limitation (i) the Founders and the past and present employees and consultants
             and (ii) employers 0f the Founders and the past and present employees and consultants 0f the
             Company. Neither the Company nor, t0 the Company’s knowledge, any Founder 0r current 0r
             former employee 0r consultant of the Company, has received, or is aware of, any written
             communications alleging that the Company, or any Founder or any current or former employee
             0r any consultant 0f the Company has violated, 0r by conducting the Company’s business as now
             conducted,        is   Violating the patents, trademarks, service marks, trade names, copyrights 0r trade
             secrets or other proprietary rights            0f other Persons, nor             is   the Company aware of any similar
             Violation 0f the         Company     Intellectual Property       by    others,      nor is the Company is aware of any
             basis therefore.


                                            (b)      Section 2.8ng of the Disclosure Schedule identiﬁes each: (a)
             patent, registered trademark, registered copyright, 0r registered        domain name that has been
             issued to the       Company With respect t0 any 0f the Company Intellectual Property; (b) pending
             patent, trademark,         domain name or copyright application that the Company has made with
             respect to       any of the Company Intellectual Property; (c) each material unregistered trade name or
             unregistered trademark used             by   the    Company; and             (d) material license, agreement, 0r other
             permission pursuant to Which the             Company has received from 0r granted to any third party With
             respect to any 0f the           Company      Intellectual Property (excluding in each case, contracts for
             commercially available technology 0r software 0r otherwise having an annual value 0f less than
             $50,000).


                                         Other than With respect t0 commercially available software
                                            (c)
             products under standard end-user object code license agreements, and other than pursuant t0
             license agreements          whereby the Company             licenses   its   software products to customers, there are
             n0 outstanding options, licenses, 0r agreements of any kind relating t0 the foregoing, nor is the
             Company bound by 0r a party t0 any options, licenses or agreements 0f any kind With respect t0
             the patents, trademarks, service marks, trade names, copyrights, trade secrets, licenses,
             information, proprietary rights and processes 0f any other Person. Neither the Company nor, t0
             the Company's knowledge, any Founder 0r current 0r former employee or consultant of the
             Company is obligated 0r under any liability whatsoever t0 make any payments by way 0f
             royalties, fees 0r otherwise t0 any owner 0r licensee of, 0r other claimant to, any patent,
             trademark, service mark, trade name, copyright or other intangible asset, with respect to the use
             thereof or in connection with the conduct of its business 0r as currently proposed to be
             conducted.
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                                                (d)    Any and       all rights, title   and
                                                                            0f Intellectual Property of any
                                                                                               interest
             kind Which has been developed 0r is currently being developed, by any Founder 0r current 0r
             former employee or consultant 0f the Company in the scope 0f their duties for the Company is,
             and shall be, the sole and exclusive property owned by the Company. For avoidance 0f doubt,
             none 0f the Company                Intellectual Property       owned by the Company including the Transferred IP
             was conceived             during, originated from, or         was derived from, any work done by the Founders for
             the beneﬁt 0f    any Person including prior employers 0f any Founder 0r current or former
             employee or consultant, other than Afﬁliates 0f Purchaser. The Company has taken
             commercially reasonable security measures to protect the secrecy, conﬁdentiality and value 0f all
             the Intellectual Property. A11 of the Company’s Founders and any current employees 0r
             consultants responsible for the development 0f, 0r that have developed, Intellectual Property for
             the Company have entered into written agreements with the Company assigning to the Company
             all rights in such Intellectual Property developed for the Company. A11 0f the Company's

             Founders and current employees and other persons Who have substantive knowledge of the trade
             secrets or other conﬁdential information within the Company Intellectual Property have entered
             into a written agreement, which includes conﬁdentiality obligations with the Company. T0 the
             Company’s knowledge it is not necessary t0 utilize any of the developments, ideas, inventions,
             trade secrets or proprietary information of any 0f its Founders, employees 0r consultants made
             prior to their employment or engagement by the Company, other than the Transferred 1P and that
             Intellectual Property that has been duly assigned t0 the Company by such persons. None 0f the
             foregoing Persons is or was ever employed by 0r engaged as a consultant with any academic or
             other governmental institution, whereby such academic 0r governmental institution has obtained
             any rights in any Intellectual Property developed by such Founder or current 0r former employee
             0r consultant. No facilities 0f any university, government-owned institution, college, other
             educational institution or research center was used in the development 0f any 0f the Company
             Intellectual Property.


                                            None of the Open Source Software that is 01' has been used by the
                                                (e)
             Company                     Company’s
                                  will restrict the   ability to charge for distribution 0f, 0r to use its products
             for commercial purposes. With respect t0 any open source software that is or has been used by
             the Company, the Company is in material compliance With all applicable licenses With respect
             thereto. Neither the Company, nor any Founder, employee 0r consultant 0r any other Person
             acting on behalf 0f the Company, has disclosed or delivered to any third party any non-open
             source software related source code owned by the Company and included in the Company's
             products. To the Company’s knowledge, n0 event has occurred, and 110 circumstance 0r
             condition exists, that (with or without notice or lapse 0f time) will, 0r would reasonably be
             expected t0, result in the disclosure or delivery by the Company, 0r any Person acting 0n behalf
             0f the Company, 0f any such non open source software related source code.

                                       2.9      Compliance with Other Instruments. Except as                    set forth in Section 2.9   0f
             the Disclosure Schedule, the              Company        is           (i) of any provisions of its
                                                                           not in Violation 0r default
             Restated Certiﬁcate 0r Bylaws, (ii) of any instrument, judgment, order, writ or decree, (iii) under
             any note, indenture 0r mortgage, (iv) under any lease, agreement, contract 0r purchase order t0
             which        it is   a party 0r   by which   it is   bound    that is required to   be   listed   on the Disclosure Schedule,
             or (V) of any provision 0f federal 0r state statute, rule 0r regulation applicable to the Company,
             the Violation 0f Which would have a Material Adverse Effect. The execution, delivery and
             performance 0f the                 Transaction Agreements             and the consummation 0f the transactions
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             contemplated by the Transaction Agreements Will not result in any such Violation 0r be in
             conﬂict with or constitute, With or Without the passage of time and giving 0f notice, either (i) a
             default under any such provision, instrument, judgment, order, writ, decree, contract or
             agreement; or (ii) an event which results in the creation of any lien, charge or encumbrance upon
             any     assets    0f the       Company      or the suspension, revocation, forfeiture, 0r nonrenewal of any
             material permit or license applicable t0 the Company.


                                     2.10           and Assets. Except as set forth in Section 2.10 of the
                                               Title t0 Property
             Disclosure Schedule, the                Company owns
                                                     its properties and assets free and clear of all mortgages,

             deeds of trust, liens, encumbrances and security interests except for statutory liens for the
             payment 0f current taxes that are not yet delinquent and liens, encumbrances and security
             interests Which arise in the ordinary course of business and Which d0 not affect material
             properties and assets 0f the Company. With respect t0 the property and assets it leases, the
             Company is in material compliance with each such lease and holds a valid leasehold interest free
             of any liens, claims 0r encumbrances other than those of the lessors 0f such property 0r assets.
             The Company does not own any real property.

                                     2.11      Agreements.


                                               (a)       Except for the Transaction Agreements and as               set forth   0n Section
             2.1 lga)       of the Disclosure Schedule, there are no agreements, understandings, instruments,
             contracts 0r proposed transactions t0  which the Company is a party or by which it is bound that
             involve (i) obligations (contingent 0r otherwise) 0f, 0r payments t0, the Company in excess 0f
             $50,000, (ii) the license 0f any patent, copyright, trademark, trade secret 0r other proprietary
             right to or from the Company, (iii) the grant of rights t0 manufacture, produce, assemble, license,
             market, 0r sell its products to any other Person that limit the Company’s exclusive right to
             develop, manufacture, assemble, distribute, market or sell its products, or (iv) indemniﬁcation by
             the    Company With respect t0             infringements 0f proprietary rights.


                                               (b)       Except as      set forth   on Section   2.1 11b)   0f the Disclosure Schedule,
             the    Company         has not    (i)                                          made any distribution
                                                     declared or paid any dividends, 0r authorized or
             upon 0r With respect to any class or series 0f its capital stock, (ii) incurred any indebtedness for
             money borrowed or incurred any other liabilities individually in excess 0f $10,000 0r in excess
             0f $50,000 in the aggregate, (iii) made any loans 0r advances t0 any Person, other than ordinary
             advances for travel expenses, or (iv) sold, exchanged 0r otherwise disposed of any 0f its assets 0r
             rights, other         than the sale of its inventory in the ordinary course 0f business. For the purposes 0f
             (a)    and      (b)   of   this   Section 2.1   1,   all    indebtedness,    liabilities,   agreements, understandings,
             instruments, contracts and proposed transactions involving the                         same Person (including Persons
             the    Company         has reason t0 believe are afﬁliated With each other) shall be aggregated for the
             purpose 0f meeting the individual               minimum dollar amounts of such              Section.


                                               (c)       The Company        is   not a guarantor 0r indemnitor 0f any indebtedness
             0f any other Person.

                                           The Company has not engaged in the past three (3) months in any
                                               (d)
             discussion With any representative of any Person regarding (i) a sale 0r exclusive license 0f all or
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             substantially all 0f the                 Company’s        assets, 0r (ii)      any merger, consolidation 0r other business
             combination transaction 0f the                     Company With        or into another Person.


                                      2.   12       Certain Transactions.


                                                    (a)         Other than   (i)   standard employee beneﬁts generally     made   available
             to all       employees,         (ii)   standard director and ofﬁcer indemniﬁcation agreements approved                 by   the
             Board,        (iii)   standard proprietary information and assignment of inventions agreements in favor of
             the          (iii) the purchase of shares 0f the Company’s capital stock and (iv) the Transaction
                    Company,
             Agreements, in each instance, approved in the written minutes of the Board (previously provided
             t0   Purchaser or             its   counsel), there are        n0 agreements, understandings 0r proposed transactions
             between the Company and any 0f                          its                                   Key Employees, 0r any
                                                                           ofﬁcers, directors, consultants or
             Afﬁliate thereof.


                                                    (b)         The Company        is   not indebted, directly 0r indirectly, t0 any of the
             Founders or   its directors, ofﬁcers 0r employees or t0 their respective spouses or children or t0

             any Afﬁliate of any of the foregoing, other than in connection With expenses 0r advances 0f
             expenses incurred in the ordinary course 0f business expenses and for other customary employee
             beneﬁts made generally available t0 all employees. None 0f the Founders 0r the Company’s
             directors, ofﬁcers 0r employees, or any members 0f their immediate families, 0r any Afﬁliate 0f
             the foregoing are, directly 0r indirectly, indebted to the Company 0r, have any (i) material
             commercial, industrial, banking, consulting,                          legal, accounting, charitable or familial relationship
             with any 0f the Company’s customers, suppliers, service providers, joint venture partners,
             licensees and competitors, (ii) direct or indirect ownership interest in any ﬁrm 0r corporation
             with which the  Company is afﬁliated or with which the Company has a business relationship, 0r
             any ﬁrm 0r corporation which competes with the Company, except that the Founders and
             directors, ofﬁcers, employees 0r stockholders 0f the Company may own stock in (but not
             exceeding two percent (2%) 0f the outstanding capital stock 0f) publicly traded companies that
             may compete With the Company; 0r (iii) ﬁnancial interest in any material contract to Which the
             Company           is   a party.


                                      2.13          Rights of Registration and Voting Rights. Except as provided in the
             Investor Rights Agreement, the    Company is not under any obligation t0 register under the
             SecuritiesAct any of its currently outstanding securities 0r any securities issuable upon exercise
             or conversion of its currently outstanding securities. To the Company’s knowledge, except as
             contemplated in the Voting Agreement, n0 stockholder 0f the Company has entered into any
             agreements With respect t0 the voting of capital stock 0f the Company.

                                      2.14          Changes. Except as described in Section 2.14 0f the Disclosure Schedule,
             since the date 0f the incorporation 0f the                      Company,        there has not been:


                                                    (a)         any damage, destruction 0r            loss,   Whether or not covered by
             insurance, that          would have a Material Adverse                     Effect;


                                                    (b)         any waiver 0r compromise by the Company 0f a valuable              right 0r
             0f a material debt owed t0                   it;
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                                           (c)       any    satisfaction 0r discharge        0f any   lien,   claim, 0r encumbrance or
             payment 0f any obligation by the Company, except in the ordinary course 0f business and the
             satisfaction 0r discharge 0f which would not have a Material Adverse Effect;


                                           (d)       any material change            t0 a material contract or      agreement by Which
             the    Company 0r any 0f its         assets   is   bound or      subject;


                                  (e)    any material change in any                                  compensation      arrangement       or
             agreement With any employee, ofﬁcer, director 0r stockholder;

                                           (f)       any resignation or termination 0f employment 0f any ofﬁcer 0f the
             Company;

                                          any mortgage, pledge, transfer 0f a security interest in, 0r lien,
                                           (g)
             created by the Company, With respect to any 0f its material properties or assets, except liens for
             taxes not yet due 0r payable and liens that arise in the ordinary course 0f business and do not
             materially impair the Company’s ownership 0r use 0f such property 0r assets;


                                           (h)   any loans 0r guarantees made by the Company t0 0r for the beneﬁt
             0f    its    employees, ofﬁcers or directors, 0r any members of their immediate families, other than
             travel       advances and other advances made in the ordinary course 0f its business;


                                           (i)       any declaration,            setting aside 0r   payment 0r other         distribution in
             respect 0f any 0f the        Company’s        capital stock, 0r        any direct 0r indirect redemption, purchase, 0r
             other acquisition of any 0f such stock                by   the   Company;

                                           (j)       any        sale,   assignment or transfer of any            Company        Intellectual
             Property that could reasonably be expected t0 result in a Material Adverse Effect;


                                           (k)       receipt of notice that there has               been a    loss 0f, 0r material order
             cancellation by, any major customer of the                   Company;

                                           (l)       any other event or condition 0f any character, other than events
             affecting the       economy   or the    Company’s industry generally, that could reasonably be expected to
             result in a Material        Adverse    Effect; 0r


                                           (m)       any arrangement or commitment by the Company                       to   d0 any 0f the
             things described in this Section 2.14.


                                  2.15     Employee Matters.

                                           (a)       As of         the    date    hereof,   the   Company employs no               full-time
             employees, no part—time employees and engages two consultants 0r independent contractors.
             Section 2.151a) of the Disclosure Schedule sets forth a detailed description 0f                          all   compensation,
             paid 0r payable for each            Key Employee,          consultant and independent contractor 0f the            Company.

                                          Except as set forth on Section 2.151b) 0f the Disclosure Schedule,
                                           (b)
             to   the Company’s knowledge, none 0f its employees is obligated under any contract (including




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             licenses, covenants or   commitments 0f any nature) 0r other agreement, 0r subject t0 any
             judgment, decree     order 0f any court 0r administrative agency, that would materially interfere
                                      01'

             with such employee’s ability to promote the interest of the Company or that would conﬂict with
             the Company’s business. Neither the execution 0r delivery of the Transaction Agreements, nor
             the carrying on 0f the Company’s business by the employees 0f the Company, nor the conduct 0f
             the Company’s business as now conducted and as presently proposed to be conducted, will, t0
             the Company’s knowledge, conﬂict with 0r result in a breach 0f the terms, conditions, 0r
             provisions 0f, 0r constitute a default under, any contract, covenant or instrument under which
             any such employee is now obligated.

                                            (c)    Except as    0n Section 2.15m) 0f the Disclosure Schedule,
                                                                 set forth
             the Company is not delinquent in payments t0 any 0f its employees, consultants, 0r independent
             contractors for any wages, salaries, commissions, bonuses, or other direct compensation for any
             service performed for it t0 the date hereof 0r amounts required t0 be reimbursed t0 such
             employees, consultants or independent contractors. The Company has complied in all material
             respects With all applicable state and federal equal employment opportunity laws and with other
             laws related t0 employment, including those related to wages, hours, worker classiﬁcation and
             collective bargaining. The Company has withheld and paid to the appropriate governmental
             entity 0r is holding for payment not yet due to such governmental entity all amounts required t0
             be Withheld from employees of the Company and is not liable for any arrears 0f wages, taxes,
             penalties 0r other sums for failure t0 comply With any 0f the foregoing.


                                            (d)    T0Company’s knowledge, n0 Key Employee intends t0
                                                           the
             terminate its service relationship with the Company 0r is otherwise likely to become unavailable
             to continue as a Key Employee. The employment 0f each employee 0f the Company, if any, is
             terminable at the Will of the Company. Except as required by law, upon termination of the
             employment of any such employees, n0 severance 0r other payments Will become due. The
             Company has n0 policy, practice, plan 0r program 0f paying severance pay or any form 0f
             severance compensation in connection With the termination of employment services.


                                            (e)    The Company has not made any representations regarding equity
             incentives to any ofﬁcer, employee, director 0r consultant that are inconsistent with the share
             amounts and terms          set forth in the   minutes 0f meetings 0f the Company’s board 0f directors.


                                            (f)    The Company has n0 employee beneﬁt plans.

                                            (g)    The Company
                                                        not bound by or subject to (and none 0f its assets
                                                                     is

             0r properties is bound by 0r subject t0) any written 0r oral, express 0r implied, contract,
             commitment or arrangement with any labor union, and n0 labor union has requested 0r, to the
             knowledge 0f the Company, has sought t0 represent any of the employees, representatives 0r
             agents 0f the Company. There is no strike 0r other labor dispute involving the Company pending,
             0r t0 the Company’s knowledge, threatened, which could have a Material Adverse Effect, nor is
             the Company aware of any labor organization activity involving its employees.


                                            (h)  Company’s Knowledge, none 0f the Founders has been (i)
                                                   T0   the
             subject to voluntary 0r involuntary petition under the federal bankruptcy laws 0r any state
             insolvency law 0r the appointment of a receiver, ﬁscal agent or similar ofﬁcer by a court for his




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             or her business 0r property;            (ii)   convicted in a criminal proceeding 0r           named   as a subject of a
             pending criminal proceeding (excluding trafﬁc Violations and other minor offenses);                         (iii)   subject
             t0 any order, judgment or decree (not subsequently reversed, suspended, 0r vacated) of any court
             0f competent jurisdiction permanently or temporarily enjoining him 0r her from engaging, 0r
             otherwise imposing limits 0r conditions 0n his 0r her engagement in any securities, investment
             advisory, banking, insurance, 0r other type of business 0r acting as an ofﬁcer or director 0f a
             public company; 0r (iv) found by a court 0f competent jurisdiction in a civil action or by the
             Securities and Exchange Commission 0r the Commodity Futures Trading Commission t0 have
             violated any federal or state securities, commodities, 0r unfair trade practices law, Which such
             judgment or ﬁnding has not been subsequently reversed, suspended, 0r vacated.

                                   Tax Returns and Payments. There are no federal, state, county, local 0r
                                  2.16
             foreign taxes due and payable  by the Company Which have not been timely paid. There are n0
             accrued and unpaid federal, state, country, local or foreign taxes 0f the Company Which are due,
             whether or not assessed 0r disputed. There have been no examinations or audits of any tax
             returns or reports by any applicable federal, state, local 0r foreign governmental agency. The
             Company          has duly and timely ﬁled              all   federal, state, county, local  and foreign tax returns
             required to have been ﬁled              by     it   and there are   in effect   n0 waivers of applicable statutes of
             limitations with respect t0 taxes for               any   year.


                                  2.17      Insurance.      The Company        has, or will obtain   when   appropriate, in full force
             and effect insurance policies concerning such casualties as would be reasonable and customary
             for companies like the Company With extended coverage, sufﬁcient in amount (subject t0
             reasonable deductions) to allow it t0 replace any 0f its properties that might be damaged 0r
             destroyed. )2 A list 0f the Company’s insurance policies is set forth in Section 2.17 of the
             Disclosure Schedule. There is no claim by the Company pending under any 0f such policies. A11
             premiums due under such policies have been paid and the Company is otherwise in full
             compliance with the material terms and conditions of all such policies where the failure to d0 so
             could reasonably be expected t0 result in a Material Adverse Effect.

                                  2.18                                    Each Founder has executed the
                                            Proprietary Information Agreements.
             Company’s Proprietary Information, Assignment 0f Inventions, Non-Solicitation and Non—
             Competition Agreement in the form attached hereto as Exhibit D (the “Proprietary Information
             Agreements”) and each other Key Employee has executed an agreement containing comparable
             proprietary information, assignment 0f inventions and non-solicitation provisions as the
             Proprietary Information Agreements. The Company is not aware that any 0f its Key Employees
             is in Violation of any 0f their agreements With the Company.



                                  2.19      Permits.    The Company has 0r will have, as appropriate, any applicable
             franchises, permits, licenses           and any similar authority necessary for the conduct 0f its business.
             The Company           is   not in   default in any material respect under any of such franchises, permits,
             licenses or other similar authority.


                                   Qualiﬁed Small Business Stock. As 0f and immediately following the
                                  2.20
             Closing: (i) the Company will be an eligible corporation as deﬁned in Section 1202(e)(4) 0f the
             Code, (ii) the Company Will not have made purchases 0f its own stock described in Code Section
             1202(c)(3)(B) during the one (1) year period preceding the Closing, except for purchases that are




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             disregarded for such purposes under Treasury Regulation Section                          1.1202-2,    and (iii) the
             Company’s aggregate gross          assets, as   deﬁned by Code Section 1202(d)(2),         at   n0 time between its
             incorporation and through the Closing have exceeded $50 million, taking into account the assets
             of any corporations required t0 be aggregated with the Company in accordance With Code
             Section 1202(d)(3); provided, however, that in n0 event shall the Company be liable t0 Purchaser
             0r any other party for any damages arising from any subsequently proven or identiﬁed error in
             the    Company’s determination with        respect t0 the applicability or interpretation 0f            Code Section
             1202, unless such determination shall have been given                   by   the   Company      in a   manner either
             grossly negligent 0r fraudulent.


                                  2.21    Foreign   Corrupt      Practices    Act.   Neither    the   Company, nor        t0   the
             Company’s knowledge, any of        its directors, ofﬁcers, employees 0r agents have, directly 0r

             indirectly, made, offered, promised 0r authorized any payment 0r gift 0f any money 0r anything
             0f value t0 0r for the beneﬁt 0f any “foreign ofﬁcial” (as such term is deﬁned in the U.S. Foreign
             Corrupt Practices Act of 1977, as amended (the “FCPA”)), foreign political party or ofﬁcial
             thereof or candidate for foreign political ofﬁce for the purpose 0f (i) inﬂuencing any ofﬁcial act
             0r decision 0f such ofﬁcial, party or candidate, (ii) inducing such ofﬁcial, party 0r candidate to
             use his, her 0r its inﬂuence t0 affect any act 0r decision of a foreign governmental authority, 0r
             (iii) securing any improper advantage, in the case 0f (i), (ii) and (iii) above in order t0 assist the

             Company 0r any 0f its afﬁliates in obtaining 0r retaining business for or With, 0r directing
             business t0, any Person. Neither the Company, nor to the Company’s knowledge, any of its
             directors, ofﬁcers, employees 0r agents have made or authorized any bribe, rebate, payoff,
             inﬂuence payment, kickback 0r other unlawful payment 0f funds or received 0r retained any
             funds in Violation 0f any law, rule or regulation. Neither the Company, nor to the Company’s
             knowledge, any 0f its ofﬁcers, directors 0r employees are the subject 0f any allegation, voluntary
             disclosure, investigation, prosecution, 0r other enforcement action related to the FCPA or any
             other anti—corruption law. Company further represents that it has not and does not engage in
             activities prohibited t0 Persons subject t0 the jurisdiction 0f the United States by the United
             States Trading with the Enemy Act 0f 1917, as amended, 0r the United States International
             Emergency Economic Powers Act 0f 1977, as amended, 0r the regulations promulgated under
             either such Act. The Company further represents that it does not have its principal place of
             business in either Myanmar 0r Sudan, or that it does not generates more than 50% of its revenue
             from either of these countries.

                            2.22    Disclosure. No representation 0r warranty 0f the Company contained in
             thisAgreement, as qualiﬁed by the Disclosure Schedule, and no certiﬁcate furnished 0r t0 be
             furnished to Purchaser at the Closing contains any untrue statement of a material fact 0r, to the
             Company’s knowledge, omits t0 state a material fact necessary in order t0 make the statements
             contained herein 0r therein not misleading in light 0f the circumstances under Which they were
             made. It is understood that this representation is qualiﬁed by the fact that the Company has not
             delivered t0 Purchaser, and has not been requested t0 deliver, a private placement 0r similar
             memorandum 0r any written disclosure of the types of information customarily furnished to
             purchasers 0f securities.


                                 Data Privacy. The Company has taken commercially reasonable measures
                                  2.23
             t0 protect the privacy                                   01' processed by the Company and t0
                                          0f any Personal Information collected
             maintain in conﬁdence such Personal Information and is in compliance in all material respects,



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             with         all   applicable   laws     in    all    relevant      jurisdictions   (including     applicable     regulations
             promulgated thereunder and guidelines published by the applicable privacy governmental
             authorities), the Company’s privacy policies and the requirements 0f any contract or codes of
             conduct to which the            Company        is   a party.   N0   action, 0r t0 the     knowledge 0f the Company, no
             claim, proceeding, compliant, inquiry, audit 0r investigation,                      is   pending 0r threatened against the
             Company            0r any of its ofﬁcers, directors, or employees (in their capacity as such)                by any   private
             party or any governmental authority, foreign or domestic, With respect to Personal Information.
             There has been n0 material     unauthorized access t0 or other misuse by the Company 0r 0n its
                                                    loss,
             behalf of such Personal Information, and, to the knowledge 0f the Company, n0 third party
             misused any Personal Information (as deﬁned below) collected or processed by the Company.
             “Personal Information” means any personally identiﬁable information from any individuals,
             including, without limitation, any customers, prospective customers, employees and/or other
             third parties (including information that alone or in combination With other information can be
             used t0 speciﬁcally identify a person 0r any ﬁnancial services data collected 0r used by the
             Company).

                           3.       Representations and Warranties of Purchaser. Purchaser hereby represents and
             warrants t0 the         Company that:

                                    3.1      Authorization. Purchaser has full               power and      authority t0 enter into the
             Transaction Agreements. The Transaction Agreements t0 Which Purchaser                                   is   a party,   when
             executed and delivered by Purchaser, Will constitute valid and legally binding obligations 0f
             Purchaser, enforceable in accordance With their terms, except (a) as limited by applicable
             bankruptcy, insolvency, reorganization, moratorium, fraudulent conveyance and any other laws
             0f general application affecting enforcement 0f creditors’ rights generally, and as limited by laws
             relating to the availability of speciﬁc performance, injunctive relief or other equitable remedies,
             or (b) t0 the extent the indemniﬁcation provisions contained in the Investor Rights                               Agreement
             may be limited by applicable federal 0r state securities laws.

                                    3.2      Purchase Entirely for               Own      Account. This Agreement         is   made with
             Purchaser in reliance upon Purchaser’s representation to the Company, Which by Purchaser’s
             execution of this Agreement, Purchaser hereby conﬁrms, that the Shares t0 be acquired by
             Purchaser Will be acquired for investment for Purchaser’s                           own    account, not as a nominee 0r
             agent, and not With a View t0 the resale or distribution of any part thereof, and that Purchaser has
             no present intention of selling, granting any participation in, 0r otherwise distributing the same.
             By executing this Agreement, Purchaser further represents that Purchaser does not presently
             have any contract, undertaking, agreement 0r arrangement With any Person t0 sell, transfer 0r
             grant participations t0 such Person 0r to any third Person, With respect to any of the Shares.
             Purchaser has not been formed for the speciﬁc purpose of acquiring the Shares.

                                    3.3      Disclosure 0f Information. Purchaser has had an opportunity to discuss the
             Company’s business, management, ﬁnancial affairs and the terms and conditions 0f the offering
             of the Shares With the Company’s management. The foregoing, however, does not limit 0r
             modify the representations and warranties of the Company                          in Section 2   0f this Agreement or the
             right    0f Purchaser to rely thereon.




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                                    3.4      Restricted Securities. Purchaser understands that the Shares have not been,
             and     Will not be, registered         under the Securities Act, by reason of a speciﬁc exemption from the
             registration provisions0f the Securities Act which depends upon, among other things, the bona
             ﬁde nature of the investment intent and the accuracy 0f Purchaser’s representations as expressed
             herein. Purchaser understands that the Shares are “restricted securities” under applicable U.S.
             federal       and   state securities    laws and   that,   pursuant to these laws, Purchaser must hold the Shares
             indeﬁnitely unless they are registered with the Securities and Exchange                                           Commission and
             qualiﬁed by state authorities, or an exemption from such registration and qualiﬁcation
             requirements is available. Purchaser acknowledges that the Company has n0 obligation t0
             register or qualify the Shares, or the              Common       Stock into Which                    may
                                                                                            be converted, for resale,
                                                                                                             it

             except as set         forth in the Investor Rights Agreement. Purchaser further acknowledges that if an
             exemption from registration 0r qualiﬁcation                      is   available,          it   may    be conditioned on various
             requirements including, but not limited               to,   the time and         manner 0f sale,       the holding period for the
             Shares, and 0n requirements relating t0 the              Company which are outside 0f Purchaser’s                             control,
             and Which the Company              is   under n0 obligation and may not be able to satisfy.

                                    3.5      N0    Public Market. Purchaser understands that n0 public market                          now     exists
             for the Shares,        and   that the   Company     has    made n0    assurances that a public market will ever exist
             for the Shares.


                                    3.6      Legends. Purchaser understands that the Shares, t0 the extent certiﬁcated,
             and any        securities issued in respect         of 0r exchange for the Shares,                    may     bear one 0r   all   0f the
             following legends:

             “THE SHARES REPRESENTED HEREBY HAVE NOT BEEN REGISTERED UNDER THE
             SECURITIES ACT OF 1933, AND HAVE BEEN ACQUIRED FOR INVESTMENT AND
             NOT WITH A VIEW TO, OR IN CONNECTION WITH, THE SALE OR DISTRIBUTION
             THEREOF. NO SUCH TRANSFER MAY BE EFFECTED WITHOUT AN EFFECTIVE
             REGISTRATION STATEMENT RELATED THERETO OR AN OPINION OF COUNSEL IN
             A FORM SATISFACTORY TO THE COMPANY THAT SUCH REGISTRATION IS NOT
             REQUIRED UNDER THE SECURITIES ACT OF 1933.”

                                             (a)       Any     legend set forth          in,    0r required by, the other Transaction
             Agreements.


                                             (b)       Any     legend required by the securities laws of any                         state t0 the
             extent such laws are applicable t0 the Shares represented                           by    the certiﬁcate, instrument, 0r          book
             entry s0 legended.


                                    3.7      Accredited Investor. Purchaser              is    an accredited investor as deﬁned in Rule
             501(a) of Regulation           D promulgated under the Securities Act.
                                    3.8      Foreign Investors. If Purchaser             is    not a United States person (as deﬁned by
             Section 7701(a)(30) 0f the Code), Purchaser hereby represents that                           it has satisﬁed itself as to the

             full   observance 0f the laws 0f           its   jurisdiction in connection with                 any invitation     to subscribe for
             the     Shares 0r any use of this Agreement, including                              (i)   the legal requirements Within              its

             jurisdiction for the purchase 0f the Shares,                  (ii)   any foreign exchange                  restrictions applicable t0




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             such purchase,      any foreign governmental 0r other consents that may need t0 be obtained,
                                        (iii)

             and (iv) the income tax and other tax consequences, if any, that may be relevant to the purchase,
             holding, redemption, sale, 0r transfer of the Shares. Purchaser’s subscription and payment for
             and continued beneﬁcial ownership 0f the Shares Will not Violate any applicable securities or
             other laws 0f Purchaser’s jurisdiction.


                                     3.9          No   General Solicitation. Neither Purchaser, nor any of                           its    ofﬁcers,
             directors,         employees, agents, stockholders 0r partners has either directly 0r indirectly, including,
             through a broker 0r ﬁnder                    engaged in any general solicitation or
                                                            (a)                                                           (b) published               any
             advertisement in            connection with the offer and sale of the Shares.

                                     3.10         Exculpation     Among      Purchaser. Purchaser acknowledges that                        it   is    not
             relying       upon any Person, other than the Founders and                     the   Company      in    making   its   investment 0r
             decision to invest in the    Company.

                                     3.11         Residence. If Purchaser      is   an individual, then Purchaser resides in the                     state
             0r province identiﬁed in the address 0f Purchaser set forth 0n Purchaser’s signature page hereto;
             if   Purchaser        is   a partnership, corporation, limited liability              company          or other entity, then the
             ofﬁce 0r ofﬁces 0f Purchaser in Which                    its   principal place of business         is   identiﬁed in the address
             0r addresses 0f Purchaser set forth on Purchaser’s signature page hereto.


                                     3.12         “Bad Actor”. No Disqualiﬁcation Event is applicable t0 Purchaser, except
             for a Disqualiﬁcation               Event as to Which Rule 506(d)(2)(ii—iv) or (d)(3), is applicable.


                           4.        Conditions to Purchaser’ Obligations                  at Closing.   The   obligations 0f Purchaser t0
             purchase Shares             at the   Closing are subject t0 the fulﬁllment, 0n 0r before the Closing, 0f each 0f
             the following conditions, unless otherwise waived:


                                    4.1           Representations and Warranties. The representations and warranties of the
             Company and            the Founders contained in Section 2 shall be true                    and correct     in all respects as            of
             the Closing.


                                    4.2           Performance. The      Company        shall   have performed and complied with                        all

             covenants, agreements, obligations and conditions contained in this Agreement that are required
             t0   be performed or complied With by the                 Company on          0r before the Closing.


                                    4.3           Compliance Certiﬁcate. The Chief Executive Ofﬁcer 0f the Company
             shall deliver t0           Purchaser      at the   Closing a certiﬁcate certifying that the conditions speciﬁed in
             Sections 4.1 and            ﬂ      have been fulﬁlled.

                                    4.4           Qualiﬁcations. A11 authorizations, approvals or pennits, if any, of any
             governmental authority 0r regulatory body 0f the United States 0r 0f any state that are required in
             connection With the lawful issuance and sale of the Shares pursuant t0 this Agreement shall be
             obtained and effective as of the Closing.


                                     Opinion 0f Company Counsel. Purchaser shall have received from Khan
                                    4.5
             Law      Group, LLC, Masood Khan, counsel for the Company, an opinion, dated as 0f the Closing,
             in substantially the           form    satisfactory t0 counsel to Purchaser.




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                                    4.6       Board of Directors. As 0f the Closing, the authorized                        size   0f the Board
             shall    be three     (3),   and the Board shall consist 0f the Founders.

                                    4.7         Agreement. The Company, Purchaser and the other
                                              Investor Rights
             stockholders 0f the Company named as parties thereto shall have executed and delivered the
             Investor Rights Agreement.


                                    4.8       Right 0f First Refusal and Co-Sale Agreement. The Company, Purchaser
             and the other stockholders of the Company named as parties thereto                                 shall   have executed and
             delivered the Right 0f First Refusal and Co-Sale Agreement.


                                    4.9       Voting Agreement. The Company, Purchaser and the other stockholders 0f
             the    Company named as parties          thereto shall have executed and delivered the Voting Agreement.


                                    4.10      Restated       Certiﬁcate.      The   Company          shall    have      ﬁled      the   Restated
             Certiﬁcate With the Secretary 0f State of Delaware on or prior to the Closing, which shall
             continue t0 be in           full force   and   effect as   0f the Closing.

                                    4.11      Secretary’s Certiﬁcate.        The Secretary 0f the Company
                                                                                                  have delivered        shall
             t0 Purchaser at the Closing a certiﬁcate certifying (i) the Restated Certiﬁcate, (ii) the Bylaws of
             the Company, (iii) resolutions 0f the Board approving the Transaction Agreements and the
             transactions contemplated under the Transaction Agreements, (iv) resolutions 0f the stockholders
             0f the Company approving the Restated Certiﬁcate and (V) as t0 the good standing of the
             Company.

                                    4.12      Proceedings and Documents. All corporate and other proceedings in
             connection With the transactions contemplated                        documents incident thereto
                                                                               at the    Closing and    all

             shall be reasonably satisfactory in form and substance to Purchaser, and Purchaser (0r its
             counsel) shall have received all such counterpart original and certiﬁed 0r other copies 0f such
             documents as reasonably requested.

                                    4.13      Preemptive Rights. The          Company      shall   have   fully satisﬁed (including with
             respect to rights of timely notiﬁcation) or obtained enforceable waivers in respect 0f any
             preemptive or similar rights directly 0r indirectly affecting any 0f its                        securities.


                                    4.   14   Proprietarv Information Agreements.             Each Founder
                                                                                            have entered into      shall
             a Proprietary Information Agreement in the form attached hereto as Exhibit D and Purchaser
             shall have received a copy of all similar agreements executed by other Key Employees.


                           5.       Conditions 0f the Company’s Obligations                    at Closing.        The    obligations 0f the
             Company to           sell   Shares to Purchaser at the Closing are subj ect t0 the fulﬁllment, on 0r before the
             Closing, of each 0f the following conditions, unless otherwise waived:


                                    5.1       Representations and Warranties. The representations and warranties of
             Purchaser contained in Section 3 shall be true and correct in                     all   respects as 0f the Closing.




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                                    5.2       Performance. Purchaser shall have performed and complied with                              all

             covenants, agreements, obligations and conditions contained in this Agreement that are required
             t0   be performed or complied with by them 0n or before the Closing.

                           5.3    Qualiﬁcations. A11 authorizations, approvals or permits, if any, 0f any
             governmental authority or regulatory body of the United States or 0f any state that are required in
             connection with the lawful issuance and sale 0f the Shares pursuant to this Agreement shall be
             obtained and effective as 0f the Closing.


                                    5.4       Investor Rights          Agreement. Purchaser and the Founders                    shall   have
             executed and delivered the Investor Rights Agreement.

                                    5.5       Right 0f First Refusal and Co-Sale Agreement. Purchaser and the other
             stockholders of the            Company named             as parties thereto shall     have executed and delivered the
             Right of First Refusal and Co-Sale Agreement.

                                    5.6       Voting Agreement. Purchaser and the other stockholders 0f the                      Company
             named         as parties thereto shall         have executed and delivered the Voting Agreement.

                            5.7     Services Agreement. Volvo Cars Technology (USA)                                  shall   have executed
             and delivered the Services Agreement.

                                    5.8       1P Assiggment.           Purchaser shall have executed and delivered the IP
             Assignment.

                           6.       Survival 0f Representations and Warranties; Transaction Related Indemniﬁcation.


                                    6. 1      Survival.


                                              (a)           A11 representations, warranties, covenants, and agreements of the
             Company,            the Founders and Purchaser                made   in this    Agreement,     in the Disclosure     Schedule
             delivered t0 Purchaser and               all   agreements, documents and instruments executed and delivered in
             connection herewith            (i)   shall   be deemed   to have been relied upon by the party or parties t0 Whom
             they are           made and     (ii)   shall     bind the parties’ successors and assigns (including, without
             limitation,        any successor       to the    Company by way 0f acquisition, merger                0r otherwise), whether
             so     expressed        or    not,     and,     except   as    otherwise       provided    Agreement, all such
                                                                                                       in   this

             representations, warranties, covenants                   and agreements                     beneﬁt of the parties
                                                                                             shall inure to the
             (subject to Section 7.2) and their                 respective successors and assigns and permitted transferees 0f
             the Securities, whether so expressed 0r not.


                                    (b)    The representations and warranties of the parties contained in this
             Agreement or      any certiﬁcates 0r other writing delivered pursuant to this Agreement 0r in
                                    in
             connection herewith Will survive the Closing until the 12 month anniversary 0f the Closing;
             provided, that the representations and warranties set out in Section 2.1 (Organization, Good
             Standing, Corporate Power and Qualiﬁcation), Section 2.2 (Capitalization), Section 2.3


             w
             (Subsidiaries), Section 2.4 (Authorization), Section 2.5 (Valid Issuance 0f Shares) and Section
                  (Tax Returns and Payments) shall survive the Closing until 30 days following the expiration
             0f the maximum statutory limitations period permitted under applicable law. Notwithstanding the



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             foregoing, any claim for breach 0f a representation 0r warranty in respect 0f which indemnity
             may be        sought under       this   Agreement   shall survive the time at   Which   it    would otherwise terminate
             pursuant to this section if written notice 0f such claim has been given t0 the party against                        whom
             such indemniﬁcation              may be     sought prior t0 the end of the applicable survival period described
             in this Section 6.        1.   Subject t0 any applicable statutes 0f limitations,       all   covenants and agreements
             0f   the parties contained in this             Agreement      will survive the Closing indeﬁnitely in accordance
             with their terms.

                           7.        Covenants.        In consideration of the transactions contemplated hereby, the parties
             agree as follows:


                                     7.1       Non-Solicitation. For a period of        two years from the date 0f the Closing,
             none 0f the Company or any Founder                    shall directly   0r indirectly through one or more 0f any 0f
                                                       encourage any other Person t0 hire 0r solicit, any
             their respective Afﬁliates, hire or solicit, 0r
             individual Who has been employed by, or has an independent contracting arrangement with,
             Purchaser 0r any of its Afﬁliates Within two (2) years prior t0 the date 0f such hiring or
             solicitation, or        encourage any such individual to leave such employment.

                                    Non-Competition Agreement. For a period of two years from the date 0f
                                     7.2
             the Closing, Purchaser    and its Afﬁliates (as deﬁned below) shall not operate a Competitive
             Business; provided, that nothing in this Section 7.2 shall prohibit Purchaser, or any 0f its
             Afﬁliates 0r successors and assigns, from (a) acquiring 0r owning, directly or indirectly, voting
             securities 0f any publicly traded Person, (b) conducting any business that Purchaser conducts as
             0f the date hereof so long as it does not utilize the Transferred 1P, or (c) utilizing technology
             from any Competitive Business for purposes 0f its vehicle production operations. For purposes
             0f this Section 7.2, (i) “Competitive Business” means any other Person engaged, directly 0r
             indirectly, in whole or in part, in the commercialization of a data enablement and/or data sharing
             system that communicates data to and from vehicles using the Android operating system, and (ii)
             “Afﬁliates” means Volvo Car AB and any Person controlled by Volvo Car AB.


                                     7.3       Release Regarding Transferred IP. Purchaser, on behalf of                itself   and   its

             Afﬁliates, hereby releases each of the Founders                     from any breach by them 0f         their   agreements
             with Purchaser 0r                its    Afﬁliates   arising    from the Founder’s activities pertaining             t0    the
             development 0f the Transferred IP prior                t0 the date  0f this Agreement.

                                     7.4       Dilution Protection.                            Company shall, at any time and
                                                                           In the event that the
             from time          t0 time after the date     hereof and continuing until the    Company has received aggregate
             gross proceeds from the sale of equity securities 0f the                      Company in excess 0f $10,000,000,
             issues or          is   deemed
                                         have issued in accordance with Subsection 4.4.3 0f the Restated
                                                to
             Certiﬁcate any Additional Shares 0f Common Stock (as deﬁned in the Restated Certiﬁcate), and
             as a result 0f such issuance, Purchaser’s Pro Rata Portion (as deﬁned below) will fall below 5%,
             then the Company will issue to Purchaser such number of Additional Shares 0f Common Stock
             as necessary t0 increase Purchaser’s Pro Rata Portion t0 5%. For the purposes 0f this Section 7.4,
             “Pro Rata Portion” means a fraction determined by dividing (i) the number 0f shares of
             Common Stock and shares 0f Common Stock issuable 0n the conversion 0f the Preferred Stock
             then held by Purchaser 0r its successors and assigns, by (ii) the total number of shares of




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             Common             Stock then outstanding, in each case determined 0n a fully-diluted, as—converted basis
             as 0f immediately prior t0 such issuance.


                           8.       Miscellaneous.


                                    8.1       Publication. For so long as Purchaser holds            any shares 0f         capital stock   of
             the    Company, none of the Company or                its    Afﬁliates or any of their respective ofﬁcers, directors
             0r employees shall (a) use the corporate name, trade name or logo 0f Purchaser 0r any 0f its
             Afﬁliates (including the “Volvo” name or trademark) in a public manner 0r format (including
             referenceon 0r links to websites, press releases, etc.) 0r (b) issue any statement 0r
             communication t0 any third party (other than t0 their legal, accounting and ﬁnancial advisors,
             Company’s advisory board members,        and other than t0 current and potential investors,
             customers, 0r acquirers under a duty 0f conﬁdentiality) regarding the investment in the                            Company
             by Purchaser without the prior written approval of Purchaser; provided, that the forgoing Will not
             apply for a disclosure 0r publication of such information that is required t0 be made by order 0r
             requirement 0f a court, administrative body 0r other governmental body (a “Compelled
             Disclosure”); provided, further that in the event of a request for any Compelled Disclosure, the
             Company            Will to the extent permitted under applicable                law provide Purchaser With prompt
             written notice of such request and cooperate reasonably with Purchaser in seeking to minimize
             the extent 0f disclosure required that uses the corporate                    name, trade name 0r logo of Purchaser 0r
             any of its Afﬁliates.

                                    8.2       Successors and Assigns. The terms and conditions of this Agreement shall
             inure t0 the beneﬁt 0f and be binding                upon     the respective successors and assigns 0f the parties.
             Nothing        in this   Agreement, express 0r implied,             intended t0 confer upon any party other than
                                                                                is

             the parties hereto or their respective successors                  and assigns any rights, remedies, obligations
             or liabilities under 0r           by reason of        this    Agreement, except as expressly provided in this
             Agreement.

                                    8.3       Countegparts.         Agreement may be executed in two or more
                                                                 This
             counterparts, each of Which shall             be deemed an original, but all of Which together shall constitute
             one and the same instrument. Counterparts                         may be     delivered Via facsimile, electronic mail
             (includingpdf 0r any electronic signature complying With the U.S. federal ESIGN Act 0f 2000,
                 www.docusign.com) 01' other transmission method and any counterpart so delivered shall be
             e.g.,

             deemed to have been duly and validly delivered and be valid and effective for all purposes.

                                    8.4and Subtitles. The titles and subtitles used in this Agreement are
                                              Titles
             used for convenience only and are not t0 be considered in construing or interpreting this
             Agreement.

                                    8.5       Notices.


                                              (a)       A11 notices and other communications given 0r                 made pursuant        t0
             this    Agreement        shall   be    in writing   and   shall   be deemed     effectively given upon the earlier 0f
             actual receipt, 0r (a) personal delivery to the party to be notiﬁed, (b)                           when   sent, if sent       by
             electronic mail 0r facsimile during             normal business hours of the          recipient,   and   if   not sent during
             normal business hours, then 0n the recipient’s next business day,                      (c)   ﬁve days    after   having been




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             sent    by        registered 0r certiﬁed mail, return receipt requested, postage prepaid, 0r (d) one business
             day     after deposit with a nationally                 recognized overnight courier, freight prepaid, specifying next
             business day delivery, With written veriﬁcation 0f receipt. A11 communications shall be sent to
             the respective parties at their address as set forth                     on the signature page, or         t0   such e-mail address,
             facsimile           number 0r address          modiﬁed by written notice given in accordance
                                                              as subsequently
             with this Section 8.51m. If notice is given to the Company, a copy shall also be sent to 231
             Market Place, Suite 226, San Ramon, CA 94583; Attention: Syed M. Saifullah;
             mubeen@aidenabled.com, with a copy t0 Khan Law Group, LC, 9431 Haven Ave., Suite 100,
             Rancho Cucamonga, CA 91730, Attention Masood Khan; mkhan@khanlegal.com; and if notice
             is given to Purchaser, a copy shall also be given to such other person as may be set forth on

             Schedule A and a copy shall be sent to Volvo Car Technology Fund AB, 380 N. Pastoria Ave.,
             Sunnyvale,               CA     94087, Attention: Daniel Karlsson, danielkarlsson.3(a)volvocars.com, with a
             copy         t0   McKennon, Shelton              &   Henn LLP, 401        East Pratt Street, Suite 2600, Baltimore,                MD
             21202, Attention: Sulee Stinson Clay; sulee.clay@mshllp.com.


                                                     (b)      Subject      to   the   limitations    set   forth        in   Delaware     General
             Corporation              Law        §232(e), Purchaser consents to the delivery of any notice to stockholders given
             by the Company under the Delaware General Corporation Law or the Company’s certiﬁcate of
             incorporation or bylaws by (i) facsimile telecommunication t0 the facsimile number set forth 0n
             the signature page (0r t0 any other facsimile number for Purchaser 0r other security holder in the
             Company’s records), (ii) electronic mail t0 the electronic mail address set forth on the signature
             page (or     any other electronic mail address for Purchaser or other security holder in the
                                 t0
             Company’s records), (iii) posting 0n an electronic network together with separate notice t0
             Purchaser or other security holder 0f such speciﬁc posting or (iv) any other form of electronic
             transmission (as deﬁned in the Delaware General Corporation Law) directed t0 Purchaser. This
             consent may be revoked by a Purchaser by written notice to the Company and may be deemed
             revoked in the circumstances speciﬁed in Delaware General Corporation Law §232.

                                           8.6       No    Finder’s Fees.       Each party     represents that     it   neither   is   nor will be
             obligated for any ﬁnder’s fee or commission in connection with this transaction. Purchaser
             agrees to indemnify and to hold harmless theCompany from any liability for any commission 0r
             compensation in the nature 0f a ﬁnder’s or broker’s fee arising out of this transaction (and the
             costs   and expenses 0f defending against such liability or asserted                          liability) for       which Purchaser
             or   any 0f its ofﬁcers, employees 0r representatives is responsible.

                                           8.7       Expenses. The parties will each pay their         own expenses           With respect to the
             transactions contemplated                     by this Agreement.

                                           8.8       Amendments and Waivers. Any term of this Agreement may be amended,
             terminated or waived only With the written consent of the                            Company and           the holders of at least a
             majority of the then outstanding Shares, including Purchaser. Any amendment or waiver effected
             in accordance With this Section 8.8 shall be binding upon Purchaser and each transferee 0f the
             Shares (0r the                Common       Stock issuable upon conversion thereof), each future holder of                    all   such
             securities,         and the Company.

                                           8.9       Severability.    If   any    arbitrator    0r court   ﬁnds any provision 0f                this
             Agreement                to   be invalid or unenforceable, then:            (a) the arbitrator   or court shall enforce the




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             provision to the       maximum
                                        lawful extent and (b) the arbitrator’s 0r court’s ﬁnding 0f invalidity 0r
             unenforceability shall not affect the validity 0r enforceability 0f any other provision 0f this
             Agreement.

                                    Delays 0r Omissions. N0 delay 0r omission t0 exercise any right, power 0r
                                  8.10
             remedy accruing       any party under this Agreement, upon any breach 0r default 0f any other
                                     t0
             party under this Agreement, shall impair any such right, power or remedy 0f such non-breaching
             0r non-defaulting party nor shall it be construed t0 be a waiver of any such breach 0r default, 0r
             an acquiescence therein, or 0f 0r in any similar breach or default thereafter occurring; nor shall
             any waiver 0f any single breach 0r default be deemed a waiver 0f any other breach 0r default
             theretofore 0r thereafter occurring. Any waiver, permit, consent 0r approval of any kind 0r
             character 0n the part 0f any party 0f any breach or default under this Agreement, 0r any waiver
             0n the part 0f any party 0f any provisions or conditions 0f this Agreement, must be in writing
             and shall be effective only t0 the extent speciﬁcally set forth in such writing. A11 remedies, either
             under this Agreement 0r by law 0r otherwise afforded t0 any party, shall be cumulative and not
             alternative.


                                  8.11    Entire Agreement. This         Agreement (including the   exhibits hereto), the
             Restated Certiﬁcate and the other Transaction Agreements constitute the                     full   and    entire
             understanding and agreement between the parties with respect t0 the subject matter hereof, and
             any other written or         oral   agreement relating t0 the subject matter hereof existing between the
             parties are expressly canceled.


                                  8.12    Dispute Resolution.      Any unresolved   controversy or claim arising out 0f 0r
             relating t0 this      Agreement, except as     (i)   otherwise provided in this Agreement, 0r   (ii)   any such
             controversies or claims arising out 0f either party’s intellectual property rights for Which a
             provisional        remedy 0r    equitable relief     is   sought, shall be submitted to arbitration     by one
             arbitratormutually agreed upon by the parties, and if n0 agreement can be reached Within thirty
             (30) days after names 0f potential arbitrators have been proposed by the American Arbitration
             Association (the “‘AAA”), then by one arbitrator having reasonable experience in corporate
             ﬁnance transactions 0f the type provided for in this Agreement and Who is chosen by the AAA.
             The arbitration shall take place in San Francisco, California, in accordance With the AAA rules
             then in effect, and judgment upon any award rendered in such arbitration Will be binding and
             may be entered in any court having jurisdiction thereof. There shall be limited discovery prior t0
             the arbitration hearing as follows: (a) exchange 0f witness lists and copies of documentary
             evidence and documents relating to 0r arising out 0f the issues to be arbitrated, (b) depositions 0f
             all party witnesses and (c) such other depositions as may be allowed by the arbitrators upon a

             showing of good cause. Depositions shall be conducted in accordance With the California Code
             0f Civil Procedure, the arbitrator shall be required t0 provide in writing to the parties the basis
             for the award or order 0f such arbitrator, and a court reporter shall record all hearings, With such
             record constituting the ofﬁcial transcript of such proceedings. Each party will bear its own costs
             in respect 0f any disputes arising under this Agreement. The prevailing party shall be entitled t0
             reasonable attorney’s fees, costs, and necessary disbursements in addition t0 any other relief t0
             which such party may be entitled.




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                                    Governing Law. This Agreement shall be governed by the internal law of
                                  8.13
             the State 0f Delaware, Without regard t0 conﬂict of law principles that would result in the
             application 0f any law other than the law 0f the State 0f Delaware.


                        8.14 WAIVER OF JURY TRIAL. EACH PARTY HEREBY WAIVES ITS
             RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR
             ARISING OUT OF THIS AGREEMENT, THE OTHER TRANSACTION DOCUMENTS,
             THE SECURITIES OR THE SUBJECT MATTER HEREOF OR THEREOF. THE SCOPE OF
             THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL
             DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE
             SUBJECT MATTER OF THIS TRANSACTION, INCLUDING, WITHOUT LIMITATION,
             CONTRACT CLAIMS, TORT CLAIMS (INCLUDING NEGLIGENCE), BREACH OF DUTY
             CLAIMS, AND ALL OTHER COMMON LAW AND STATUTORY CLAIMS. THIS
             SECTION HAS BEEN FULLY DISCUSSED BY EACH OF THE PARTIES HERETO AND
             THESE PROVISIONS WILL NOT BE SUBJECT TO ANY EXCEPTIONS. EACH PARTY
             HERETO HEREBY FURTHER WARRANTS AND REPRESENTS THAT SUCH PARTY
             HAS REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL, AND THAT SUCH
             PARTY KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRLAL RIGHTS
             FOLLOWING CONSULTATION WITH LEGAL COUNSEL.
                                                        Signature Page Follows




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                           IN   WITNESS WHEREOF,            the panics have                 executed         this   Seed Preferred Stock
             Purchase Agreement as 0f the date ﬁrst written above.

                                                                 AIDEN AUTOMOTIVE TECHNOLOGIES, INC.

                                                                                  DocuSigned by:



                                                                 By:        ﬁlms              éblulbwm
                                                                 Namaﬁfé 5§°G13§ﬁ$cﬁram
                                                                 Title:     President




                                                                 FOUNDERS:



                                                                 SY
                                                                        DocuSigned


                                                                    47“ J4
                                                                                     by:


                                                                                        -


                                                                                              MW     SAIFULLAH
                                                                        DocuSigned   by:



                                                                  “MAS           éqUu/«Mm
                                                                 NICLAS GYLLENRAM
                                                                          DocuSig ned   by:



                                                                        jowxs     qum
                                                                 JONXS PENN

                                                                 PURCHASER:


                                                                 VOLVO CAR TECHNOLOGY FUND AB
                                                                                 ocuSigned     by:


                                                                                                       0d”
                                                                                                 7:
                                                                 By:    Quanta“
                                                                 Name: Raymond Millien
                                                                 Title: Managing Director

                                                                                  DocuSigned     by:




                                                                 B y'
                                                                    _
                                                                                 pm»        dessm
                                                                            hm)         brbm     30441--
                                                                 Name: Pﬁr               rv1    sson
                                                                 Title:    Chairman of the Board




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                                                                 EXHIBIT A

                                                      PURCHASER SCHEDULE

                           Name                                                Shares 0f Seed Preferred Stock


                           Volvo Car Technology Fund     AB                               900,000

                           TOTAL                                                          900,000




                                                                     Exhibit   A
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                                                                 EXHIBIT B

                                                     RESTATED CERTIFICATE
                                                             {See attached}




                                                                     Exhibit   B
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                                                                 EXHIBIT C

                                                     DISCLOSURE SCHEDULE

                                                             {See Attached}




                                                                  Exhibit   C
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                                                                 EXHIBIT D


             PROPRIETARY INFORMATION, ASSIGNMENT OF INVENTIONS, NON—SOLICITATION
                              AND NON—COMPETITION AGREEMENT.

                                                             {See attached}




                                                                     Exhibit   D
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      EXHIBIT 4
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                                                                                                         EXECUTION VERSION

                                                                VOTING AGREEMENT
                           THIS VOTING            AGREEMENT
                                                     (this “Agreement”), is made and entered into as 0f
             March         8,   2021         Date”) by and among Aiden Automotive Technologies, Inc., a
                                        (the “Effective
             Delaware corporation (the “Company”), Volvo Car Technology Fund AB, reg n0. 556877-5760,
             a Sweden private limited liability company (together with its successors and assigns, “V01v0”)
             and each other holder 0f the Company’s Seed Preferred Stock, $0.00001 par value per share
             (“Preferred Stock”) listed 0n Schedule A (collectively With Volvo and any subsequent
             investors, 0r transferees,           who become      parties hereto as “Investors” pursuant to Sections 7.1 a 0r

             ﬂ      below, the “‘Investors”), and those certain stockholders 0f the
             options and warrants t0 acquire shares 0f the capital stock of the
                                                                                                      Company and holders 0f
                                                                                                  Company listed 0n Schedule B
             (together with any subsequent stockholders, option holders, warrant holders or any transferees,
             Who become            parties hereto as    “Key Holders” pursuant         t0 Sections
             Holders,” and together collectively with the Investors, the “Stockholders”).
                                                                                                     7.1ng 0r   Q      below, the   “Key


                                                                        RECITALS

                           A.                                     this Agreement, the Company and Volvo are
                                       Concurrently with the execution of
             entering          Seed Preferred Stock Purchase Agreement (the “Purchase Agreement”)
                                into   a
             providing for the sale 0f shares 0f the Preferred Stock, and in connection with that agreement the
             parties desire t0 provide the Investors With the right,              among other rights, t0 designate the election
             0f certain members 0f the board 0f directors 0f the                  Company (the “‘Board”) in accordance With
             the terms 0f this Agreement.


                           B.          The Amended and Restated Certiﬁcate 0f Incorporation of                   the    Company      (the
             “Restated Certiﬁcate”) provides that                  (a) the   holders 0f record 0f a majority 0f the outstanding
             shares 0f the             Company’s common          stock, par value     $000001 per      share   (“Common       Stock”),
             exclusively and as a separate class, shall be entitled t0 elect three directors of the               Company, and
             (b) if the         Company      or the Founders (as     deﬁned   in the Purchaser   Agreement) default or otherwise
             breach any 0f their obligations contained in the Transaction Documents (each, a “Company
             Default”), and such default or breach is not cured Within any applicable cure period 0r waived
             by Volvo, then Volvo                 shall thereafter    be entitled to elect one director 0f the          Company      (the
             “Preferred Director”).

                           C.          The   parties also desire t0 enter into this     Agreement t0 set forth their agreements
             and understandings With respect               t0   how   shares 0f the   Company’s capital stock held by them will
             be voted 0n, 0r tendered in connection with, an acquisition of the Company an increase in the
             number of shares 0f Common Stock required t0 provide for the conversion of the Preferred
             Stock.


                           NOW, THEREFORE, the parties agree as follows:
                           1.          Voting Provisions Regarding the Board.

                                       1.1      Size of the Board.     Each Stockholder agrees       t0 vote, 0r cause t0    be voted,
             all    Shares (as deﬁned below)            owned by such        Stockholder, 0r over Which such Stockholder has
             voting control, from time to time and                 at all times, in   whatever manner as           be necessary t0
                                                                                                               shall
             ensure that the size 0f the Board shall be set and remain at three (3)                   directors, and not t0 exceed
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             nine (9); unless the Preferred Director has been designated t0 the Board in Which event the size
             0f the Board shall be increased by one (1).For purposes of this Agreement, the term “Shares”
             shallmean and include any securities 0f the Company that the holders 0f which are entitled to
             vote for members 0f the Board, including Without limitation, all shares 0f Common Stock and
             Preferred Stock, by whatever name called, now owned 0r subsequently acquired by a
             Stockholder, however acquired, whether through stock                            splits,   stock dividends, reclassiﬁcations,
             recapitalizations, similar events or otherwise.


                                   Board Composition. Each Stockholder agrees to vote, 0r cause to be voted,
                                   1.2
             all Shares owned by such Stockholder, or over Which such Stockholder has voting control, from

             time to time and at all times, in Whatever manner as shall be necessary to ensure that at each
             annual or special meeting 0f stockholders at Which an election of directors is held or pursuant to
             any written consent 0f the stockholders, subject                           t0 Section 5, the following persons shall         be
             elected t0 the Board:


                                               (a)         At any time       after a     Company       Default (as deﬁned below) and
             continuing only thereafter, for so long as Volvo and its Afﬁliates continue to                                 own   Shares, one
             person designated from time t0 time by Volvo (the “Preferred Director”); and


                                               (b)         The remaining      directors permitted       by   the Restated Certiﬁcate shall
             be designated from time                 t0   time by the holders 0f a majority of the shares of Common Stock
             outstanding,        which individuals            shall initially be Niclas Gyllenram, Jonas Fenn and Syed M.
             Saifullah.


                           For purposes 0f           this   Agreement,        (i) an individual, ﬁrm, corporation, partnership,
             association, limited liability               company,   trust   0r any other entity (collectively, a “Person”) shall be
             deemed an “Afﬁliate” 0f another Person Who,                        directly or indirectly, controls,      is   controlled by, 0r
             is   under      common         control with the Person speciﬁed, Where “control” means the possession,
             directly 0r indirectly,          by agreement        or otherwise, 0f at least      50%
                                                                                               of the voting stock, partnership
             interest 0r other         ownership      interest,   0r the power to appoint or remove a maj ority of the board of
             directors 0r other governing                              t0 cause the direction 0f the management 0f
                                                          body 0f such Person, 0r
             such Person and         (ii)      “Company
                                                      Default” means, collectively, any default 0r breach by the
             Company          under any 0f the Transaction Documents of any of the Founder Obligations or the
             Company          Obligations set forth on Schedule C hereto and made a part 0f this Agreement as if
             fully set forth herein and, to the extent such default 0r breach is curable, such default 0r breach
             continues for 15 days after written notice thereof t0 the                      Company.

                                    Board Observer. So long as Volvo holds shares 0f Preferred Stock or
                                   1.3

             Common           Stock,   have the right t0 appoint one representative (a “Board Observer”) t0
                                       it   shall
             observe all meetings 0f the Board in a non-voting capacity, and in this respect, the Company
             shall give such Board Observer copies 0f all notices, minutes, consents, and other materials that
             it provides to the Board at the same time and in the same manner as provided to such directors;

             provided, however that such representative shall agree t0 hold in conﬁdence and trust all
             information so provided. The Board Observer shall not have a right to vote on any matters
             presented t0 the Board.


                                   1.4        Failure t0 Designate a           Board Member. In the absence 0f any designation
             from the Persons 0r groups with the                  right t0 designate a director as speciﬁed above, the director


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             previously designated           by them and then serving shall be reelected if still eligible and            willing to
             serve as          provided herein and otherwise, such Board seat shall remain vacant.

                                    Removal 0f Board Members. Each Stockholder also agrees t0 vote, or
                                        1.5
             cause t0 be voted, all Shares owned by such Stockholder, or over Which such Stockholder has
             voting control, from time to time and at all times, in whatever manner as shall be necessary t0
             ensure       that:


                                            n0 director elected 0r appointed pursuant t0 Section 1.2 may be
                                                  (a)
             removed from ofﬁce unless     (i) such removal is directed 0r approved by the afﬁrmative vote 0f

             the Person(s), or of the holders 0f at least a majority of the Shares entitled under Section 1.2 t0
             designate that director; or (ii) the Person(s) originally entitled to designate or approve such
             director pursuant t0 Section 1.2 is n0 longer so entitled to designate 0r approve such director;


                                            any vacancies created by the resignation, removal or death 0f a
                                                  (b)
             director elected 0r appointed pursuant t0 Sections 1.2,
             provisions of Section 1.2; and
                                                                        0r                   ﬂ Q
                                                                               shall be ﬁlled pursuant t0 the




                                                  (c)        upon    the request 0f any party entitled to designate a director as
             provided in Section 1.2(a) 0r 1.2(b) t0 remove such director, such director shall be removed.

             A11 Stockholders agree t0 execute any written consents required to perform the obligations of this
             Section           1.2,   and the Company agrees at the request 0f any Person 0r group           entitled t0 designate
             directors to call a special         meeting 0f stockholders for the purpose 0f electing         directors.


                                        1.6       No    Liability for Election of Recommended Directors.     N0   Stockholder, nor
             any Afﬁliate 0f any Stockholder, shall have any liability as a result 0f designating a person for
             election as a director for any act 0r omission by such designated person in his 0r her capacity as a
             director 0f the Company, nor shall any Stockholder have any liability as a result 0f voting for any
             such designee in accordance with the provisions of this Agreement.

                                        1.7       No “Bad         Actor” Designees. Each Person With the right t0 designate or
             participate in the designation 0f a director as speciﬁed           above hereby represents and warrants t0
             the    Company            that, to    such Person’s knowledge, none 0f the “bad actor” disqualifying events
             described in Rule 506(d)(1)(i)—(Viii) promulgated under the Securities Act of 1933, as amended
             (the “Securities Act”) (each, a “Disqualiﬁcation Event”), is applicable to such Person’s initial
             designee           named above          except, if applicable, for a Disqualiﬁcation Event as to         Which Rule
             506(d)(2)(ii) 0r            (iii)   or (d)(3)   is   applicable.   Any  whom any Disqualiﬁcation
                                                                                      director designee to
             Event        is                                                 which Rule 506(d)(2)(ii) 0r (iii) 0r
                                applicable, except for a Disqualiﬁcation Event t0
             (d)(3) is applicable, is hereinafter referred t0 as a “Disqualiﬁed Designee”. Each Person With the
             right to designate or participate in the designation 0f a director as speciﬁed above hereby
             covenants and agrees (A) not to designate 0r participate in the designation of any director
             designee Who, t0 such Person’s knowledge, is a Disqualiﬁed Designee and (B) that in the event
             such Person becomes aware that any individual previously designated by any such Person is 0r
             has become a Disqualiﬁed Designee, such Person shall as promptly as practicable take such
             actions as are necessary t0                 remove such Disqualiﬁed Designee from the Board and designate a
             replacement designee                 who   is   not a Disqualiﬁed Designee.
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                           2.       Matters Requiring Preferred Director Approval. At any time that the Preferred
             Director       is   designated t0 the Board of Directors, theCompany hereby covenants and agrees that
             it   shall not, without approval          0f the Board of Directors, which approval must include the
             afﬁrmative vote of the Preferred Director:

                                    2.1    change the principal business of the Company, enter            new lines of business,
             or exit      the current line of business;


                                    2.2     grant 0r issue any option 0r other equity incentive grant With non-standard
             vesting or acceleration provisions;


                                    2.3     issue   any shares of capital stock 0f the Company, other than Exempted
             Securities (as        deﬁned   in the Certiﬁcate 0f Incorporation);

                                    2.4     increase the   number 0f   shares available for issuance under any equity
             incentive plan;


                                    2.5     approve the budget and any strategic operating plan for the              Company    for
             each ﬁscal year;

                                    2.6     ﬁle for bankruptcy or consent t0 the ﬁling 0f any involuntary petition in
             bankruptcy;


                                    make, 0r permit any subsidiary t0 make, any loan 0r advance to, or own
                                    2.7
             any stock or other securities 0f, any subsidiary or other corporation, partnership, 0r other entity
             unless it is Wholly owned by the Company;


                                    2.8     make, 0r permit any subsidiary           t0   make, any loan 0r advance        t0   any
             Person,        including,     Without limitation, any employee 0r director 0f the                 Company    or any
             subsidiary, except advances         and similar expenditures in the ordinary course 0f business 0r under
             the terms of an         employee stock 0r option plan approved by the Board 0f Directors;

                           2.9     enter into any joint venture, partnership, collaboration 0r other strategic
             commercial relationship With any strategic partner, vendor 0r supplier with a value in excess 0f
             $500,000, other than in the ordinary course of business;

                                    2.10    mortgage or pledge, 0r create a security               interest   in,   0r permit any
             subsidiary t0 mortgage, pledge 0r create a security interest in,                any   assets 0f the    Company   other
             than in connection With equipment leases which are secured only                       by   the leased equipment 0r
             pursuant t0 indebtedness permitted by Subsection              5.4(1);


                                    2.11    incur or guarantee any aggregate indebtedness in excess 0f $500,000 that
             is   not already included in a budget approved by the Board 0f Directors;


                                    2.12    make any    capital expenditures in excess       0f $500,000 that are not already
             included in a budget approved by the Board 0f Directors;


                                    2.13    otherwise enter into 0r be a party to any transaction with any director,
             ofﬁcer, 0r employee 0f the          Company 0r any “associate” (as deﬁned in Rule 12b-2 promulgated
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             under the Exchange Act) of any such Person, except for transactions made in the ordinary course
             0f business and pursuant t0 reasonable requirements 0f the Company’s business and upon fair
             and reasonable terms          that are   approved by a majority 0f the Board of Directors;

                                   2.14     hire, terminate,        or change the compensation of the executive ofﬁcers,
             including approving any option grants or stock awards to executive ofﬁcers;


                                   2.15     sell,   assign,       license,    pledge,      0r     encumber material technology                 0r
             intellectual property, other than licenses granted in the ordinary course                          0f business;

                                   2.16     enter into any corporate strategic relationship involving the payment,
             contribution, 0r assignment            by    the   Company      or to the    Company 0f money            or assets greater than
             $500,000 or

                                   2.17     enter into any_agreement regarding                  any of the foregoing items._

                           3.      Board Matters. At any time                          been designated t0 the
                                                                          that the Preferred Director has
             Board 0f Directors, unless otherwise determined by the vote of a majority 0f the directors then in
             ofﬁce, the Board 0f Directors shall meet at least quarterly in accordance with an agreed-upon
             schedule.          The Company       shall    reimburse the nonemployee directors for                    all   reasonable out-of-
             pocket travel expenses incurred (consistent with the Company’s travel policy) in connection with
             attending meetings 0f the Board 0f Directors. The Preferred Director, if any, shall be entitled in
             such person’s discretion t0 be a              member of any committee 0f the Board 0f Directors.

                           4.      Vote   to Increase Authorized          Common
                                                                          Each Stockholder agrees t0 vote 0r
                                                                                         Stock    .




             cause t0 be voted all Shares owned by such Stockholder, 0r over Which such Stockholder has
             voting control, from time to time and at all times, in whatever manner as shall be necessary to
             increase the number of authorized shares of Common Stock from time t0 time to ensure that
             there will be sufﬁcient shares of              Common        Stock available for conversion 0f                 all   of the shares 0f
             Preferred Stock outstanding at any given time.


                           5.      Drag-Along Right.

                                   5.1      Deﬁnitions.         A “Sale   0f the   Company”           shall   mean   either: (a)     a transaction
             0r series 0f related transactions in which a Person, or a group of related Persons, acquires from
             stockholders 0f the        Company shares representing more than 50% 0f the outstanding voting
             power 0f the          Company (a “Stock Sale”); or (b) a transaction that qualiﬁes as a “Deemed
             Liquidation Event”            as   deﬁned     in the Restated Certiﬁcate.


                                   5.2      Actions t0 be Taken. In the event that the Board and Volvo approve a Sale
             0f the       Company     specifying that this Section 5 shall apply t0 such transaction, then, subject t0
             satisfaction        0f each 0f the conditions         set forth in Section 5.3            below, each Stockholder and the
             Company hereby agree:

                                            (a)       if   such transaction requires stockholder approval, with respect to
             all    Shares that such Stockholder owns 0r over which such Stockholder otherwise exercises
             voting power, t0 vote (in person,                  by proxy     0r   by   action   by    written consent, as applicable)          all

             Shares in favor        0f,   and adopt, such Sale 0f the Company (together With any related amendment
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             or restatement t0 the Restated Certiﬁcate required t0 implement such Sale 0f the                             Company) and
             t0 vote in opposition t0          any and   all   other proposals that could reasonably be expected t0 delay 0r
             impair the ability 0f the         Company to consummate such                Sale of the   Company;

                                          (b)       if   such transaction        is   a Stock Sale, t0   sell the   same proportion 0f
             shares of capital stock of the        Company beneﬁcially                held    by such Stockholder   as being sold by
                                                                                                                         is

             Volvo        t0 the   Person t0    whom     Volvo proposes          t0 sell its     Shares, and, except as permitted in
             Section 5.3 below, 0n the same terms and conditions as the other stockholders of the                             Company;

                                          (c)       to execute       and deliver        all    related documentation      and take such
             other action in support of the Sale of the   Company as shall reasonably be requested by the
             Company                                     and provision of this Section 5, including, without
                              in order to carry out the terms
             limitation, executing and delivering instruments 0f conveyance and transfer, and any purchase
             agreement, merger agreement, any associated indemnity agreement, 0r escrow agreement, any
             associated voting, support, 0r joinder agreement, consent, waiver, governmental ﬁling, share
             certiﬁcates duly endorsed for transfer (free and clear 0f impermissible liens, claims and
             encumbrances), and any similar or related documents;


                                          (d)       not t0 deposit, and t0 cause their Afﬁliates not to deposit, except as
             provided in       Agreement, any Shares 0f the Company owned by such party or Afﬁliate in a
                                this
             voting trust 0r subj ect any Shares to any arrangement or agreement With respect t0 the voting of
             such Shares, unless speciﬁcally requested to d0 so by the acquirer in connection With the Sale of
             the    Company;

                                          (e)       to refrain      from   (i)   exercising any dissenters’ rights 0r rights 0f
             appraisal under applicable law at any time With respect t0 such Sale of the Company, 0r (ii);
             asserting  any claim 0r commencing any suit (X) challenging the Sale 0f the Company 0r this
             Agreement, 0r (y) alleging a breach of any ﬁduciary duty 0f the Board (including, Without
             limitation, aiding and abetting breach of ﬁduciary duty) in connection with the evaluation,
             negotiation or entry into the Sale of the Company, 0r the consummation 0f the transactions
             contemplated thereby;


                                          (f)       if the     consideration to be paid in exchange for the Shares pursuant
             t0 this Section 5 includes           any     securities   and due receipt thereof by any Stockholder would
             require under applicable law (X) the registration 0r qualification 0f such securities 0r 0f any
             person as a broker 0r dealer or agent With respect t0 such securities; or (y) the provision t0 any
             Stockholder 0f any information other than such information as a prudent issuer would generally
             furnish in an offering             made     solely to     “accredited investors” as          deﬁned     in Regulation       D
             promulgated under the Securities Act of 1933, as amended (the “Securities Act”), the Company
             may cause t0 be paid t0 any such Stockholder in lieu thereof, against surrender of the Shares
             which would have otherwise been sold by such Stockholder, an amount in cash equal t0 the fair
             value (as determined in good faith by the Board) 0f the securities Which such Stockholder would
             otherwise receive as 0f the date of the issuance of such securities in exchange for the Shares; and


                                          (g)             Volvo, in connection With such Sale of the
                                                    in the event that
             Company, appoints a stockholder representative (the “Stockholder Representative”) with
             respect to matters affecting the Stockholders under the applicable deﬁnitive transaction
             agreements following consummation 0f such Sale of the Company, (X) to consent to                                     (i)   the

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             appointment of such Stockholder Representative,                     (ii)   the establishment 0f any applicable escrow,
             expense or similar fund in connection With any indemniﬁcation 0r similar obligations, and (iii)
             thepayment of such Stockholder’s pro rata portion (from the applicable escrow or expense fund
             or otherwise) 0f any and             all   reasonable fees and expenses to such Stockholder Representative in
             connection With such Stockholder Representative’s services and duties in connection With such
             Sale 0f the Company and its related service as the representative 0f the Stockholders, and (y) not
             to assert any claim 0r commence any suit against the Stockholder Representative or any other
             Stockholder With respect to any action or inaction taken 0r failed t0 be taken by the Stockholder
             Representative, Within the scope 0f the Stockholder Representative’s authority, in connection
             With its service as the Stockholder Representative, absent fraud, bad faith, 0r willful misconduct.

                                    5.3     Conditions. Notwithstanding anything t0 the contrary set forth herein, a
             Stockholder Will not be required t0 comply with Section 5.2 above in connection With any
             proposed Sale 0f the Company (the “Proposed Sale”), unless:

                                            any representations and warranties t0 be made by such Stockholder
                                            (a)
             in connection With the Proposed Sale are limited to representations and warranties related t0
             authority, ownership and the ability t0 convey title to such Shares, including, but not limited t0,
             representations and warranties that (i) the Stockholder holds all right, title and interest in and t0
             the Shares such Stockholder purports t0 hold, free and clear of all liens and encumbrances, (ii)
             the obligations of the Stockholder in connection with the transaction have been duly authorized,
             if applicable, (iii) the documents t0 be entered into by the Stockholder have been duly executed

             by the Stockholder and delivered t0 the acquirer and are enforceable (subject to customary
             limitations) against the Stockholder in accordance with their respective terms; and (iv) neither
             the execution and delivery 0f documents to be entered into by the Stockholder in connection with
             the transaction, nor the performance of the Stockholder’s obligations thereunder, will cause a
             breach or Violation 0f the terms of any agreement t0 Which the Stockholder is a party, 0r any law
             or judgment, order or decree 0f any court 0r governmental agency that applies to the
             Stockholder;


                                            (b)          such Stockholder   is   not required t0 agree (unless such Stockholder
             is   a    Company ofﬁcer       0r employee) to any restrictive covenant in connection With the Proposed
             Sale (including Without limitation any covenant not t0 compete or covenant not t0 solicit
             customers, employees 0r suppliers 0f any party t0 the Proposed Sale);


                                            (c)          such Stockholder and           its    afﬁliates are not required to    amend,
             extend 0r terminate any contractual 0r other relationship With the Company, the acquirer 0r their
             respective afﬁliates, except that the Stockholder                     may be         required t0 agree t0 terminate the
             investment—related documents between or                  among such              Stockholder, the   Company   and/or other
             stockholders of the          Company;

                                            (d)          the Stockholder   is   not liable for the breach of any representation,
             warranty or covenant made by any other Person in connection With the Proposed Sale, other than
             the Company (except to the extent that funds may be paid out 0f an escrow established t0 cover
             breach of representations, warranties and covenants 0f the                           Company   as well as breach   by any
             stockholder of any 0f identical representations, warranties and covenants provided                                 by all
             stockholders);
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                                          (e)           be limited to such Stockholder's applicable share
                                                  liability shall

             (determined based 0n the respective proceeds payable t0 each Stockholder in connection with
             such Proposed Sale in accordance with the provisions of the Restated Certiﬁcate) of a negotiated
             aggregate indemniﬁcation amount that applies equally to                     all   Stockholders but that in n0 event
             exceeds the amount of consideration otherwise payable t0 such Stockholder in connection With
             such Proposed Sale, except With respect t0 claims related to fraud by such Stockholder, the
                       which need not be limited as t0 such Stockholder;
             liability for


                                          (f)     upon   the    consummation 0f the Proposed Sale                (i)   each holder 0f
             each class or series 0f the capital stock 0f the                  Company           will receive the       same form of
             consideration for their shares of such class or series as             is   received    by   other holders in respect of
             their shares       0f such same class 0r series of stock, and
                                                                         any holders 0f any capital stock of the
                                                                                   if

             Company are given a choice as t0 the form of consideration t0 be received as a result of the
             Proposed Sale, all holders of such capital stock Will be given the same option, (ii) each holder 0f
             a series 0f Preferred Stock will receive the same amount of consideration per share of such series
             of Preferred Stock as is received by other holders in respect 0f their shares 0f such same series,
             (iii) each holder of Common Stock Will receive the same amount of consideration per share of

             Common Stock as is received by other holders in respect of their shares 0f Common Stock, and
             (iv) unless waived pursuant t0 the terms 0f the Restated Certiﬁcate and as may be required by
             law, the aggregate consideration receivable by all holders 0f the Preferred Stock and Common
             Stock shall be allocated among the holders of Preferred Stock and Common Stock 0n the basis of
             the relative liquidation preferences to which the holders of each respective series 0f Preferred
             Stock and the holders of Common Stock are entitled in a Deemed Liquidation Event (assuming
             for this purpose that the Proposed Sale is a Deemed Liquidation Event) in accordance with the
             Company’s Certiﬁcate of Incorporation in effect immediately prior t0 the Proposed Sale;
             provided, however, that, notwithstanding the foregoing provisions of this Section 5.31:), if the
             consideration t0 be paid in exchange for the Key Holder Shares 0r Investor Shares, as applicable,
             pursuant t0 this Section 5.3g i) includes any securities and due receipt thereof by any Key Holder
             0r Investor would require under applicable law (X) the registration or qualiﬁcation of such
             securities 0r 0f any person as a broker 0r dealer 0r agent With respect t0 such securities; 0r (y) the
             provision t0 any Key Holder or Investor 0f any information other than such information as a
             prudent issuer would generally furnish in an offering made solely to “accredited investors” as
             deﬁned in Regulation D promulgated under the Securities Act, the Company may cause to be
             paid to any such Key Holder 0r Investor in lieu thereof, against surrender 0f the Key Holder
             Shares 0r Investor Shares, as applicable, Which would have otherwise been sold by such Key
             Holder 0r Investor, an amount in cash equal to the fair value (as determined in good faith by the
             Board) 0f the securities Which such Key Holder or Investor would otherwise receive as of the
             date of the issuance of such securities in exchange for the Key Holder Shares or Investor Shares,
             as applicable;


                                          (g)     subject      to   clause   (f)   above,        requiring    the      same   form   of
             consideration t0 be available to the holders 0f any single class 0r series 0f capital stock, if any
             holders of any capital stock of the         Company       are given an option as to the           form and amount 0f
             consideration t0 be received as a result 0f the Proposed Sale,                all   holders 0f such capital stock Will
             be given the same option; provided, however, that nothing in this Section 5.3g g) shall entitle any
             holder t0 receive any form 0f consideration that such holder would be ineligible t0 receive as a
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             result       0f such holder’s failure t0 satisfy any condition, requirement 0r limitation that                   is   generally
             applicable t0 the        Company’s     stockholders.


                                            (h)     the Electing Holders       shall     exercise   its    rights    pursuant t0 this
             Section 5 by delivering a written notice (the “Drag—along Notice”) t0 each Stockholder n0 later
             than 20 days prior to the closing date of such Proposed Sale. The Drag—along Notice shall make
             reference to the Electing Holder’s rights and obligations hereunder and shall describe in
             reasonable detail:


                                            (i)     the   number 0f shares 0f Common Stock            to   be sold by Volvo,          if the

                                   Proposed Sale    is   structured as a Stock Sale;


                                            (ii)    the identity of the third party purchaser;


                                            (iii)   the proposed date, time     and location 0f the closing of the Proposed
                                    Sale;


                                            (iv)  the per share purchase price and the other material terms and
                                   conditions  of the Proposed Sale, including a description 0f any non-cash
                                   consideration in sufﬁcient detail t0 permit the valuation thereof; and


                                            (V)     a copy of any form 0f        all    deﬁnitive agreements proposed t0 be
                                   executed in connection therewith.

                                    5.4     Restrictions    0n Sales of Control of the Company.            N0   Stockholder shall be
             a party t0 any Stock Sale unless (a) all holders of Preferred Stock are allowed t0 participate in
             such transaction(s) and (b) the consideration received pursuant t0 such transaction is allocated
             among         the parties thereto in the     manner speciﬁed    in the    Company’s Certiﬁcate 0f Incorporation
             in     effect      immediately prior t0 the Stock Sale (as           if    such transaction(s) were a                 Deemed
             Liquidation Event), unless the holders of at least the requisite percentage required t0 waive
             treatment 0f the transacti0n(s) as a              Deemed    Liquidation Event pursuant t0 the terms of the
             Restated Certiﬁcate, elect to allocate the consideration differently by written notice given t0 the
             Company at least 10 days prior t0 the effective date of any such transaction or series of related
             transactions.


                           6.      Remedies.

                                    6.1     Covenants 0f the Company. The Company agrees                   to use its    commercially
             reasonable best efforts, Within the requirements 0f applicable law, t0 ensure that the rights
             granted under this Agreement are effective and that the parties enjoy the beneﬁts 0f this
             Agreement. Such actions include, without limitation, the use 0f the Company’s commercially
             reasonable best efforts t0 cause the nomination and election 0f the directors as provided in this
             Agreement.

                                    6.2     Irrevocable Proxy and      Power of Attornev. Each party                to this   Agreement
             hereby constitutes and appoints as the proxies 0f the party and hereby grants a power 0f attorney
             t0 the Chief Executive Ofﬁcer 0f the Company, and a designee of Volvo, and each of them, With
             full    power 0f       substitution, With respect t0 the matters set forth herein, including, Without



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             limitation, votes to increase authorized shares pursuant t0 Section 2                             hereof and votes regarding
             any Sale 0f the Company pursuant                      t0 Section 5 hereof,    and hereby authorizes each of them               to
             represent and vote, if and only if the party                   (i) fails t0 vote,   or    (ii)   attempts t0 vote (whether   by
             proxy, in person or             by   written consent), in a       manner Which           is   inconsistent with the terms 0f
             Sections 2 and
                         i of this Agreement, all of such party’s Shares in favor of the election 0f persons
             as members of the Board determined pursuant to and in accordance with the terms and
             provisions of this Agreement 0r the increase 0f authorized shares or approval of any Sale 0f the
             Company            pursuant t0 and in accordance with the terms and provisions 0f Sections 2 and                               i,
             respectively, of this           Agreement 0r         to take   any action reasonably necessary            to effect Sections   2
             and    é, respectively, of this Agreement.                The power 0f attorney granted hereunder              shall authorize
             the Chief Executive   Ofﬁcer 0f the Company t0 execute and deliver the documentation referred t0
             in Section 5.210)  on behalf of any party failing t0 do so within ﬁve business days of a request by
             the Company. Each of the proxy and power 0f attorney granted pursuant t0 this Section 6.2 is
             given in consideration of the agreements and covenants 0f the Company and the parties in
             connection With the transactions contemplated by this Agreement and, as such, each is coupled
             with an interest and shall be irrevocable unless and until this Agreement terminates 0r expires
             pursuant t0 Section 6 hereof. Each party hereto hereby revokes any and all previous proxies or
             powers 0f attorney with respect to the Shares and shall not hereafter, unless and until this
             Agreement terminates or expires pursuant to Section 6 hereof, purport to grant any other proxy
             0r power of attorney With respect t0 any of the Shares, deposit any 0f the Shares into a voting
             trust 0r enter into any agreement (other than this Agreement), arrangement 0r understanding with

             any person,         directly 0r indirectly, t0 vote, grant         any proxy 0r give instructions With respect          to the
             voting of any of the Shares, in each case, With respect to any 0f the matters set forth herein.


                                    6.3        Speciﬁc Enforcement. Each party acknowledges and agrees that each
             party hereto will be irreparably          damaged in the event any 0f the provisions 0f this Agreement are
             not performed by the parties in accordance With their speciﬁc terms 0r are otherwise breached.
             Accordingly, it is agreed that each of the Company and the Stockholders shall be entitled t0 an
             injunction t0 prevent breaches of this Agreement, and t0 speciﬁc enforcement 0f this                              Agreement
             and    its   terms and provisions in any action instituted in any court of the United States                      0r any state
             having subj ect matter jurisdiction.

                            6.4    Remedies Cumulative. A11 remedies, either under this Agreement or by
             law or otherwise afforded t0 any party, shall be cumulative and not alternative.

                           7.       “Bad Actor”         Matters.


                                    7.1        Deﬁnitions. For purposes of this Agreement:


                                               (a)     “Company Covered Person” means,
                                                                            with respect t0 the Company as
             an “issuer” for purposes 0f Rule 506 promulgated under the Securities Act, any Person listed in
             the ﬁrst paragraph 0f Rule 506(d)(1).


                                               (b)     “Disqualiﬁed Designee” means any director designee to Whom any
             Disqualiﬁcation Event                is    applicable, except for a Disqualiﬁcation Event as t0 which Rule
             506(d)(2)(ii) or        (iii)   0r (d)(3)   is   applicable.


                                               (c)     “Disqualiﬁcation Event” means a “bad actor” disqualifying event

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             described in Rule 506(d)(1)(i)-(Viii) promulgated under the Securities Act.


                                                        (d) “Rule 506(d) Related Party” means, with respect t0 any Person, any
             other Person that                     is   a beneﬁcial owner 0f such ﬁrst Person’s securities for purposes of Rule
             506(d) under the Securities Act.

                                             7.2        Representations.


                                       Each Person with the right t0 designate 0r participate in the
                                                        (a)
             designation 0f a director pursuant t0 this Agreement hereby represents that (i) such Person has
             exercised reasonable care t0 determine whether any Disqualiﬁcation Event is applicable to such
             Person, any director designee designated by such Person pursuant to this Agreement 0r any of
             such Person’s Rule 506(d) Related Parties, except, if applicable, for a Disqualiﬁcation Event as
             t0 which Rule 506(d)(2)(ii) 0r (iii) 0r (d)(3) is applicable and (ii) n0 Disqualiﬁcation Event is
             applicable to such Person, any                                Board member designated by such Person pursuant            t0 this
             Agreement 0r any 0f such Person’s Rule 506(d) Related Parties, except, if applicable, for a
             Disqualiﬁcation Event as t0 Which Rule 506(d)(2)(ii) 0r (iii) 0r (d)(3) is applicable.
             Notwithstanding anything to the contrary in this Agreement, each Investor makes n0
             representation regarding any Person that may be deemed t0 be a beneﬁcial owner 0f the
             Company’s voting equity securities held by such Investor solely by Virtue 0f that Person being 0r
             becoming a party to (X) this Agreement, as may be subsequently amended, or (y) any other
             contract or written agreement t0 which the Company and such Investor are parties regarding (1)
             the voting power, Which includes the power t0 vote 0r t0 direct the voting of, such security;
             and/or (2) the investment power, which includes the power to dispose, 0r t0 direct the disposition
             of,    such security.

                                     The Company hereby represents and warrants to the Investors that no
                                                        (b)
             Disqualiﬁcation Event is applicable t0 the Company 0r, to the Company’s knowledge, any
             Company Covered Person, except for a Disqualiﬁcation Event as t0 Which Rule 506(d)(2)(ii—iV)
             0r (d)(3)           is   applicable.


                                             7.3        Covenants. Each Person with the right t0 designate or participate in the
             designation of a director pursuant t0 this Agreement covenants and agrees                              (i)   not to designate 0r
             participate in the designation of                            any director designee who,   to   such Person’s knowledge,     is   a
             Disqualiﬁed Designee,                            (ii)   t0   exercise reasonable care t0 determine Whether any director
             designee designated by such person is a Disqualiﬁed Designee, (iii) that in the event such Person
             becomes aware that any individual previously designated by any such Person is 0r has become a
             Disqualiﬁed Designee, such Person shall as promptly as practicable take such actions as are
             necessary to remove such Disqualiﬁed Designee from the Board and designate a replacement
             designee            Who     is                    (iv) t0 notify the Company promptly in writing
                                              not a Disqualiﬁed Designee, and
             in the event a Disqualiﬁcation Event becomes applicable t0 such Person or any 0f its Rule 506(d)
             Related Parties, 0r, t0 such Person’s knowledge, t0 such Person’s initial designee named in
             Section 1, except, if applicable, for a Disqualiﬁcation Event as t0 which Rule 506(d)(2)(ii) or
             (iii)    or (d)(3)         is   applicable.


                          Term. This Agreement shall be effective as 0f the date hereof and shall continue
                            8.

                          and shall terminate upon the earliest t0 occur 0f (a) the consummation of the
             in effect until
             Company’s ﬁrst underwritten public offering 0f its Common Stock (other than a registration

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             statement relating either to the sale of securities to employees 0f the                Company    pursuant to    its

             stock option,            stock purchase 0r similar plan 0r an            SEC Rule     145 transaction);   (b)   the
             consummation of a Sale 0f the Company and                 distribution   of proceeds t0 or escrow for the beneﬁt
             of the Stockholders in accordance With the Restated Certiﬁcate, provided that the provisions of
             Section 3 hereof Will continue after the closing of any Sale of the                     Company    t0 the extent
             necessary t0 enforce the provisions 0f Section 3 with respect t0 such Sale of the Company; and
             (c)    termination of this Agreement in accordance With Section 9.8 below.


                           9.       Miscellaneous.


                                    9.1     Additional Parties.


                                            (a)      Notwithstanding anything t0 the contrary contained herein,          if the

             Company            issues additional shares of Preferred Stock after the date hereof, as a condition to the
             issuance 0f such shares the          Company              any purchaser of such shares become a
                                                                shall require that
             party t0 this Agreement by executing and delivering (i) the Adoption Agreement attached t0 this
             Agreement as Exhibit A, 0r (ii) a counterpart signature page hereto agreeing to be bound by and
             subj ect t0 the terms of this Agreement as an Investor and Stockholder hereunder. In either event,
             each such person shall thereafter be deemed an Investor and Stockholder for all purposes under
             this Agreement.


                                            (b)      In the event that after the date 0f this Agreement, the        Company
             enters into an agreement with any Person t0 issue shares 0f capital stock t0 such Person (other
             than t0 a purchaser of Preferred Stock described in Section 9.11211 above), then, the Company
             shall cause         such Person, as a condition precedent to entering into such agreement, to become a
             party t0 this Agreement by executing an Adoption Agreement in the form attached hereto as
             Exhibit A, agreeing t0 be bound   by and subject to the terms of this Agreement as a Stockholder
             and thereafter such person shall be deemed a Stockholder for all purposes under this Agreement.

                                    9.2     Transfers.   Each    transferee or assignee 0f       any Shares subject    to    this
             Agreement shall continue to be subject t0 the terms hereof, and, as a condition precedent t0 the
             Company’s recognition of such transfer, each transferee 0r assignee shall agree in writing to be
             subject to each 0f the terms of this Agreement by executing and delivering an Adoption
             Agreement substantially in the form attached hereto as Exhibit A. Upon the execution and
             delivery 0f an Adoption Agreement by any transferee, such transferee shall be deemed to be a
             party hereto as if such transferee were the transferor and such transferee’s signature appeared 0n
             the signature pages of this Agreement and shall be deemed t0 be an Investor and Stockholder, 0r
             Key Holder and Stockholder, as applicable. The Company shall not permit the transfer of the
             Shares subject t0 this Agreement 0n its books 0r issue a new certiﬁcate representing any such
             Shares unless and until such transferee shall have complied with the terms 0f this Section 9.2.
             Each certiﬁcate instrument, 0r book entry representing the Shares subject to this Agreement if
             issued on or after the date of this Agreement shall be notated by the Company with the legend set
             forth in Section 9. 12.


                                    9.3     Successors and Assigns. The terms and conditions 0f this Agreement shall
             inure t0 the beneﬁt 0f and be binding              upon   the respective successors and assigns 0f the parties.
             Nothing        in this   Agreement, express 0r implied,       is   intended to confer upon any party other than
             the parties hereto 0r their respective successors                and assigns any   rights, remedies, obligations,


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             or liabilities under 0r              by reason of       this   Agreement, except as expressly provided                in this
             Agreement.

                                    Governing Law. This Agreement shall be governed by the internal law of
                                       9.4
             the State 0f Delaware, Without regard t0 conﬂict 0f law principles that would result in the
             application 0f any law other than the law 0f the State 0f Delaware.


                                       9.5       Countegparts.     This Agreement may be executed in two                      0r    more
             counterparts, each of which shall be                 deemed an original, but all 0f which together shall         constitute
             one and the same instrument. Counterparts                        may be   delivered Via facsimile, electronic mail
             (includingpdf or any electronic signature complying With the U.S. federal ESIGN Act 0f 2000,
                 www.docusign.com) or other transmission method and any counterpart s0 delivered shall be
             e.g.,

             deemed to have been duly and validly delivered and be valid and effective for all purposes.

                                       and Subtitles. The titles and subtitles used in this Agreement are
                                       9.6       Titles
             used for convenience only and are not t0 be considered in construing or interpreting this
             Agreement.

                                       9.7      Notices.


                                                 (a)   A11 notices and other communications given or          made pursuant        to this
             Agreement          shall    be            be deemed effectively given upon the earlier 0f actual
                                               in writing   and   shall
             receipt or (a) personal delivery t0 the party t0 be notiﬁed, (b) When sent, if sent by electronic
             mail or facsimile during normal business hours of the recipient, and if not sent during normal
             business hours, then 0n the recipient’s next business day, (c) ﬁve days after having been sent by
             registered 0r certiﬁed mail, return receipt requested, postage prepaid, or (d) one (1) business                          day
             after the business              day 0f deposit with a nationally recognized overnight          courier, freight prepaid,
             specifying next business day delivery, With written veriﬁcation 0f receipt. A11 communications
             shall    be sent     t0 the respective parties at their address as set forth           on Schedule       A   0r Schedule   B
             hereto, 0r t0 such email address, facsimile                     number    0r address as subsequently         modiﬁed by
             written notice given in accordance With this Section 7.7. If notice                      is   given t0   the Company, a
             copy            be sent to 231 Market Place, Suite 226, San Ramon, CA 94583 Attention: Syed
                          shall also
             M. Saifullah]; mubeen@aidenabled.com, with a copy to Khan Law Group LC, 9431 Haven Ave.,
             Suite 100, Rancho Cucamonga, CA 91730, mkhan@khanlegal.com; and if notice is given t0
             Stockholders, a copy shall also be given t0 Volvo Car Technology Fund AB, SE-405 31
             Géteborg, Sweden, Attention: Daniel Karlsson, danielkarlsson.3@volvocars.com. with a copy
             t0 McKennon Shelton & Henn, LLP, 401 East Pratt Street, Suite 2600, Baltimore, MD 21202,
             Attention: Sulee S. Clay; sulee.clav@mshllp.com.


                                                 (b)      Consent    t0   Electronic Notice.      Each Investor and Key Holder
             consents t0 the delivery of any stockholder notice pursuant t0                     the Delaware General Corporation
             Law      (the     “‘DGCL”), as amended 0r superseded from time                    t0 time,   by electronic transmission
             pursuant to Section 232 0f the               DGCL (0r any successor thereto) at the electronic mail address 0r
             the facsimile         number        set forth below such Investor’s or Key Holder’s name 0n the Schedules
             hereto, as updated               from time
                                                time by notice t0 the Company, 0r as on the books of the
                                                            t0
             Company. To the extent that any notice given by means of electronic transmission is returned or
             undeliverable for any reason, the foregoing consent shall be deemed t0 have been revoked until a
             new      0r corrected electronic mail address has been provided, and such attempted Electronic

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             Notice shall be ineffective and deemed to not have been given.                               Each Investor and Key Holder
             agrees to promptly notify the                  Company 0f any change            in   its   electronic mail address, and that
             failure to      do so   shall not affect the foregoing.


                                     9.8          Consent    Required    t0   Amend, Modify, Terminate                    or   Waive.   This
             Agreement may be amended, modiﬁed or terminated (other than pursuant to Section 8) and the
             observance of any term hereof may be waived (either generally 0r in a particular instance and
             either retroactively 0r prospectively) only by a written instrument executed by (a) the Company;

             (b) the Key Holders holding a majority 0f the Shares then held by the Key Holders Who are then
             providing services t0 the Company as ofﬁcers, employees 0r consultants; and (c) the holders of a
             majority 0f the shares of Common Stock issued 0r issuable upon conversion of the shares 0f
             Preferred Stock held                 by    the Investors (voting together as a single class), including Volvo.
             Notwithstanding the foregoing:


                                  (a)    this Agreement may not be amended, modiﬁed 0r terminated and
             the observance 0fany term 0f this Agreement may not be waived With respect to any Investor 0r
             Key Holder Without the written consent 0f such Investor 0r Key Holder unless such amendment,
             modiﬁcation, termination or waiver applies t0                    all   Investors 0r        Key   Holders, as the case   may   be,
             in the       same   fashion;


                                 (b)    the provisions 0f Sections 1.21a2 and this Section 9.81b)                                may not be
             amended, modiﬁed, terminated 0r waived Without the written consent of Volvo;

                                                  (c)      the consent 0f the        Key Holders         shall not    be required for any
             amendment, modiﬁcation, termination 0r waiver                          if   such amendment, modiﬁcation, termination,
             0r waiver either (A)            is   not directly applicable to the rights 0f the            Key    Holders hereunder; 0r (B)
             does not adversely affect the rights 0f the                  Key Holders         in a      manner    that is different than the
             effect       on the   rights   0f the other parties hereto;


                                                  (d)      Schedule   A hereto may be amended by the Company from time to
             time in accordance With Section 1.3                    of the Purchase Agreement t0 add information regarding
             additional Purchasers (as                  deﬁned   in the Purchase     Agreement) without the consent 0f the other
             parties hereto;        and

                                                  (e)      any provision hereof may be waived by the waiving party 0n such
             party’s       own behalf,      Without the consent 0f any other party.

             The Company shall give prompt written notice 0f any amendment, modiﬁcation, termination, or
             waiver hereunder t0 any party that did not consent in writing thereto. Any amendment,
             modiﬁcation, termination, 0r waiver effected in accordance With this Section 7.8 shall be binding
             on each party and all 0f such party’s successors and permitted assigns, Whether or not any such
             party, successor or assignee entered into 0rapproved such amendment, modiﬁcation, termination
             0r waiver. For purposes of this Section 9.8, the requirement of a written instrument  may be
             satisﬁed in the form of an action by written consent 0f the Stockholders circulated by the
             Company and executed by the Stockholder parties specified, Whether or not such action by
             written consent makes explicit reference t0 the terms 0f this Agreement.




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                                   Delays 0r Omissions. No delay or omission to exercise any right, power or
                                   9.9
             remedy accruing t0 any party under this Agreement, upon any breach 0r default of any other
             party under this Agreement, shall impair any such right, power 0r remedy 0f such non—breaching
             or non-defaulting party nor shallit be construed t0 be a waiver 0f any such breach 0r default, 0r

             an acquiescence therein, 0r 0f 0r in any similar breach or default thereafter occurring; nor shall
             any waiver of any single breach or default be deemed a waiver of any other breach 0r default
             previously or thereafter occurring.             Any    waiver, permit, consent or approval of any kind or
             character 0n the part 0f any party 0f any breach 0r default under this Agreement, or any waiver
             0n the part of any party 0f any provisions 0r conditions 0f this Agreement, must be in writing
             and shall be effective only to the extent speciﬁcally set forth in such writing. A11 remedies, either
             under this Agreement 0r by law 0r otherwise afforded t0 any party, shall be cumulative and not
             alternative.


                                   9.10    Severability.     The   invalidity 0r unenforceability 0f              any provision hereof
             shall in      no way   affect the validity 0r enforceability         0f any other provision.

                                   9.11                         Agreement (including the Exhibits hereto), the
                                           Entire Aggeement. This
             Restated Certiﬁcate and the              other Transaction Agreements(as deﬁned in the Purchase
             Agreement)    constitute the full and entire understanding and  agreement  between the parties with
             respect to the subject matter hereof, and any other written 0r oral agreement relating t0 the
             subj ect matter hereof existing between the parties is expressly canceled.


                                   9.12    Share Certificate Legend. Each certiﬁcate, instrument, 0r book entry
             representing any Shares issued after the date hereof shall be notated                           by   the   Company with   a
             legend reading substantially as follows:

                           “THE SHARES REPRESENTED HEREBY ARE SUBJECT TO A VOTING
                           AGREEMENT, AS MAY BE AMENDED FROM TIME TO TIME, (A COPY
                           OF WHICH MAY BE OBTAINED UPON WRITTEN REQUEST FROM THE
                           COMPANY), AND BY ACCEPTING ANY INTEREST IN SUCH SHARES
                           THE PERSON ACCEPTING SUCH INTEREST SHALL BE DEEMED TO
                           AGREE TO AND SHALL BECOME BOUND BY ALL THE PROVISIONS OF
                           THAT VOTING AGREEMENT, INCLUDING CERTAIN RESTRICTIONS ON
                           TRANSFER AND OWNERSHIP SET FORTH THEREIN.”

             The Company, by its execution of this Agreement, agrees                            that   it   Will cause the certiﬁcates
             instruments, or book entry evidencing the Shares issued after                      the date hereof t0 be notated with
             the legend required  by this Section 7.12 of this Agreement, and it shall supply, free 0f charge, a
             copy of       Agreement to any holder 0f such Shares upon written request from such holder t0
                            this
             the Company at its principal ofﬁce. The parties t0 this Agreement d0 hereby agree that the
             failure to cause the certiﬁcates, instruments, 0r book entry evidencing the Shares to be notated
             with the legend required by this Section 7. 12 herein and/or the failure 0f the Company t0 supply,
             free 0f charge, a copy of this Agreement as provided hereunder shall not affect the validity 0r
             enforcement 0f this Agreement.

                                   9.13    Stock   Splits,   Stock Dividends,        etc.   In the event of any issuance of Shares
             0r the voting securities of the        Company        hereafter to any 0f the Stockholders (including, without
             limitation, in connection with         any stock      split,   stock dividend, recapitalization, reorganization, 0r

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             the like), such Shares shall              become        subject t0 this   Agreement and    shall   be notated with the
             legend set forth in Section            9. 12.



                                    9.14       Manner of Voting. The voting 0f Shares pursuant t0 this Agreement may
             be effected in              person, by proxy, by written consent 0r in any other manner permitted by
             applicable law.             For the avoidance 0f doubt, voting 0f the Shares pursuant t0 the Agreement need
             not    make      explicit reference to the terms         of this Agreement.

                                    9.15       Further Assurances.       At any time 0r from time     to time after the date hereof,
             the parties agree t0 cooperate with each other,and at the request of any other party, to execute
             and deliver any further instruments 0r documents and to take all such further action as the other
             party        may reasonably request in order to           carry out the intent of the parties hereunder.


                                   Costs of Enforcement. If any party t0 this Agreement seeks to enforce its
                                    9.16
             rights          Agreement by legal proceedings, the non-prevailing party shall pay all costs and
                          under   this
             expenses incurred by the prevailing party, including, Without limitation, all reasonable attorneys’
             fees.


                                    9.17       Aggregation 0f Stock. A11 Shares held or acquired by a Stockholder and/or
             its    Afﬁliates shall be aggregated together for the purpose of determining the availability of any
             rights       under   this    Agreement, and such Afﬁliated persons            may    apportion such rights as        among
             themselves in any manner they               deem       appropriate.


                                  Spousal Consent. If any individual Stockholder is married on the date of
                                    9.18
             this Agreement, such Stockholder’s spouse shall execute and deliver to the Company a consent
             0f spouse in the form of Exhibit                B     hereto (“Consent 0f Spouse”), effective       011   the date hereof.
             Notwithstanding the execution and delivery thereof, such consent shall not be deemed t0 confer
             or convey t0 the spouse any rights in such Stockholder’s Shares that d0 not otherwise exist                              by
             operation 0f law or the agreement 0f the parties. If any individual Stockholder should marry or
             remarry subsequent t0 the date 0f                  this Agreement, such Stockholder shall Within 30 days
             thereafter obtain his/her            new    spouse’s acknowledgement 0f and consent t0 the existence and
             binding effect of               contained in this Agreement by causing such spouse t0 execute
                                          all restrictions

             and deliver a Consent 0f Spouse acknowledging the restrictions and obligations contained in this
             Agreement and agreeing and consenting to the same.

                                    9.19       Arbitration.   Any unresolved controversy         0r claim arising out 0f 0r relating
             to     this    Agreement, except as             (i)   otherwise provided in this Agreement,           or    (ii)   any such
             controversies or claims arising out 0f either party’s intellectual property rights for which a
             provisional          remedy 0r       equitable relief      is   sought, shall be submitted to arbitration           by one
             arbitratormutually agreed upon by the parties, and if n0 agreement can be reached within 30
             days after names 0f potential arbitrators have been proposed by the American Arbitration
             Association (the “‘AAA”), then by one arbitrator having reasonable experience in corporate
             ﬁnance transactions 0f the type provided for in this Agreement and Who is chosen by the AAA.
             The arbitration shall take place in San Francisco, California, in accordance with the AAA rules
             then in effect, and judgment upon any award rendered in such arbitration Will be binding and
             may be entered in any court having jurisdiction thereof. There shall be limited discovery prior t0
             the arbitration hearing as follows: (a) exchange 0f Witness lists and copies of documentary
             evidence and documents relating to 0r arising out 0f the issues to be arbitrated, (b) depositions 0f

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             allparty witnesses and (c) such other depositions as may be allowed by the arbitrators upon a
             showing 0f good cause. Depositions shall be conducted in accordance With the California Code
             0f Civil Procedure, the arbitrator shall be required t0 provide in writing t0 the parties the basis
             for the       award 0r order 0f such   arbitrator,   and a court reporter   shall record all hearings, with   such
             record constituting the ofﬁcial transcript 0f such proceedings. Each party Will bear              its   own   costs
             in respect0f any disputes arising under this Agreement. The prevailing party shall be entitled to
             reasonable attorney’s fees, costs, and necessary disbursements in addition t0 any other relief t0
             Which such party may be entitled.

                                  9.20    Governing Law. This Agreement          shall be governed by the internal law of
             the State 0f Delaware, Without regard to conﬂict 0f                 law principles that would result in the
             application 0f any law other than the law 0f the State 0f Delaware.


                             WAIVER OF JURY TRLAL: EACH PARTY HEREBY WAIVES ITS
                                  9.21
             RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR
             ARISING OUT OF THIS AGREEMENT, THE OTHER TRANSACTION DOCUMENTS,
             THE SECURITIES OR THE SUBJECT MATTER HEREOF OR THEREOF. THE SCOPE OF
             THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL
             DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE
             SUBJECT MATTER OF THIS TRANSACTION, INCLUDING, WITHOUT LIMITATION,
             CONTRACT CLAIMS, TORT CLAIMS (INCLUDING NEGLIGENCE), BREACH OF DUTY
             CLAIMS, AND ALL OTHER COMMON LAW AND STATUTORY CLAIMS. THIS
             SECTION HAS BEEN FULLY DISCUSSED BY EACH OF THE PARTIES HERETO AND
             THESE PROVISIONS WILL NOT BE SUBJECT TO ANY EXCEPTIONS. EACH PARTY
             HERETO HEREBY FURTHER WARRANTS AND REPRESENTS THAT SUCH PARTY
             HAS REVIEWED THIS WAIVER WITH ITS LEGAL COUNSEL, AND THAT SUCH
             PARTY KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS
             FOLLOWING CONSULTATION WITH LEGAL COUNSEL.
                                                         [Signature Page Follows]




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                           IN   WITNESS WHEREOF,        the parties have executed this Voting      Agreement   as of the
             date ﬁrst written above.


                                                                 AIDEN AUTOMOTIVE TECHNOLOGIES,
                                                                 INC.
                                                                             DocuSigned   by:




                                                                 By:       Ndfféquﬁwm
                                                                           N‘i‘culas
                                                                 Name:                 Gyllenram
                                                                 Title:   President




                                                  SIGNATURE PAGE TO VOTING AGREEMENT
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                           IN   WITNESS WHEREOF,        the parties have executed this Voting      Agreement   as   of the
             date ﬁrst written above.



                                                                 INVESTOR:

                                                                 VOLVO CAR TECHNOLOGY FUND AB
                                                                            DocuSigned   by:




                                                                 By:       7W
                                                                 Name: Raymond Mi'llien
                                                                                           7&9.»


                                                                 Title: Managing Director

                                                                             DocuSigned   by:




                                                                 By;
                                                                           P'zir   llwdssow
                                                                 Name:      ﬁsfzxer$f3§§45h

                                                                 Title:   Chairman 0f the Board




                                                  SIGNATURE PAGE TO VOTING AGREEMENT
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                           IN   WITNESS WHEREOF,        the parties have executed this Voting         Agreement   as of the
             date ﬁrst written above.


                                                                 KEY HOLDERS:
                                                                           DocuSigned by:



                                                                  l
                                                                          jams     Fm
                                                                 JON



                                                                      I
                                                                          43:44                 $9M
                                                                 SYED MUBEEN SAIFULLAH

                                                                             DocuSigned   by:



                                                                          NdAS éqUx/MMIM
                                                                 NIéEAgEWtBL‘ENRAM




                                                  SIGNATURE PAGE TO VOTING AGREEMENT
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                                                             SCHEDULE A

                                                             INVESTORS

             Name and Address                                             Number of Shares Held

             Volvo Car Technology Fund         AB                         900,000 shares of Seed Preferred Stock
             SE-405 31 Géteborg
             Sweden
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                                                             SCHEDULE B

                                                           KEY HOLDERS

             Name and Address                                             Number 0f Shares Held

             Syed Mubeen Saifullah                                        1,3   12,000   Common   Stock

             23 Pebble Ct.
             San Ramon,         CA 94583
             Niclas Gyllenram                                             1,476,000      Common   Stock

             129 Lowell        Ave
             Palo Alto,       CA   94301

             Jonas Fenn                                                   1,3   12,000   Common   Stock

             63   A Manchester St.
             San Francisco,        CA 941 10
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                                                                   SCHEDULE C

                                                          INITIAL OBLIGATIONS

             Founder Obligations:

                    1.     The Company has received, or 0n or prior t0 March 11, 2021 shall have received, gross
                           proceeds 0f at least $500,000 from the sale 0f SAFE instruments to purchasers other than
                           Volvo in accordance with the Seed Stock Purchase Agreement among the Company and
                           the purchaser 0f Preferred Stock (the “Purchase Agreement”).


                           Within 120 days following the Effective Date, the Key Holders (the “Founders”) shall
                           complete 0r have completed and delivered to Volvo an acceptable Business Plan (as
                           deﬁned in the Investor Rights Agreement between the Company and Volvo dated as of
                           the Effective Date) to the reasonable satisfaction 0f Volvo.


                           Founders   shall   make every         reasonable effort t0 organize, promote and market the
                           Company and        its   products and services, and shall deliver to Volvo an acceptable
                           marketing plan Within         120 days following the Effective Date, t0 the reasonable
                           satisfaction   0f Volvo.


                           Founders Will continue        their    employment With Volvo Car Group         t0 the reasonable
                                     of their current, respective managers, and agree that any of their obligations
                           satisfaction
                           t0 the Company shall be subordinate to their obligations t0 Volvo Car Group. The
                           development of any Company products shall occur outside the Founder’s normal work
                           schedule at Volvo Car Group.


                           The Founders” obligations under that certain Right 0f First Refusal and Co-Sale
                           Agreement dated as 0f the Effective Date among the Company and the stockholders of
                           the Company party thereto (the “Co-Sale Agreement”)


             Company          Obligations:

                    1.     Within 12 months following the Effective Date, the Company                 shall ship a   working
                           prototype of a product that can be deployed in a testing environment to an early-adopter
                           customer to get feedback/early results and constantly     iterate the   product from thereon.

                           Within 18 months following the Effective Date, the Company shall demonstrate a sales
                           and/or partnership pipeline, in each case subj ect to the reasonable satisfaction 0f Volvo.


                           The Company shall submit monthly and quarterly financial reports to Volvo for the ﬁrst
                           24 months following the Effective Date, with basic P&L and cash ﬂow items.

                           The Company’s      obligations under the Co-Sale Agreement.
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                                                                              EXHIBIT A

                                                                      ADOPTION AGREEMENT

                     This Adoption Agreement (“Adoption Agreement”) is executed on                              20_, by the                ,


             undersigned (the “Holder”) pursuant to the terms 0f that certain Voting Agreement dated as 0f March 8, 2021 (the
             “Agreement”), by and among the Company and certain 0f its Stockholders, as such Agreement may be amended 0r
             amended and          restated hereafter. Capitalized terms used but not         deﬁned     in this   Adoption Agreement           shall   have the
             respective meanings ascribed t0 such terms in the Agreement.                    By    the execution 0f this Adoption Agreement, the
             Holder agrees as follows.


                           1.1       Acknowledgement. Holder acknowledges                that   Holder   is   acquiring certain shares 0f the capital
             stock 0f the        Company    (the “Stock”), for      one of the following reasons (Check the correct box):


                           U         As    a transferee of Shares from a party in such party’s capacity as an “Investor” bound by the
                                     Agreement, and     after such transfer, Holder shall be considered an “Investor” and a “Stockholder”
                                     for all purposes     0f the Agreement.

                           D         As a transferee of Shares from a party in such party’s capacity as a “Key Holder” bound by the
                                     Agreement, and after such transfer, Holder shall be considered a “Key Holder” and a
                                     “Stockholder” for all purposes of the Agreement.

                           U         As a new Investor in accordance with Section 7.11a) 0f the Agreement, in Which case Holder will
                                     be an “Investor” and a “Stockholder” for all purposes of the Agreement.

                           D         In accordance with Section 7.11b) 0f the Agreement, as a                 new party Who   is   not a   new   Investor, in
                                     which case Holder       will   be a “Stockholder” for   all   purposes 0f the Agreement.


                             Aggeement. Holder hereby (a) agrees that the Stock, and any other shares 0f capital stock or
                           1.2

                               by the Agreement t0 be bound thereby, shall be bound by and subject t0 the terms 0f the
             securities required
             Agreement and (b) adopts the Agreement With the same force and effect as if Holder were originally a party thereto.

                           1.3       Notice.   Any notice    required or permitted by the Agreement shall be given to Holder at the address
             0r facsimile        number   listed   below Holder’s signature    hereto.



             HOLDER:



             Name     and   Title   0f Signatory


             Address:


             Email:




             ACCEPTED AND AGREED:
             AIDEN AUTOMOTIVE TECHNOLOGIES, INC.


             By:
             Name:
             Title:
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                                                                     EXHIBIT B

                                                            CONSENT OF SPOUSE
                           I, [                             ],   spouse of   [
                                                                               acknowledge that I have read
                                                                                           ],

             the Voting Agreement, dated as of March 8, 2021, to which this Consent is attached as Exhibit B
             (the “‘Agreement”), and that I know the contents 0f the Agreement. I am aware that the
             Agreement contains provisions regarding the voting and transfer of shares 0f capital stock 0f the
             Company that my spouse may own, including any interest I might have therein.

                           I   hereby agree that    my         any shares 0f capital stock of the Company
                                                         interest, if any, in
             subject to the Agreement shall be irrevocably bound by the Agreement and further understand
             and agree that any community property interest I may have in such shares of capital stock 0f the
             Company shall be similarly bound by the Agreement.

                           I   am   aware   that the legal, ﬁnancial   and related matters contained   in the   Agreement   are
             complex and      I am free t0 seek independent professional guidance 0r counsel With respect t0
                                    that
             this          have either sought such guidance 0r counsel 0r determined after reviewing the
                     Consent.       I

             Agreement carefully that I Will waive such right.




             Dated:
                                                                        [Name ofKey Holder ’S Spouse]
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       EXHIBIT 5
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                                                    PATENT ASSIGNMENT AGREEMENT

                    This Patent Assignment and License Agreement ("Agreement”), dated 8 March 2021 [the "Eﬁective
        Date"),     is    made by and between:

                    VOLVO CAR TECHNOLOGY FUND                                 AB,    reg. No.    556877-5760, a company organized and existing
         under the laws of Sweden and having                         offices     Assar Gabrielssons Vég            9,   405 31 Géteborg, Sweden ("Tech
        Fund");


                    AIDEN AUTOMOTIVE TECHNOLOGIES,                                     INC., a    Delaware corporation with                   its   principal place of
         business at 231 Market Place, Suite 226, San Ramon,                             CA 94583, USA       ["Aiden”);


         Tech Fund and Aiden are sometimes individually referred to as "Party” and                                                    collectively referred to as
         “Parties".


                    WHEREAS, Tech Fund owns                          U.S. Provisional            Patent Application Ser. No. 63/065,559, entitled
         “Automotive Data Sharing Platform," Atty. Docket No. P2896USOO,                                  filed   on 14 August 2020 (the “Patent"); and


                    WHEREAS, Aiden               desires to obtain           title   to the Patent in connection with                its   business,   and Tech Fund
         desires to assign such Patent, subject to the terms                              and conditions         for   such assignment as set out                    in this

        Agreement.


                    WHEREAS, Aiden, in consideration for the assignment of the aforementioned                                               Patent, shall allocate an
         equity interest in Aiden to Tech Fund, subject to specific terms and conditions in a separate writing.


                    NOW, THEREFORE,                 in consideration of the              above premises and mutual covenants contained herein
         and intending to be           legally   bound hereby, the             Parties hereto agree as follows:


         SECTION 1              ASSIGNMENT AND LICENSE

         1.1        Patent Rights. As                used         herein       “Patent Rights”         means:          (a) the        Patent;       (b)   any      reissues,
         reexaminations, extensions, continuations, continuing prosecution applications, requests for continuing
         examinations, divisions, and registrations of any item in any of the foregoing categories (a) and                                                       (b); (c) all
         foreign patents, patent applications, and counterparts relating to any item in any of the foregoing categories
         (a)   through      (b), including,         without limitation,              certificates of invention, utility               models, industrial design
         protection, design patent protection,     and other governmental grants or issuances (d) all inventions, invention      ;


         disclosures,       and discoveries described in any of the items of categories (a), (b) and (c) (referred to herein as
         “Categories (a)-(c) Items”) that:                 (i)    are included in any claim in the Categories (a)-(c) Items,                              (ii)   are subject
         matter capable of being reduced to a patent claim in a reissue or reexamination proceedings brought on the
         Categories (a)-(C) Items, and/or                 (iii)   could have been included as a claim in the Categories (a)-(C) Items; (e)
         all   rights to apply in          any or   all   countries of the world for patents, certificates of invention, utility models,
         industrial design protections, design patent protections, or other governmental grants or issuances of any type
         related to       any item    in   any of the foregoing categories                (a)   through   (d), including,    without limitation, under the
         Paris Convention for the Protection of Industrial Property, the International Patent Cooperation Treaty, or                                                    any
         other convention, treaty, agreement, or understanding; and                                    (f) all    causes of action (whether                      known    or
         unknown, or whether currently pending,                              filed   or otherwise) and other enforcement rights under, or on
         account     of,   the Patent, including, without limitation,                     all   causes of action and other enforcement rights                            for:

         (i)   damages,      (ii)   injunctive relief,       and     (iii)   any other remedies of any kind for past, current and future
         infringement.


         1.2        Assignment of Patent Rights. Subject to the                          pre-existing grant-back license to Volvo Car Corporation
                                  good and valuable consideration, the receipt and sufficiency of which are hereby
         as disclosed to Aiden, for
         acknowledged by the Parties, Tech Fund hereby sells, conveys, transfers, assigns and delivers to Aiden on the
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         Effective Date,         and Aiden hereby acquires from Tech Fund, all right, title, and interest in and to the Patent
         Rights, including, without limitation: (a)     all right, title and interest in and to the Patent; and (b) all right, title

         and    interest to sue        and   collect for past infringement of the Patent.


         1.3           Documents. As used              herein,     "Documents" means:               (a) the recordable          Assignment ofPatent Rights             in

         the form attached hereto as Exhibit A, duly executed by Tech Fund; (b)                                         all   agreements assigning ownership
         ofthe Patent Rights from the inventors and/or prior owners to Tech Fund; (c)                                          all files,   documents and tangible
         things constituting, comprising or relating to the investigation, evaluation, preparation, prosecution,
         maintenance, defense,               filing,   issuance, registration, assertion or enforcement of the Patent;                                 and (d) such
         additional documents as Aiden                   may       reasonably request in order to ascertain the accuracy of Tech Fund’
         representations and warranties in this Agreement, or to                                      effect,   perfect        and evidence the transactions
         contemplated by              this   Agreement. Any exchange of information by the Parties (or their respective                                          legal

         counsel) related to the Patent Rights will be pursuant to a                            common interest privilege, if applicable.

         1.4           Closing.       Subject to the terms and conditions of this Agreement, Aiden and Tech                                           Fund   will   use
         commercially reasonable                efforts to     complete the assignment of the Patent Rights contemplated herein within
         30 days of the Effective Date (the "Closing”); provided, however, that prior to the Closing Tech Fund                                                    shall

         deliver to Aiden the              Documents and           notify Aiden of       any action required with respect to any Patent Rights
         within 60 days after the Closing Date and will                         facilitate   Aiden’s taking such action.


         1.5           Maintenance of Patent Rights.                          Aiden   shall   have the exclusive right to maintain, enforce, and
         monetize the Patent Rights, which exclusive right                            shall include,     but not be limited            to, filing,   applying   for,   or
         registering patents in respect of any creations                        and inventions embodied             in the Patent Rights, in its         own name,
         at its      expense and      in   such jurisdictions as         it   deems appropriate.

         1.6           Right of First Refusal. Should Aiden desire to                        sell   any of the Patent Rights separate and apart from a
         merger or acquisition transaction,                it   shall offer     Tech Fund a right of first refusal to purchase such Patent Rights
         from Aiden.          In the event that Aiden        is   required to offer Tech Fund a right of first refusal pursuant to this Section
        g,      it                             such offer (the "Offer Notice”) t0 Tech Fund not later than 45 days prior
                     shall provide written notice of

         to    commencing any discussions with one or more third parties with regard to such sale opportunity. Following
         delivery of an Offer Notice, Aiden will respond to reasonable requests from Tech                                                     Fund   for information
         regarding the potential sale opportunity. Tech Fund shall have the option, for a period of 30 days following
         its   receipt 0f an Offer Notice [the "Notice Period"), t0 elect                             whether     t0    commence            negotiations with Aiden
         pertaining to such opportunity and to notify Aiden accordingly. In the event Tech Fund elects to                                                commence
         such negotiations with Aiden, Tech Fund shall have 30 days after notifying Aiden thereof (the "Negotiation
        Period”) t0 sign a mutually agreed definitive agreement with Aiden with regard to such sale opportunity.
         During the Notice Period and the Negotiation Period                           (if   any), Aiden shall negotiate exclusively with                 Tech Fund
         and    in    good    faith   regarding the terms of a purchase agreement with regard to such opportunity. Aiden shall
         not be permitted to negotiate or consummate an agreement pertaining to such opportunity with any person(s)
         or entity(ies) other than Tech                Fund during the Notice Period and Negotiation Period                             (if   any). In the event that

         (a)   Tech Fund does not elect to commence the Negotiation Period,                               (b)    Tech Fund does not respond to the Offer
         Notice within the Notice Period, or                      (c)   the Parties do not sign a definitive agreement with regard to such
         opportunity on mutually agreed terms prior to expiration of the Negotiation Period, then the Aiden shall be
         permitted to enter into an agreement with any third party with regard to such opportunity; provided,
         however, that with respect to                  this      subparagraph        (c), in   no event        shall   Aiden      offer or agree to      terms and
         conditions with any third party that, on the whole, are                                more    favorable to such third party than the most
         favorable terms and conditions offered to Tech Fund without first providing Tech                                           Fund written notice thereof
         and a reasonable period of time (but in any event not less than 10 days after receiving written notice thereof)
         to accept such more favorable terms and sign a definitive agreement with regard to such opportunity with
        Aiden. The foregoing notwithstanding, Tech Fund shall have no obligation to                                             commence        negotiations    for,   or
         to sign a definitive          agreement with regard              to,   an such opportunity.




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         SECTION 2                 REPRESENTATIONS AND WARRANTIES

         2.1           Tech Fund’s Representations and Warranties. Tech Fund hereby represents and warrants to Aiden
         as follows:

                       (a)         Authority. Tech Fund has the                full   power and authority and has obtained all third-party
         consents, approvals, and/or other authorizations required to enter into this                       Agreement and to carry out its
         obligations hereunder, including, without limitation, the assignment of the Patent Rights to Aiden.


                       (b)         Title    and   Contest. Tech Fund      owns        all right, title,   and interest to the Patent   Rights, including,
         without limitation,             all right, title,   and interest to sue and         collect for past infringement of the Patents.    There are
         no    actions, suits, investigations, claims, or proceedings threatened, pending, or in progress relating in                           any way
         to the Patent Rights. There are no existing contracts, agreements, options, commitments, proposals, bids,
         offers, or rights with, to, or in             any person    to acquire       any of the Patent Rights.


                       (c)         Validity      and    Enforceability. The Patent has never been found invalid, unpatentable, or
         unenforceable for any reason in any administrative, arbitration, judicial or other proceeding, and Tech Fund
         does not   know of and has not received any notice or information                            of any kind    from any source suggesting that
         the   Patent may be invalid or unenforceable.


                       (d)         Documents.         All    Documents supplied         to   Aiden are originals or true and correct copies of the
         originals.



         2.2           Aiden’s Representations and Warranties. Aiden hereby represents and warrants to Tech Fund that:
        Aiden     is   a     company duly formed, validly existing, and in good standing under the laws of the jurisdiction of its
         formation; and Aiden has the          full power and authority and has obtained all third-party consents, approvals,

         and/or other authorizations required to enter into this Agreement and to carry out its obligations hereunder,
         including, without limitation, the acquisition of the Patent Rights from Tech Fund.


         2.3           Negation of Implications. Nothing                 in this   Agreement        shall   be construed   as: (a) a   requirement that
         Tech Fund             any country, file any patent application, secure any patent or maintain any patent in force;
                             shall, in

         (b)   an obligation that Tech Fund bring, prosecute, cooperate or join any actions or suits against third parties
         for infringement of the Patent Rights; (c)                     an obligation that Tech Fund furnish to Aiden any hardware,
         software, manufacturing or technical information, or                    know-how; (d) conferring to Aiden the right to use in
         advertising, publicity or otherwiseany trademark or trade name of Tech Fund; or (e) granting by implication,
         estoppel, or otherwise, any licenses or rights under any patents owned by Tech Fund other than the Patent
         Rights, regardless of whether such other patents are related to, dominant of, or subordinate to, the Patent
         Rights.


         SECTION 3                 GENERAL PROVISIONS

         3.1           Further Cooperation. Tech Fund will,                at the reasonable request            ofAiden and without demanding any
         consideration therefore, do                   all   things necessary, proper, or advisable, including without limitation, the
         execution,acknowledgment, and recordation of specific assignments, oaths, declarations, and other
         documents on a jurisdiction-by-jurisdiction basis, to assist Aiden in obtaining, perfecting, sustaining, and/or
         enforcing the Patent Rights; provided, however, that any expenses incident to the execution of papers or
         providing testimony shall be borne by Aiden,                    its   successors and assigns.


         3.2           Limitation of Liability. EXCEPT IN     THE EVENT OF BREACH OF ANY OF THE WARRANTIES IN
         SECTION           2.1,   TECH FUND’ TOTAL LIABILITY UNDER THIS AGREEMENT WILL NOT EXCEED US$10,000.00.

         3.3           Limitation on Consequential Damages. EXCEPT IN                                 THE EVENT OF BREACH OF ANY OF THE
        WARRANTIES IN SECTION 2.1 NEITHER PARTY WILL HAVE ANY OBLIGATION OR LIABILITY (WHETHER IN
        CONTRACT, WARRANTY, TORT (INCLUDING NEGLIGENCE) OR OTHERWISE, AND NOTWITHSTANDING ANY

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         FAULT, NEGLIGENCE (WHETHER ACTIVE, PASSIVE OR IMPUTED), REPRESENTATION, STRICT LIABILITY OR
        PRODUCT LIABILITY), FOR COVER OR FOR ANY INCIDENTAL, INDIRECT OR CONSEQUENTIAL, MULTIPLIED,
        PUNITIVE, SPECIAL, OR EXEMPLARY DAMAGES OR LOSS OF REVENUE, PROFIT, SAVINGS OR BUSINESS
        ARISING FROM OR OTHERWISE RELATED TO THIS AGREEMENT, EVEN IF A PARTY OR ITS
        REPRESENTATIVES HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

         3.4    Compliance with Laws. Notwithstanding anything contained in this Agreement to the contrary, the
         obligations of the Parties with respect to the     consummation of the transactions contemplated by this
        Agreement shall be subject to all laws, present and future, of any government having jurisdiction over the
        Parties and this transaction, and to orders, regulations, directions or requests of any such government.


         3.5          Conﬁdentiality of Terms. The Parties hereto will keep the terms of this Agreement confidential and
         will   not   now or hereafter divulge any of this            information to any third party except: (a) with the prior written
         consent of the other Party; (b) as otherwise may be required by law or legal process; (c) during the course of
         litigation, so long as the disclosure of such terms and conditions is restricted in the same manner as is the

         confidential information of other litigating parties; (d) in confidence to                         its   legal counsel, accountants, banks,
         and financing sources and              their advisors solely in connection with complying with or administering                             its

         obligations with respect to this Agreement; (e)                     by Aiden,   to potential purchasers or licensees of the Patent
         Rights; (t) in order to perfect Aiden’s interest in the Patent Rights with                          any governmental patent office; or
         (g) to enforce Aiden’s right,          title,   and   interest in   and   to the Patent Rights; provided that, in (b)  and (c) above:
         (i) to the extent permitted by law, the disclosing Party will use all legitimate and legal means available to

         minimize the disclosure to third parties, including, without limitation, seeking a confidential treatment
         request or protective order whenever appropriate or available, and                          (ii)   the disclosing Party will provide the
         other Party with at least ten days’ prior written notice of such disclosure. Both Parties acknowledge that the
         breach of          this Section 3.5 will    immediately give rise to continuing irreparable injury to the non-disclosing
         Party inadequately compensable in damages at law and without prejudice to any other remedy available to
         the non-disclosing Party, and              may entitle the non-disclosing Party to          obtain injunctive         relief.



         3.6          Notices. A11 notices given hereunder will be given in writing, and will be delivered to the address set
         forth    on the          first   page to   this   Agreement by personal delivery or delivery postage prepaid by an
         internationally-recognized express courier service. Notices are              deemed given on the date of receipt if
         delivered personally or by express courier, or                 if   delivery refused, the date of refusal. Notice given in any other
         manner will be deemed to have been given only if and when received at the address of the Party to be notified.
         Either Party may from time to time change its address for notices under this Agreement by giving the other
         Party written notice of such change in accordance with this Section                        3.6.



         3.7                                                                                        in this Agreement
                      Relationship of Parties. The Parties hereto are independent contractors. Nothing
         will    be construed to create a partnership,                                       employment or agency
                                                                         joint venture, franchise, fiduciary,
         relationship between the Parties. Neither Party has any express or implied authority to assume or create any
         obligations on behalf of the other or to bind the other to any contract, agreement or undertaking with any
         third party.


         3.8          Waiver. Failure by either Party to enforce any term of this Agreement will not be deemed a waiver of
         future enforcement of that or any other term in this      Agreement or any other agreement that may be in place
         between the          Parties.



         3.9          Governing Law and Disputes. This Agreement                        will   be interpreted, construed, and enforced            in all

         respects in accordance with the laws the state of California, without reference to                             its   choice of law principles.
        Any      dispute, controversy or claim arising out of or in connection with this Agreement, or the breach,
         termination or invalidity thereof, shall be finally settled by arbitration in accordance with the Arbitration
         Rules of the American Arbitration Association and the laws of the state of California in San Francisco,
         California.        The   arbitral tribunal shall      be composed of one      arbitrator.




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         3.10       Assignment. Either Party may assign or transfer or transfer any rights or delegate any obligations
         under   this  Agreement without the other Party's consent. All 0f the terms, conditions and provisions of this
        Agreement shall be binding upon, and                 shall inure to the benefit of, the successors        and assigns of the respective
         Parties hereto.


         3.11       Entire Agreement. The Agreement, including                 its exhibits,   constitutes the entire agreement           between
         the Parties With respect to the subject matter hereof, and merges and supersedes                        all   prior and contemporaneous
         agreements, understandings, negotiations, and discussions. Neither of the Parties will be bound by any
         conditions, definitions, warranties, understandings, 0r representations with respect to the subject matter
         hereof other than as expressly provided herein.  No oral explanation or oral information by either Party hereto
         will alter the meaning or interpretation of this Agreement. The terms and conditions of this Agreement will
         prevail notwithstanding any different, conﬂicting or additional terms and conditions that may appear on any
         letter, email or other communication or other writing not expressly incorporated into this Agreement.



         3.12       Amendments. No amendments                    or modifications will be effective unless in a writing signed by
         authorized representatives of both Parties.


         3.13       Agreement             is   Controlling. The section headings contained in this Agreement are for reference
         purposes only and            will not affect in   any way the meaning or interpretation of this Agreement.

         3.14       Severability.       If any provision of this Agreement is found to be invalid or unenforceable, then the

         remainder of         this   Agreement will have full force and effect, and the invalid provision will be modified, 0r
         partially enforced, to the             maximum extent permitted to     effectuate the original objective.


         3.15       No Rights in Third Parties. The Agreement is not intended to confer any right 0r benefit on any third
         party (including, but not limited    to, any employee or beneficiary 0f any Party], and no action may be

         commenced          or prosecuted against a Party by any third party claiming as a third-party beneficiary of this
        Agreement 0r any             of the transactions contemplated      by this Agreement.

         3.16       Counterparts. This Agreement shall become binding                     when any one
                                                                                            more counterparts hereof,
                                                                                                                 or
         individually or taken together, shall bear the signatures each 0f the Parties hereto. This Agreement may be
         executed in any number 0f counterparts, each 0f which shall be deemed an original as against the Party whose
         signature appears thereon, but all of which taken together shall constitute but one and the same instrument.


                    IN    WITNESS WHEREOF, the              Parties have entered into this     Agreement as            of the Effective Date.


        VOLVO CAR TECHNOLOGY FUND AB:                                           AIDEN AUTOMOTIVE TECHNOLOGIES,                         INC:
                                  (—DocuSigned   by:                                        (—DocuSigned   by:




                     By:
                                   7W 7%”
                                    [SignatureTArbm
                                                                                    By:
                                                                                               MdAS
                                                                                                gfgtﬁgfﬂre
                                                                                                            UMLVM
                                                                                                                 b”


                          Raymond Millien                                              Niclas Gyllenram

                                    [Printed    Name]                                           [Printed   Name]
                           3/9/2021                                                       3/8/2021

                                      Wed       by:                                             [Date]


                     By:
                                   P'AV   ﬂwdssm
                             ngﬁmMa-u
                           Péir   Arvidsson
                                    [Pn'nted    Name]
                          3/9/2 021

                                    [Date]



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                                                                                   EXHIBIT A
                                                                     Recordable Assignment of Patent Rights

                       For good and valuable consideration, the receipt ofwhich                                        is   hereby acknowledged, Volvo Car Technology
         Fund AB,        reg. no.           556877-5760, a company organized and existing under the laws 0f Sweden and having ofﬁces
        Assar Gabrielssons Vég                        9,    405 31 Géteborg, Sweden ("Assignor"), does hereby                                       sell,   assign, transfer,   and convey
         unto     Aiden Automotive Technologies,                                    Inc.,    a Delaware corporation with                       its       principal place of business at
         231 Market Place,                       Suite 226, San      Ramon, CA, USA              ("Aiden”). or        its   designees.        all right, title,    and interest that exist
         today and       may exist in the                   future in   and    to   any and     all   of the following:


                       [3)                 U.S. Provisional          Patent Application Ser. No. 63/065,559, entitled “Automotive Data Sharing
         Platform,” Atty. Docket No.                        P2896USOO,         filed   on 14 August 2020 (the “Patent”):

                       [b]                 all    reissues, reexaminations,                  extensions, continuations, continuing prosecution applications.
         requests for continuing examinations, divisions, registrations of the Patent;

                       [c)                 all    foreign patents, patent applications, and counterparts relating to                                            any item   in   any   of the
         foregoing including, without limitation, certificates of invention, utility models, industrial design protection, design
         patent protection, and other governmental grants 0r issuances;

                       [d)                 all   inventions, invention disclosures,                   and discoveries described                     in    any of the items of categories
         [a), (b)     and     (c)    (referred to herein as "Categories (a)-(c) Items”) that:                                   [i]   are included in any claim in the Categories
         [a)-[c) Items.             [ii)   are subject matter capable of being reduced to a patent claim in any ofthe Categories [3) -(c) Items,
         and/or       (iii)   could have been included as a claim in any of the Categories (a)-(c] Items;

                       [e]                 all   rights t0 apply in      any or        all   countries 0f the world for patents, certificates of invention, utility
         models, industrial design protections, design patent protections, or other governmental grants or issuances of any
         type related to any item in any 0f the foregoing categories (a) through                                                 (d), including,            without limitation, under the
         Paris Convention for the Protection of Industrial Property, the International Patent Cooperation Treaty, or any other
         convention, treaty, agreement, or understanding; and

                       [f]                 all    causes of action (whether                   known       or   unknown                or whether currently pending,               filed,   0r
         otherwise] and other enforcement rights under, or 0n account                                           0f,   the Patent and/or any item in any ofthe foregoing
         categories           [c]    through         (e),   including, without limitation,               all   causes of action and other enforcement rights for                           (i)

         damages,        [ii]   injunctive relief,             and   (iii)   any other remedies           of any kind for past, current,                      and future infringement;

         [[a)-(ﬂ collectively, the “Patent Rights”).

        Assignor hereby authorizes the respective patent office 0r governmental agency                                                               in   each jurisdiction to issue any
         and    all   patents. certificates 0f invention, utility                            models or other governmental grants 0r issuances that                                 may be
         granted upon any of the Patent Rights                               in the   name ofAiden,               The terms
                                                                                                           as the assignee to the entire interest therein.
         and conditions of this Assignment of Patent Rights will inure to the benefit of Aiden, its successors, assigns, and
         other legal representatives and will be binding upon Assignor, its successors, assigns, and other legal
         representatives.


                       IN     WITNESS WHEREOF, this Assignment of Patent Rights is                                              executed on 8 March 2021:



        ASSIGN               'DYQJigyg           “R TECHNOLOGY FUND AB                                                                Docusigneu   by:




         By:
                        7W WW                                                                              By:              I
                                                                                                                                 m»       MAW
         Name:         Raymond               Millien                                                       Name:            PérArvidsson


         Title:        Managing Director                                                                   Title:           Chairman of the Board




                                                                                                                                                                                  Page 6 of 6
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       EXHIBIT 6
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                                                            SERVICES           AGREEMENT
         This Services      Agreement (“Agreement"), is entered into March                 8,   2021    (the "Effective Date”)   by and between:
                    VOLVO CAR TECHNOLOGY FUND AB,                           reg. No.   556877-5760, a company organized and existing
        under the laws of Sweden and having                 at offices Assar Gabrielssons Véig 9,     405 31 Géteborg, Sweden ("Tech
        Fund") and
                ;




                    VOLVO CAR TECHNOLOGY          USA, LLC, a Delaware corporation having                         offices at   231 Market   Place,
         Suite 226, San      Ramon, CA 94583. (”Volvo Cars").
         Tech Fund and Volvo Cars are hereinafter collectively referred to as "Parties” and individually referred to as
         "Party”; and Tech Fund is also referred to as “Purchaser"; Volvo Cars is also referred to as "Service Provider".



         1.         Background. The           Parties have determined that Service Provider shall provide to Purchaser (and/or
                    its   respective Affiliates and Portfolio Companies) certain office, equipment, and technology services,
                    and    R&D     project   management services       as they     may request in writing from time to time        (collectively,
                    the "Services”]. Purchaser        now wishes        to enter into this      Agreement           purpose of receiving the
                                                                                                              for the
                    Services and Service Provider wishes to provide the Services in                     accordance with the terms set forth in
                    this   Agreement.

         2.         Deﬁnitions:

                    2.1      Afﬁliate means any other legal entity that, directly or indirectly, is controlled by or is under
                             common control with a Party; and control means the possession, directly or indirectly, by
                              agreement or otherwise, of: (i) at least 50% of the voting stock, partnership interest or other
                              ownership interest; or (ii) the power to: (a) appoint or remove a majority of the board of
                              directors or other governing body of an entity, or (b) cause the direction of the management of
                              an entity; provided, however, the Purchaser shall not be considered Affiliates of each other
                              hereunder.

                    2.2       Background IP means           all   IP that   were   either developed or otherwise acquired          by Purchaser
                             before the Effective Date, or are developed or otherwise acquired by Purchaser outside of this
                             Agreement and disclosed to Service Provider hereunder in order to effectuate any of the
                              Services.

                    2.3       Confidential Information means information, other than the Excluded Information, relating
                              to the Disclosing Partyand its business (whether in written, verbal, or digital form), including
                             without limitation ideas, concepts, designs, specifications, drawings, notes, technology,
                             methods, intellectual property, know-how, trade secrets, future (business) plans and programs,
                             operations, services, products, costs, processes, models, procedures, manuals, customer lists,
                             this Agreement, negotiations of and any activities conducted under this Agreement, and
                             information that the Parties shared regarding the Purpose prior to the signing of this
                             Agreement.

                    2.4       Disclosing Party means the Party disclosing Confidential Information hereunder.

                    2.5       Excluded Information means information that: (i) is or becomes public through no fault of the
                              Receiving Party; (ii) is lawfully obtained from someone other than the Disclosing Party that is
                              not under an obligation to the Disclosing Party to keep that information confidential; (iii) was
                              already in the possession of the Receiving Party prior to the date of disclosure without an
                              obligation to keep that information confidential; or (iv) the Receiving Party develops
                              independently without use of Confidential Information.

                    2.6       IP   means all proprietary technology, software, methods, processes, know-how, inventions, data
                              or technical information, and   all Patents and other intellectual and industrial property rights

                              thereto.

                    2.7       Patents means      utility   models, industrial designs and         all   patents (including, without limitation,
                              patents of importation, patents of confirmation, patents of improvement, design patents,



                                                                                                                                       Page 1 of5
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                              certificates   of addition and utility patents, as well as divisions, reissues, continuations,
                              continuations-in-part,       reexamination      certificates,    provisional applications, renewals and
                              extensions of any of the foregoing, and applications therefor).

                    2.8      Personnel means employees and non-employee consultants of a Party (or its Affiliates or
                             Portfolio Companies) that participate in the Services or other matters relevant to this
                             Agreement.

                    2.9       Portfolio Company means any entity in which the Tech Fund has made an equity and/or debt
                              investment, and has identified to Service Provider as a third-party beneficiary to this
                             Agreement pursuant to Section              15.

                    2.10      Receiving Party means the Party receiving Confidential Information hereunder.

                    2.11      Results means any outcome of the Services, as described in the relevant specification, plan,
                              statement of work, or other requesting documentation, made by Service Provider hereunder
                              (including, but not limited to, any IP, deliverables, objects, products, documentation, and any
                              modifications or improvements to any Background 1P), irrespective of whether the
                              performance of any part of the Services has been completed.

                    2.12      Use means to use (in object and source code form, if applicable), exploit, make, develop, change,
                              transmit, copy, and distribute (including sell and offer for sale) goods or services; including
                              having a third party at any tier d0 any 0f the foregoing 0n a Party's behalf.

         3.         Services. Service Provider shall provide sufficient Personnel to support and carry out                       its   Service
                    commitments under        Agreement. Service Provider hereby warrants that the Services shall be of
                                               this
                    professional quality and performed consistent with generally accepted industry standards. Service
                    Provider provides the Services “as is”. Service Provider does not warrant or represent that any
                    Services provided or delivered to Purchaser hereunder are functional for the business needs of
                    Purchaser, otherwise suitable for any specific purpose, or are not infringing any IP of any third party.
                    Service Provider gives no representations or warranties regarding the merchantability of the Results
                    nor any other representations or warranties of any kind whatsoever concerning the Services.
                    Purchaser acknowledges that the price of the Services is set in consideration of the foregoing.

        4.          Conﬁdentiality.

                    4.1       The Receiving Party will with respect to Disclosing             Party’s Confidential Information: (a) hold     it

                              in strict confidence; (b)      use   it   only for the performance of the Services and,       if   applicable,
                              exercising any license rights granted hereunder; (c) protect it from misappropriation,
                              unauthorized use or disclosure using all reasonable precautions that the Receiving Party uses
                              to protect its own confidential information (but not less than a commercially-reasonable degree
                              of care); (d) not modify, reverse engineer, or disassemble it without the Disclosing Party’s
                              consent, provided that Receiving Party may perform such activities to exercise license rights
                              granted hereunder; and (e) not share it with anyone except its Affiliates’, Personnel and
                              advisors who have a ”need t0 know” and have agreed in writing t0 keep it confidential.

                    4.2       The Receiving Party may        disclose Confidential Information to        comply with any applicable law
                              or a court order    if   that Receiving Party notifies the Disclosing Party       (if allowed by law) and

                              takes reasonable and lawful actions to limit the extent of the disclosure.

         5.         Intellectual Property Rights.

                    5.1      As used    in this Section 5, “Purchaser” shall include              Purchaser and/or any of     its      relevant
                             Affiliate(s)    or Portfolio Companies receiving the relevant Services from Service Provider
                              producing the relevant Results hereunder.

                    5.2      All  Background IP owned by Purchaser will continue to be owned by such Purchaser. Purchaser
                              hereby grants and agrees to grant Service Provider a royalty-free, fully-paid-up, revocable, non-
                              exclusive, worldwide license to Use its respective Background IP only to the extent necessary
                              for purposes of the Service Provider carrying out the Services.

                    5.3       Unless agreed upon by Purchaser in a separate writing, the Parties agree that Purchaser                     shall
                              be the exclusive owner of all Results and are hereby assigned such Results.


                                                                                                                                    Page 2 of5
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                    5.4       If   applicable, each Party and its Personnel shall, at no cost to the other Party, provide all support
                              and sign       documents to: (a) assign or otherwise evidence the owning Purchaser's ownership
                                           all

                              in its   Results, and all IP rights thereto; and (b) enable the owning Party to obtain Patents or
                              other IP rights in the Results.

                    5.5      Any compensation due           to a Party’s Personnel in connection with           any Patent or the creation of
                              any other     IP,   whether by agreement,        statute, regulation or otherwise, shall   be paid entirely by
                              such Party.

                    Service Charges              and Payments.      In consideration of the Service Provider’s          performance of the
                    Services under this Agreement, the Parties agree that Purchaser shall pay to Service Provider the sums
                    specified in Exhibit A (which may be amended from time to time by mutual agreement of the Parties)
                    monthly        in arrears    and invoiced by Service Provider on a net-90         basis.

                    Term. The term           of this   Agreement     will   begin on the Effective Date and will continue for one year
                    thereafter unless terminated as specified herein. Purchaser, together with the written consent of the
                    Third Party Beneficiary (defined in Paragraph 15) may terminate this Agreement at any time, with or
                    without cause, by providing the Service Provider with written notice. Termination is effective
                    immediately unless otherwise specified in the termination notice. Termination of the Agreement shall
                    result in termination of all then outstanding requests for Services. Termination shall not relieve
                    Purchaser of its obligation to pay any fees that have accrued as of the effective date of such termination.

                    Export Control. The Parties will comply with all national and foreign export control laws and
                    regulations, and all national and foreign trade restrictions related to any Confidential Information.

                    Governing Law and Disputes.
                    9.1       This Agreement shall be governed by and interpreted in accordance with the laws of Sweden,
                              excluding any choice of law rules that direct the application of the law of any other jurisdiction.

                    9.2      Any     dispute, controversy or claim arising out of or in connection with this Agreement, or the
                              breach, termination or invalidity thereof, shall be finally settled by arbitration administered by
                              the Arbitration Institute 0f the Stockholm Chamber of Commerce (the "SCC”). The Rules for
                              Expedited Arbitrations shall apply, and the Arbitral Tribunal shall be composed of one
                              arbitrator. The seat of arbitration shall be Gothenburg, Sweden and the language to be used in
                              the arbitral proceedings shall be English. However, the foregoing shall not preclude or restrict
                              any of the Parties to seek specific performance and other injunctive relief in an appropriate
                              court of competent jurisdiction. All information disclosed, and all documents submitted or
                              issued by or on behalf of any of the Parties or the arbitrators in any arbitral proceedings, as well
                              as all decisions and awards made or declared in the course of any such proceedings, shall be
                              kept     strictly confidential   and may not be used     for any purpose other than these proceedings or
                              the enforcement of any such decision or            award nor be disclosed to any third party without the
                              prior written consent of the Party to           which the information relates.

                    9.3       No    right or     remedy   available to a Party     under   this   Agreement    will exclude other rights   and
                              remedies available by law.

         10.        Relationship. The Parties are independent contractors. This Agreement does not create any agency,
                    partnership or joint venture between the Parties.

         11.        Assignment. No Party will assign any rights or delegate any obligations under this Agreement without
                    all   the other Parties’ written consent.

         12.        Entire Agreement. This Agreement                  is    the entire agreement of the Parties relating to the subject
                    matter hereof and supersedes            all   other oral or written agreements.

         13.        Conﬂicts. Nothing contained in this Agreement shall supersede, modify, limit, eliminate or otherwise
                    affect any of the representations and warranties, covenants, agreements or indemnities set forth in
                    the IVA.

         14-.       Amendment and Waiver. No amendment of this Agreement will be effective unless it is in writing
                    and signed by all the Parties. A waiver of any default is not a waiver of any later default and will not
                    affect the validity of this        Agreement.


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         15.        Third-Party Beneﬁciary. The Parties agree and acknowledge that Aiden Automotive Technologies,
                    Inc., a Delaware corporation with its principal place of business at 231 Market Place, Suite 226, San

                    Ramon CA 94583, shall be a Portfolio Company hereunder and beneficiary 0f this Agreement.
         16.        Severability. Unenforceable provisions will be                 modiﬁed to reﬂect the Parties’ intention and only to
                    the extent necessary to            make them   enforceable,    and the remaining provisions of this Agreement will
                    remain          in effect.

         17.        Notices. All notices and other communications under this Agreement will be in writing. Each Party
                    will    send notices to the other Party        at the   address stated in the          first     paragraph, to the attention of such
                    Party’s authorized signatory.

         18.        Survival. The terms 0f this           Agreement that expressly are               t0,   or by implication ought      t0, survive, will
                    survive this Agreement.

         19.        Counterparts. This Agreement may be signed electronically and in counterparts, which together will
                    constitute one instrument. The Parties agree that a scanned or electronic copy of this Agreement
                    signed by all Parties' authorized signatories will constitute a binding agreement.



        VOLVO CAR TECHNOLOGY FUND AB:                                              VOLVO CAR TECHNOLOGY USA, LLC:
                          DocuSignod     by:




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                                                                                  By:   Courtney Marray hay

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                                                                                     Michael            Thomas
                      [Printed           Name]                                                 [Printed        Name]
               3 /10/202 1                                                                              5/1   3/2021

                      [Date]                                                                   [Date]




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                                                        Cost Basis
                                                                  w
                          Service                         |USD|            Unit        12-Month Total
       Office   Space [Area]                      $     80.00        per sqft/year     $   16 000.00

       Big Rig                                    $ 10 000.00        per unit          $   20 000.00
       Mini Rig                                   $   2 000.00       per unit          $   10 000.00

       Desk Space                                 $ 13 661.00        per person/year   $   4O 983.00
       Car Access                                 $ 12 000.00        per car/year      $   12 000.00



       Estimated      Term Total                                                       US$ 98 983.00    1   year




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       EXHIBIT 7
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                                            VOLVO


Press Release
Jun 30, 2021   |
                   ID:   283544



Volvo Cars To Harness ReaI—Time Data From
Customer Cars To Set                        New     Safety Standards

The next generation of Volvo cars are set to be the company’s safest ever, thanks to cutting-edge
software and hardware levels, coupled with continuous and more rapid improvements to safety
features with the help of reaI-time data.

Volvo Cars has always taken a data-driven approach to safety, using traffic data from reaI-Iife
situations to develop new safety technologies and make its cars even safer. For its next generation
of cars, Volvo Cars is now looking towards processing data from customer cars in real time, if
customers choose to share data and help Volvo Cars make its cars safer.

By allowing customers to choose and be a part of improving safety levels and traffic safety in this
way, Volvo Cars can make continuous and much faster improvements to its cars, constantly
improving safety levels. This data would include continuous inputs on the car’s environment from
sensors like the high-resolution LiDAR delivered by technology company Luminar.

Volvo Cars engineers would be able to validate and verify autonomous drive (AD) features quicker,
to promote a safe roII-out of AD technology. Thanks to the data generated from millions of
kilometres driven by tens of thousands of Volvo drivers around the globe, engineers would be able
to validate AD features for specific geographic locations much quicker than with a limited number
of cars on a test track.


Verified   updates          systems and new features can be rolled out rapidly through over—the-
                         to existing
air—updates, increasing the safety of Volvo cars step by step. The first car to benefit from this new
approach to safety development is the company’s first SUV on a completely new electric-only
technology base.

“With help frpm reaI-Iife data we can speed up our development processes and go from years to
days,” said Odgérd Andersson, CEO at Zenseact, Volvo Cars’ autonomous driving software arm.
“As reaI-time collection generates a lot more data, we can create better and higher—quality data
sets that allow us to make better and quicker decisions on the next advancements in safety. We’re
taking a giant leap to increase safety in and around our cars.”


To process the reaI-time   traffic data they will collect, Volvo Cars and Zenseact are investing in a
data factory that will contain over 200 PebiBytes (225 million gigabytes) of data within the next few
years. By using artificial intelligence (AI) capabilities, data can be crunched at record times.
Customers will be able to choose whether this data is collected about them, and all collected data
will be aggregated with adequate safeguards for customer privacy.


“Safety is part of our heritage and the backbone of our company, but software is a crucial part of
our modern-day DNA,” said Mats Moberg, head of R&D at Volvo Cars. “So while we continue to
build on the 50-year expertise of the industry-Ieading Volvo Cars Accident Research Team, we can
now also leverage AI as a new, virtual accident research team.”
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The use    of reaI-time data          is   part of Volvo Cars’ longer term vision for a future            where    collisions
simply no longer happen, by equipping its cars with some of the best sensors available and
advanced, continuously improving safety and autonomous drive systems.

Volvo Cars’ forthcoming    fully electric flagship SUV will have industry-Ieading safety technology as
standard, helping the company to save even more lives as it sets a new standard for automotive
safety. It will come with state—of—the-art sensors, including a LiDAR developed by Luminar and an
autonomous driving computer powered by the NVIDIA DRIVE OrinT'V' system-on-a-chip, as
standard.


By combining      this state-of—the—art        hardware with software by Volvo Cars, Zenseact and Luminar for
the next generation of          its   weII-established collision avoidance technology, Volvo Cars expects its
new   safety package to reduce fatalities and accidents as a whole.

Over time the car will improve and have the hardware and software capabilities to allow the car to
take over on its own, in case the driver does not respond in life-threatening situations after
repeated warnings. So while the driver always remains in ultimate control, the car and its safety
technology can both support and watch over the driver like an extra pair of eyes and brains.




Volvo Car Group in 2020
For the 2020 ﬁnancial year, Volvo Car Group recorded an operating proﬁt of 8.5 BSEK (14.3 BSEK
in 2019). Revenue over the period amounted to 262.8 BSEK (274.1 BSEK). For the full year of
2020, global sales reached 661, 713 cars (705,452), a decline of 6.2 per cent compared to 2019.

About Volvo Car Group
Volvo Cars was founded in   1927. Today, it is one of the most well-known and respected car brands
inthe world with sales of 661, 713 cars in 2020 in about 100 countries. Volvo Cars has been under
the ownership of the Zhejiang Geely Holding since 2010.

As of December 2020, Volvo Cars employed approximately 40,000 (41,500) full—time employees.
Volvo Cars head ofﬁce, product development, marketing and administration functions are mainly
located in Gothenburg, Sweden. Volvo Cars head ofﬁce forAPAC is located in Shanghai. The
company’s main car production plants are located in Gothenburg (Sweden), Ghent (Belgium),
South Carolina (US), Chengdu and Daqing (China), while engines are manufactured in Skb'vde
(Sweden) and Zhangjiakou (China) and body components in Olofstrém (Sweden).

Under its new company purpose, Volvo Cars aims to provide customers with the Freedom to Move
in a personal, sustainable and safe way. This purpose is reﬂected into a number of business
ambitions: for example, by the middle of this decade it aims for half of its global sales to be fully
electric cars and to establish ﬁve million direct consumer relationships. Volvo Cars is also
committed to an ongoing reduction of its carbon footprint, with the ambition to be a climate-neutral
company by 2040.




Keywords:
Safety, Press Releases, Connectivity




Descriptions and facts   in   this press material relate to   Volvo Cars' international car range. Described features might be
optional. Vehicle specifications      may   vary from one country to another and   may be   altered without prior notification.
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                         Media Contacts



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                           media@volvocars.com




           media.volvocars.com >               volvocars.com >

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                                                         VOLVO


Press Release
Jun 3o, 2021         |
                         ID:   283545



Future Volvo Cars To Run                                        On
                                                   Volvo Operating System
As Company                          Takes Software Development In—House
Volvo Cars will take software development in-house as a car’s appeal increasingly becomes more
defined by software—driven functions and features, rather than traditional automotive attributes.

The next generation              of pure electric Volvo models, including the   company’s     first   SUV on   a
completely      new        electric-only technology base, will     run on Volvo Cars’   own
                                                                           operating system (OS),
called VolvoCars.OS, for faster and more flexible development. Coupled with more frequent over-
the—air updates to customer cars through their lifetime, the company’s aim is to make Volvo cars
better every day.


VolvoCars.OS       act as an umbrella system for electric Volvo cars. It incorporates the company’s
                         will

various operating systems across the car and the cloud, creating one coherent software OS
environment. The underlying operating systems include Android Automotive OS,                          QNX, AUTOSAR
and   Linux.


Through a variety of application programming interfaces (APIS), including the previously
announced Extended Vehicle API, the VolvoCars.OS gives developers access to in-car features
such as vehicle sensor data, user interfaces and cloud-based features such as fleet data, subject
to customer consent. This allows developers to create new services and applications for Volvo
cars.


“By developing software in-house we can boost development speeds and improve your Volvo
faster than we can today,” said Henrik Green, chief technology officer. “Just like on your
smartphone or computer, new software and features can be rolled out swiftly through over—the—air
updates, making your Volvo better and even more enjoyable over time.”

To              from developing software in-house, Volvo Cars is also centralising computing inside
     truly benefit
its fully                 a core system, removing a lot of complexity. Rather than relying on
            electric cars into
multiple electronic control units around the car that control individual features and systems, an
increasing amount of in-house developed software will run in a powerful core computing system in
the car.

The core computing system, which      will first be introduced on a new Volvo model set to be revealed
in2022, is made up of three main computers. These support each other in operating vision
processing and artificial intelligence, general computing and infotainment respectively.

The  shift to centralised computing also allows Volvo Cars to gradually separate hardware from
software. This means the company can introduce more frequent hardware cycles, so that new
Volvo models can be equipped with the latest available hardware.

Volvo Cars      is       making the     shift to   in-house development and central computing working together
with leading technology firms. These include NVIDIA, with whom the company is working with on
the core systems, and Google, its co-development partner for its infotainment systems.
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“We have a   deliberate strategy of partnering with true technology leaders where it makes sense,"
added Henrik Green. “Google is a true leader in user experience and services, from Google Maps
to Google Assistant, while NVIDIA gives us access to some of the fastest and best computing
available. This approach of selected strategic partnerships is much more effective than trying to do
everything on our own."

Volvo Cars’ successful collaboration with technology leaders to give its customers the best
possible user experience is also a driving factor behind its decision t0 open up its VolvoCars.OS to
third-party innovation through open APls.


Today’s announcement is made in conjunction with the                       first   Volvo Cars Tech Moment. You can
catch the event live and on demand here.




Volvo Car Group in 2020
For the 2020 ﬁnancial year, Volvo Car Group recorded an operating proﬁt of 8.5 BSEK (14.3 BSEK
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2020, global sales reached 661,713 cars (705,452), a decline of 6.2 per cent compared to 2019.

About Volvo Car Group
Volvo Cars was founded in   1927. Today, it is one of the most well-known and respected car brands
in theworld with sales of 661, 713 cars in 2020 in about 100 countries. Volvo Cars has been under
the ownership of the Zhejiang Geely Holding since 2010.


As of December 2020, Volvo Cars employed approximately 40,000 (41,500) full-time employees.
Volvo Cars head ofﬁce, product development, marketing and administration functions are mainly
located in Gothenburg, Sweden. Volvo Cars head ofﬁce for APAC is located in Shanghai. The
company’s main car production plants are located in Gothenburg (Sweden), Ghent (Belgium),
South Carolina (U8), Chengdu and Daqing (China), while engines are manufactured in Skb'vde
(Sweden) and Zhangjiakou (China) and body components in Olofstrém (Sweden).

Under its new company purpose, Volvo Cars aims to provide customers with the Freedom to Move
in a personal, sustainable and safe way. This purpose is reﬂected in a number of business
ambitions: for example, by the middle of this decade it aims for half of its global sales to be fully
electric cars, to sell half of its global volume online and to establish ﬁve million direct consumer
relationships. Volvo Cars is also committed to an ongoing reduction of its carbon footprint, with the
ambition to be a climate-neutral company by 2040.




Keywords:
Safety, Press Releases, Connectivity




Descriptions and facts   in   this press material relate to Volvo Cars' international car range.   Described features might be
optional. Vehicle specifications    may   vary from one country t0 another and     may be   altered without prior notification.
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